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  1             UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF LOUISIANA
  2
       STANLEY P. BAUDIN,            )
  3                                  )
                    Plaintiff,       )
  4                                  )
       vs.                           )   Case No. 18-1063
  5                                  )
       ASTRAZENECA                   )   JUDGE SHELLY DICK
  6    PHARMACEUTICALS LP;           )
       ASTRAZENECA LP; AND           )   MAGISTRATE JUDGE
  7    MERCK SHARP & DOHME           )   ERIN WILDER-DOOMES
       CORPORATION,                  )
  8                                  )
                    Defendants.      )
  9
 10              MONDAY, MARCH 21, 2022
 11                       – – –
 12             Remote Videotaped deposition of
 13   Patricia Mjønes, M.D., Ph.D., held at the
 14   location of the witness in Norway, commencing
 15   at 7:05 a.m. Eastern Time, on the above date,
 16   before Carrie A. Campbell, Registered
 17   Diplomate Reporter and Certified Realtime
 18   Reporter.
 19
 20
 21
 22                             – – –
 23
                 GOLKOW LITIGATION SERVICES
 24           877.370.3377 ph | 917.591.5672 fax
                       deps@golkow.com
 25



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 24
 25



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  7
  8   ALSO PRESENT:
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          AstraZeneca
 10
           SARAH MAGEN, in-house counsel,
 11        AstraZeneca
 12
 13   V I D E O G R A P H E R :
          JEFF FLEMING,
 14       Golkow Litigation Services
 15                       – – –
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25



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  1                    VIDEOGRAPHER:      We are now on
  2           the record.     My name is Jeff Fleming.
  3           I'm a videographer for Golkow
  4           Litigation Services.
  5                    Today's date is March 21, 2022.
  6           The time is 7:05 a.m. Eastern Daylight
  7           Time.
  8                    This remote video deposition is
  9           being held in the matter of Stanley
 10           Baudin versus AstraZeneca
 11           Pharmaceuticals, LP, et al., in the
 12           United States District Court, Middle
 13           District of Louisiana.
 14                    The deponent is Dr. Patricia
 15           Mjønes.
 16                    All parties to this deposition
 17           are appearing remotely and have agreed
 18           to the witness being sworn in
 19           remotely.
 20                    Due to the nature of remote
 21           reporting, please pause briefly before
 22           speaking to ensure all parties are
 23           heard completely.
 24                    Will counsel please state their
 25           appearances for the record after which



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  1           the court reporter Carrie Campbell
  2           will swear in the witness.
  3                    MS. ALTHOFF:      Katherine Althoff
  4           on behalf of the AstraZeneca entities.
  5                    MR. GALLANT:      Michael Gallant
  6           on behalf of Stanley Baudin.
  7                    MR. RESTAINO:      John Restaino on
  8           behalf of Stanley Baudin.
  9                    MS. ALTHOFF:      Excellent.     Swear
 10           in the witness.
 11                    THE WITNESS:      Yes, sorry, my
 12           name is Patricia Mjønes.
 13

 14             PATRICIA MJØNES, M.D., Ph.D.,
 15   of lawful age, having been first duly sworn
 16   to tell the truth, the whole truth and
 17   nothing but the truth, deposes and says on
 18   behalf of the Defendants, as follows:
 19

 20                    MS. ALTHOFF:      Good morning,
 21           Dr. Mjønes.     And good morning,
 22           Counsel.
 23                    John, are you in the room?          Are
 24           you remote today?
 25                    MR. GALLANT:      John Restaino is



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  1           in the room but he is remoted in.
  2                    MS. ALTHOFF:      Yes.
  3                    MR. GALLANT:      Do you want his
  4           video on?
  5                    MS. ALTHOFF:      Yes, please.
  6                    MR. RESTAINO:      Okay.    Hey
  7           there.
  8                    MS. ALTHOFF:      I just wanted to
  9           see your face.      Good morning, John.
 10                    MR. RESTAINO:      Good morning,
 11           Katherine.     How are you?
 12                    MS. ALTHOFF:      All right.      I'm
 13           well.    How are you?
 14                    MR. RESTAINO:      Do you want me
 15           to stay on?
 16                    MS. ALTHOFF:      I'm sorry?
 17                    MR. RESTAINO:      Would you like
 18           me to stay on video?
 19                    MS. ALTHOFF:      Well, if you
 20           wouldn't mind, John.        We've kind of
 21           been doing that in these where we're
 22           in the same room with the witness.            So
 23           if you wouldn't mind, that would be
 24           preferable.
 25                    MR. RESTAINO:      Not a problem at



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  1            all.
  2                     MS. ALTHOFF:      Excellent.      All
  3            right.    A few housekeeping matters
  4            there, Dr. Mjønes.        I'm sorry about
  5            that.
  6                     DIRECT EXAMINATION
  7    QUESTIONS BY MS. ALTHOFF:
  8            Q.       And I want to make sure, to
  9    begin with, Doctor, that I am pronouncing
 10    your name correctly.
 11                     Can you say it for me?
 12            A.       Mjønes.
 13            Q.       Mjønes?
 14            A.       Yes, that's right.
 15            Q.       With the accent on the O.
 16    Okay.    Mjønes.     Excellent.
 17                     Doctor, I -- have you been
 18    deposed before?
 19            A.       Never.
 20            Q.       All right.      This is something
 21    that happens in the United States, and I
 22    imagine you would not be familiar with it.
 23    So let me tell you a little bit about what's
 24    going to happen today.          I'm going to be
 25    asking you questions.



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  1            A.       Yes.
  2            Q.       You're going to be answering
  3    verbally, so out loud, yes?
  4            A.       Yes.
  5            Q.       Doctor, it appears you
  6    understand English well; is that correct?
  7            A.       Yes.
  8            Q.       Okay.    If you have trouble
  9    understanding my question either because I
 10    talk too fast, I talk with an accent or you
 11    don't understand what I'm saying in English,
 12    please let me know.
 13                     Okay?
 14            A.       Okay.
 15            Q.       If you answer the question, I'm
 16    going to assume that you understood it.
 17                     Is that fair?
 18            A.       Yeah.
 19            Q.       Also, you know, we've spent
 20    some time this morning working on the audio,
 21    and it's always a challenge in these matters,
 22    so this is nothing new.          And so there may be
 23    times when you have trouble hearing my
 24    question.
 25            A.       Okay.



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  1            Q.       If you have trouble, please let
  2    me know.
  3                     Okay?
  4            A.       Yes.
  5            Q.       Because, again, if you answer
  6    my question, I'm going to assume you heard
  7    it.
  8                     That's fair, right?
  9            A.       Yeah.
 10            Q.       We'll try not to talk over each
 11    other.    That's always important because the
 12    court reporter is typing down what we say,
 13    but it's especially important on Zoom because
 14    it cuts one or the other of us out if we talk
 15    over each other.
 16                     Okay?
 17            A.       Okay.
 18            Q.       So if you will wait until I
 19    finish my question, there usually will be a
 20    little pause, and then you answer, that would
 21    be helpful, and I'll do that on my end.
 22                     Okay?
 23            A.       (Witness nods head.)
 24            Q.       All right.      Similarly, you
 25    know, it's normal in conversation, even over



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  1    Zoom, to nod your head or shake your head in
  2    response to questions.          I'm sure you're
  3    smiling because you've heard this from
  4    counsel.     We have to be a little artificial
  5    today and always speak our answers.
  6                     Okay?
  7                     And I will remind you as well,
  8    some other of the counsel on the phone, if
  9    you don't give verbal answers.
 10                     All right?
 11            A.       Yes.
 12            Q.       Okay.    All right.      Let's give
 13    this a try.
 14                     Have you, Doctor, ever served
 15    as an expert witness anywhere in the United
 16    States or anywhere in the world?
 17            A.       No.
 18                     (Mjønes Exhibit 1 marked for
 19            identification.)
 20    QUESTIONS BY MS. ALTHOFF:
 21            Q.       Let's use your deposition
 22    notice first.       So actually my Exhibit 1,
 23    Jeff.
 24                     Are you able to see that
 25    document, Doctor?



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  1            A.       Yes.
  2            Q.       Is this a document that you
  3    have seen previously?
  4            A.       I can't remember seeing it
  5    just -- no.
  6            Q.       Okay.    That's fine.
  7                     I will tell you that the first
  8    several pages of this document are sort of
  9    the legal language that says that you are
 10    supposed to come today for your deposition,
 11    and you're here today, right?
 12            A.       Yes.
 13            Q.       And you're here to give a
 14    deposition in the matter of Stanley Baudin
 15    versus AstraZeneca and related entities in
 16    the United States, right?
 17            A.       Yes.
 18            Q.       Okay.    Attached to that
 19    document was what's called Exhibit A, which
 20    is before you now on the screen.
 21                     Are you able to see that?
 22                     Are you able to see the
 23    document that's on the screen?
 24            A.       Yes.    Yes.    Sorry.
 25            Q.       No, no problem.



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  1                     And are you -- can you read it,
  2    or is it too small?
  3            A.       I can read it, but, yeah, I'm a
  4    bit close.      I'm able to read it.
  5            Q.       All right.      Jeff, would you
  6    mind blowing up down where the numbers are
  7    just a little bit so she can see it?
  8            A.       Yeah.
  9            Q.       Yeah, that's good.
 10                     And essentially, Doctor, we
 11    sent this request for materials to the
 12    counsel that are there with you today,
 13    Mr. Restaino and Mr. Gallant, and asked them
 14    to have you bring certain documents with you
 15    to your deposition.
 16            A.       Yes.
 17            Q.       Were you aware of that?
 18            A.       Yeah, I was aware of that a few
 19    days ago, but -- you know, that list -- that
 20    list there.
 21            Q.       Excellent.      Okay.
 22                     And we received some documents
 23    late last evening from those counsel, and are
 24    those documents that we received -- did you
 25    know that we received documents that was



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  1    supposedly related to you?
  2            A.       I knew that they were sending
  3    you some documents.
  4            Q.       Okay.
  5            A.       Yes.
  6            Q.       And were those documents meant
  7    to be your response to this request for
  8    production?
  9            A.       Yes.
 10            Q.       All right.      So did you yourself
 11    go through this list of documents to see what
 12    you had that was responsive?
 13            A.       I went through the list and
 14    asked what I have to send, and then I was
 15    told -- you know, what I was able to do in a
 16    short notice was sending the CV and the --
 17    what else?      I think that's basically -- and
 18    the records, the invoices.
 19            Q.       Okay.    Excellent.
 20                     All right.      So if we look at
 21    this list, number 1 asks for a copy of your
 22    CV and fee schedule, and you said you located
 23    a copy of your CV and forwarded that,
 24    correct?
 25            A.       Yes.



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  1            Q.       All right.      And your CV, we'll
  2    take a look at it here in a minute, but it
  3    appeared to be a current CV?
  4            A.       Yeah.
  5            Q.       All right.      Number -- I'm
  6    sorry, go ahead.
  7            A.       You know, it's the most current
  8    one I could come up with.
  9            Q.       Excellent.
 10                     All right.      And number 2 asks
 11    for all time records, diaries, invoices or
 12    bills prepared and rendered in connection
 13    with the witness' investigation and
 14    evaluation of the issues involved in this
 15    litigation, and it asks for a number of
 16    hours, et cetera.
 17                     We received an invoice last
 18    night for 25 hours' worth of work.
 19            A.       Yes.
 20            Q.       Yes.
 21                     And is that an invoice that you
 22    prepared?
 23            A.       Yes.
 24            Q.       And does that invoice represent
 25    all work that you have done in this matter in



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  1    terms of the number of hours you've spent?
  2            A.       It -- most hours I spent.
  3            Q.       All right.      And when you say
  4    "most hours that you've spent," it sounds
  5    like there may be some hours that are not on
  6    the invoice.
  7                     How would you describe those?
  8            A.       Basically I couldn't remember
  9    an exact number, so that I most likely spend
 10    some more hours, but it's -- you know, it's
 11    close to that.       It's pretty close to that
 12    hour.    So it's not --
 13            Q.       Okay.    So it was essentially an
 14    estimate of the number of hours that you have
 15    spent on this matter?
 16            A.       Yes.
 17            Q.       Were there additional hours
 18    that you have spent that you intend to charge
 19    for between the time that you prepared that
 20    invoice and today?
 21            A.       Like for the weekend, this
 22    weekend, but nothing before then.
 23            Q.       Okay.    How much time did you
 24    spend this weekend?
 25            A.       I've been reviewing the slides



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  1    again all of Saturday, so that's about nine,
  2    ten hours, and then I spent about five hours
  3    yesterday.
  4            Q.       Okay.
  5            A.       And then just today.
  6            Q.       So you reviewed the slides
  7    again on Saturday, and those would be the
  8    pathology slides from Mr. Baudin?
  9            A.       Yes.
 10            Q.       Okay.    And you spent about nine
 11    or ten hours doing that on Saturday.
 12            A.       Yes.
 13            Q.       And then you said you spent
 14    five hours yesterday working.
 15                     What did you do yesterday?
 16            A.       Basically I've been going to
 17    the --
 18                     MR. GALLANT:      I'm just going to
 19            caution the witness that discussions
 20            with counsel, myself and Mr. Restaino,
 21            we view as privileged in this matter
 22            and so not to discuss what we
 23            discussed.
 24                     You can answer the question.
 25            If you need it restated, the --



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  1                     THE WITNESS:      Yeah, basically,
  2            I've been -- been going through the
  3            case, and I've been reading up over
  4            Voltaggio's report at the weekend.
  5                     So that's basically what I've
  6            been doing.
  7    QUESTIONS BY MS. ALTHOFF:
  8            Q.       Okay.    So five hours yesterday
  9    working.
 10                     You reviewed Dr. Voltaggio's
 11    report?
 12            A.       Uh-huh.
 13            Q.       And Dr. Voltaggio you
 14    understand to be an expert witness hired by
 15    AstraZeneca to review the pathology of
 16    Mr. Baudin?
 17            A.       Yes.
 18            Q.       What else did you review
 19    yesterday?
 20            A.       That was basically it.
 21            Q.       Okay.    Did you meet with
 22    counsel, either Mr. Restaino, Mr. Gallant or
 23    both, yesterday?
 24            A.       I met both yesterday.
 25            Q.       And about how much time did you



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  1    spend meeting with counsel?
  2            A.       I arrived at about -- I have to
  3    think.    Just after 12, and I left at about
  4    3:30.
  5            Q.       Okay.    Great.
  6                     And I understand that counsel
  7    is now raising an objection to your
  8    discussions with counsel, so let me ask you
  9    this.
 10                     Have you retained Mr. Gallant
 11    and/or Mr. Restaino as your personal counsel?
 12            A.       I don't understand the question
 13    completely.
 14            Q.       Sure.
 15                     You are a witness in the case,
 16    yes?
 17            A.       Yes.
 18            Q.       Have you hired a lawyer to
 19    represent you as a witness?
 20            A.       No, I haven't hired anyone.
 21                     MR. GALLANT:      Wait.     I mean, we
 22            are representing Dr. Mjønes here today
 23            as a consulting expert in this case,
 24            and she may not understand the
 25            technicalities of that relationship.



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  1                     MS. ALTHOFF:      Frankly, I'm not
  2            sure I do either given that her report
  3            has been disclosed but she's not been
  4            named as an expert witness in the
  5            case.
  6                     All right.      But we'll take that
  7            up later.     And thank you for your
  8            explanation, Dr. Mjønes.
  9    QUESTIONS BY MS. ALTHOFF:
 10            Q.       So today, about what time is it
 11    there in Norway?
 12            A.       It's about 12:19.        So midday.
 13            Q.       Excellent.
 14                     Have you worked on this case
 15    this morning?
 16            A.       Well, because I came here an
 17    hour before everything started, so I've been
 18    working on it then.
 19            Q.       All right.      And what have you
 20    done in the last hour?
 21            A.       Basically just collecting my
 22    thoughts, look -- taking a quick glance at my
 23    report.
 24            Q.       All right.      Going back to the
 25    document that's on your screen, Doctor, it



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  1    says number 3 is the witness' complete file
  2    in connection with their investigation,
  3    evaluation of the issues.
  4                     Can you describe for me what
  5    your file on this matter consists of?
  6            A.       Well, basically what I have is
  7    the report I wrote.
  8            Q.       Uh-huh.
  9            A.       And I think they sent a
 10    document with the report, with some notes on
 11    the side that I wrote during the weekend and
 12    I was reviewing the slides again.             So that
 13    would be a part of it.
 14                     And I also have a document
 15    written in Norwegian, and I looked at the
 16    slides and tissue blocks sent in April
 17    of 2021.
 18            Q.       Okay.
 19            A.       So those would be the documents
 20    I have on the case.
 21            Q.       And I think we also received
 22    from you some pictures or images of slides?
 23            A.       Yes.
 24            Q.       Would you consider that part of
 25    your file as well?



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  1            A.       Yes.    The -- yeah.
  2            Q.       So the photographs or images of
  3    the slides, the final report, a copy of the
  4    report with notations on it?
  5            A.       Uh-huh.
  6            Q.       And a document in Norwegian
  7    that you prepared while you were reviewing
  8    the slides?
  9            A.       The document in Norwegian is
 10    basically only on -- from -- on the tissue
 11    block sent.      So they're basically one tissue
 12    block from the operation specimen and one
 13    tissue block from the biopsy of one of the
 14    polyps.
 15            Q.       Okay.    So the document that's
 16    in Norwegian, tell me a little bit more about
 17    that because I'm not sure if I've seen it.
 18            A.       Okay.    It's basically when
 19    the -- in March of 2021, I think, that I was
 20    sent two tissue blocks, and they were stained
 21    in Norway.      So in order to deduct, it was
 22    opened up kind of a -- by a number or a file
 23    on the patient in the hospital in Norway.                So
 24    that documentation is basically how we would
 25    describe the tissue -- like when we open up a



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  1    document in the Norwegian pathology system,
  2    we write a report in Norwegian just to
  3    document our findings.
  4                     So that's basically what a
  5    Norwegian -- it's basically it's same as what
  6    is in the report, only a Norwegian document
  7    to the Norwegian pathology system, if it
  8    makes sense.
  9            Q.       Gotcha.
 10                     MR. GALLANT:      Katherine, I
 11            might be able to shed some light here.
 12                     The Norwegian pathology report
 13            accompanied the slides that were
 14            transmitted to, I think, Mr. Cora.             So
 15            it was our impression that you had the
 16            report.     If you need it, we can -- we
 17            can get it to you at a break.
 18                     MS. ALTHOFF:      Okay.     That
 19            sounds great.       No worries.
 20    QUESTIONS BY MS. ALTHOFF:
 21            Q.       Dr. Mjønes, it sounds like the
 22    substantive information with regard to your
 23    review that was contained within the
 24    Norwegian document is also in your report in
 25    English?



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  1            A.       In English.      Yeah.    It's kind
  2    of the same information it's in the report.
  3            Q.       Okay.    Anything else that you
  4    considered to be part of your file with
  5    regard to this investigation that you did
  6    looking at Mr. Baudin's pathology slides?
  7            A.       No, not that I can think of.
  8            Q.       Number 4 asks for all documents
  9    obtained or created by the witness with
 10    reference to this litigation, including
 11    drafts of the pathology report.            And by
 12    pathology report, that would be the report
 13    that you issued in this case.
 14                     Do you have any documents that
 15    are responsive to number 4?
 16                     MR. GALLANT:      Again, we had
 17            interposed an objection concerning
 18            this request.       As Dr. Mjønes is a
 19            consulting expert, we would not be
 20            providing draft reports.
 21    QUESTIONS BY MS. ALTHOFF:
 22            Q.       Let me ask you a question,
 23    Dr. Mjønes.
 24                     Did you prepare a draft of what
 25    would then become your pathology report which



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  1    you shared with Dr. Waldum?
  2            A.       No.
  3            Q.       Other than counsel, who are,
  4    you know, on the call today, have you
  5    provided a draft of what would then become
  6    your pathology report with anyone else, like
  7    a colleague or someone like that?
  8            A.       No.
  9                     Could I ask you, when you say
 10    draft, do you mean not the final document?
 11    You mean --
 12            Q.       Correct, like a work in
 13    progress.
 14            A.       No, I did not.
 15            Q.       Did you create any other
 16    documents other than your pathology report
 17    and, you know, perhaps this Norwegian
 18    document that related to the tissue blocks as
 19    related to this litigation?
 20            A.       No.
 21            Q.       Looking at number 5, Doctor, it
 22    asks for documents reviewed, referred to or
 23    relied upon you before, during or after
 24    drafting of your report, including medical
 25    records or reports, scientific articles,



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  1    publications, things like that.
  2                     I understand you had the
  3    Pathology of Louisiana reports to review at
  4    or about the time you reviewed your report;
  5    is that correct?
  6            A.       Yes.
  7            Q.       Did you have any other -- well,
  8    let me ask this.
  9                     Did you review those pathology
 10    reports before, during or after you looked at
 11    the slides yourself?
 12            A.       I looked at the slides first
 13    and then I reviewed reports afterwards.
 14                     Then what I did do, when you
 15    look at slides, you need a gross description.
 16    So I looked at the gross description on the
 17    Louisiana reports so that I knew what I was
 18    looking at, but I didn't look at their
 19    conclusion before I started mine.
 20            Q.       Okay.    Did you look at the
 21    Louisiana Pathology reports before you wrote
 22    your report?
 23            A.       Yes.
 24                     VIDEOGRAPHER:       Apologies,
 25            Ms. Althoff, I need to switch



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  1            computers for the exhibits.           It will
  2            take me just a moment.
  3                     MS. ALTHOFF:      Sure, I tell you
  4            what, let's take five minutes.            I
  5            wouldn't mind getting myself more
  6            coffee.
  7                     VIDEOGRAPHER:       Off the record,
  8            7:27 a.m.
  9             (Off the record at 7:27 a.m.)
 10                     VIDEOGRAPHER:       On the record,
 11            7:37 a.m.
 12    QUESTIONS BY MS. ALTHOFF:
 13            Q.       All right.      We're back.
 14                     Dr. Mjønes, when we left, we
 15    were looking at this document which is a
 16    request for production to you.            And we took a
 17    break, and it reminded me that one of the
 18    rules we did not talk about earlier was if
 19    you need to take a break at any time, please
 20    just let me know.        And as long as you answer
 21    any question that's pending at that time,
 22    once you answer that, we can take a break.
 23                     Okay?
 24            A.       Okay.
 25            Q.       All right.      Let's go back to



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  1    looking at the document that's on the screen.
  2    The last item on page 4 is number 6, and it's
  3    all documents of communications between the
  4    witness and any person, including, but not
  5    limited to, Dr. Waldum and counsel for
  6    plaintiff in this matter regarding the
  7    pathology report or any drafts thereof or
  8    regarding the subject matter of the
  9    litigation.
 10                     Dr. Mjønes, I received last
 11    night some e-mails between you and
 12    Dr. Waldum.
 13                     Did you provide those to
 14    counsel to send to me?
 15            A.       No.
 16            Q.       Okay.    Have you gone back to
 17    your e-mail or other correspondence files to
 18    see if you have any documents representing
 19    communications between you and Dr. Waldum or
 20    anyone else regarding this litigation?
 21                     MR. GALLANT:      And I'm just
 22            going to interpose the same objection
 23            that we've previously stated to
 24            defense counsel prior to the
 25            deposition, that we believe



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  1            communications between Dr. Mjønes and
  2            other consulting witnesses and counsel
  3            for the plaintiff are privileged, as
  4            well as any draft reports.
  5                     MS. ALTHOFF:      Let me ask a
  6            different question, Dr. Mjønes.
  7    QUESTIONS BY MS. ALTHOFF:
  8            Q.       Have you had any
  9    communications, so e-mails, other types of
 10    document communications, between yourself and
 11    any of your colleagues or other professionals
 12    other than Dr. Waldum or counsel?
 13            A.       No.
 14            Q.       Have you had communications
 15    with Dr. Waldum about your work on this
 16    matter?
 17            A.       On this matter?
 18            Q.       Yes.
 19            A.       No.
 20            Q.       Have you -- did you e-mail him
 21    at all about the pathology work you were
 22    doing or would be doing or about your
 23    deposition?
 24                     MR. GALLANT:      I'm going to
 25            object to form.       That's vague.



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  1    QUESTIONS BY MS. ALTHOFF:
  2            Q.       Have you had any communications
  3    with Dr. Waldum regarding your review of
  4    Dr. Baudin -- excuse me, Mr. Baudin's
  5    pathology slides?
  6            A.       Yes.    I sent him the report
  7    when I was finished.
  8            Q.       Did you have any written
  9    communications with him about your review
 10    prior to finishing the report?
 11            A.       No.    I finished the report
 12    first and then sent it to him.            But I have
 13    been communicating back -- the
 14    communication -- like getting this -- you
 15    know, he -- he got in touch with me to review
 16    the slides.
 17            Q.       Okay.    So you received
 18    communications from Dr. Waldum asking you to
 19    do the work?
 20            A.       Yes.
 21            Q.       And then you did the work and
 22    did not discuss that work with him while it
 23    was ongoing?
 24                     MR. GALLANT:      I'm going to
 25            object to the extent you're seeking to



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  1            learn the content of communications
  2            between Dr. Waldum and Dr. Mjønes.
  3    QUESTIONS BY MS. ALTHOFF:
  4            Q.       Okay.    Did you communicate with
  5    Dr. Waldum about the subject of your review
  6    during the time that you were reviewing?
  7            A.       Not -- you mean -- do you mean
  8    before the report was finished?
  9            Q.       Yes.
 10            A.       Not as I recall.
 11            Q.       And then since completing the
 12    report, have you had communications with
 13    Dr. Waldum regarding the substance of the
 14    report?
 15            A.       I think -- yes.
 16                     MS. ALTHOFF:      And, Counsel, do
 17            I understand that you are objecting to
 18            any questions asking her what the
 19            substance was?
 20                     MR. GALLANT:      Correct.
 21    QUESTIONS BY MS. ALTHOFF:
 22            Q.       Dr. Mjønes, have you had
 23    communications with anyone else that you
 24    understand to be an expert for the plaintiffs
 25    regarding your pathology report and



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  1    conclusions?
  2            A.       No.
  3            Q.       Have you had communications --
  4    I'm not asking for the substance now, but are
  5    you -- have you had any communications with
  6    the plaintiffs' lawyers, that being
  7    Mr. Gallant or Mr. Restaino or anyone else
  8    representing Mr. Baudin, about the substance
  9    of your report at any time?
 10            A.       Nothing -- not about the
 11    substance itself, no.
 12            Q.       So have you talked with counsel
 13    about any of the conclusions that you reached
 14    in your report?
 15            A.       I have talked about it before
 16    to -- before now, but not, you know -- not
 17    before.
 18            Q.       Well, what do you mean by that,
 19    Doctor?
 20            A.       I know that sound a bit
 21    unclear.     We have been discussing, going
 22    through my report before this session today,
 23    before this deposition.
 24            Q.       Okay.    So you have -- since --
 25    well -- strike that.



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  1                     Did you talk with counsel
  2    between the time that you reviewed the slides
  3    and when you wrote your report?
  4            A.       No, not -- not before the
  5    finished report and then I reviewed the
  6    slides.      I haven't had any communication with
  7    John Restaino or Michael Gallant.
  8            Q.       Okay.    So any communications
  9    that you had with counsel would have occurred
 10    after you completed your report, which is
 11    your review of Mr. Baudin's pathology?
 12            A.       Yes.
 13                     MS. ALTHOFF:      And, Counsel, do
 14            I understand that you're objecting to
 15            any questions with regard to the
 16            substance of those communications with
 17            you?
 18                     MR. GALLANT:      That's correct,
 19            Katherine.
 20    QUESTIONS BY MS. ALTHOFF:
 21            Q.       I'm not sure if I asked you
 22    this or not quite, Dr. Mjønes.
 23                     Were there any drafts of your
 24    pathology report?
 25            A.       Like when I wrote my report, it



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  1    was a working document.          So you could say
  2    that anytime I saved the document, it would
  3    be a draft till I was finished with it.               But
  4    I don't have several exemplars of it.              I only
  5    have that one final report.
  6            Q.       Okay.    Thank you.
  7                     All right.      Number 7 asks for
  8    all facts, data and assumptions plaintiffs'
  9    counsel provided to you and that you
 10    considered in drafting the pathology report.
 11                     Do you have any documents
 12    responsive to this request?
 13            A.       So I'm not sure if I follow the
 14    question completely.         All facts -- like I got
 15    the report from the Louisiana group, their
 16    report, and that's basically all I got.
 17            Q.       Okay.    Did you receive any
 18    information from anyone, Dr. Mjønes, prior to
 19    writing your report about Mr. Baudin, other
 20    than the LA -- or Louisiana path reports?
 21            A.       No.
 22            Q.       So, for instance, did you know
 23    anything about his age, race or ethnicity?
 24            A.       Well, I would know his age
 25    because that would be on the report.              Like



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  1    his date of birth was on the report, but his
  2    ethnicity isn't -- doesn't say -- it's not on
  3    the report as far as I know, so I wouldn't
  4    know that.
  5                     And gender, obviously.          Those
  6    are the things I know.
  7            Q.       Would you know anything about
  8    his underlying medical conditions, other than
  9    I believe there was a statement on the path
 10    report that said gastric adenocarcinoma?
 11                     Other than that, would you know
 12    anything about his medical conditions or
 13    history?
 14            A.       I would have heard that he --
 15    like I would have heard something about
 16    gastroeso -- gastroeso -- I can't say the
 17    word, sorry -- gastroesophageal reflux
 18    disease, that -- you know, the picture.               But
 19    more than that I don't know.           I didn't know.
 20            Q.       So you knew that Mr. Baudin
 21    suffered from gastric esophageal reflux
 22    disease, or GERD.
 23            A.       Uh-huh.
 24            Q.       Did you know that, Dr. Mjønes?
 25                     MR. GALLANT:      I'm going to



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  1            object to the extent you're seeking
  2            information related to a privileged
  3            communication.
  4    QUESTIONS BY MS. ALTHOFF:
  5            Q.       Well, let me ask you this,
  6    Dr. Mjønes.
  7                     Was the fact that Mr. --
  8    Mr. Baudin had GERD an important fact, data
  9    or assumption that you considered when you
 10    were reviewing the slides?
 11            A.       I mean, it all is kind of -- I
 12    mean, you have it in the back of your mind
 13    when you look at slides.          You try to put the
 14    pieces together.        But other than that, I
 15    didn't -- you know, I would have had that
 16    information and looked for signs of it, but
 17    you would do that anyway.
 18            Q.       Okay.    So how did you know that
 19    Mr. Baudin had GERD?
 20            A.       I can't remember if it was in
 21    the report or if I heard it from someone.
 22    That, I can't remember.
 23            Q.       Did you know at the time that
 24    you were reviewing Mr. Baudin's pathology
 25    slides whether or not Mr. Baudin had ever



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  1    taken a proton pump inhibitor?
  2            A.       If I knew that he -- if the had
  3    taken that?
  4            Q.       Yes.
  5            A.       I probably have heard that,
  6    right.
  7            Q.       Is that something that you
  8    would have known -- well, strike that.
  9                     Is that something that you knew
 10    at the time you were reviewing the slides?
 11            A.       That, I can't remember.
 12            Q.       Okay.    Well, what were you
 13    told, Dr. Mjønes, with regard to why you were
 14    being asked to review these slides?
 15                     MR. GALLANT:      I'm going to make
 16            the same objection.        I mean, the fact
 17            of communication is one thing, but the
 18            substance of communications, I think,
 19            is privileged.
 20    QUESTIONS BY MS. ALTHOFF:
 21            Q.       All right.      Let me ask you
 22    this.
 23                     Dr. Mjønes, did you know when
 24    you were asked to review the slides that it
 25    was for purposes of United States litigation?



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  1            A.       Well, I was asked to look at
  2    the slides because Dr. Waldum was going to
  3    write a report, and he was relying on -- on
  4    the -- like he was partly writing that report
  5    based on findings in the pathology report, so
  6    he needs someone to review the slides.
  7                     So I knew there would be --
  8    that he was going to be an expert witness,
  9    but I didn't know any more than that.
 10            Q.       Did you know that the case
 11    involved litigation in the United States
 12    involving proton pump inhibitors?
 13            A.       I might have known that, yeah.
 14            Q.       And given that you may have
 15    known that the case in the litigation
 16    involved proton pump inhibitors, would you
 17    have made the assumption yourself that
 18    Mr. Baudin was a proton pump inhibitor user?
 19            A.       If I hadn't know -- do you mean
 20    if I hadn't known?
 21            Q.       I guess what I'm asking is,
 22    when you were looking at the slides, did you
 23    have in your mind that Mr. Baudin had at some
 24    point used proton pump inhibitors?
 25            A.       You know, when I look at slides



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  1    generally, lots of the patients have taken
  2    proton pump inhibitors, and you don't really
  3    think about it unless you see specific signs
  4    that would fit with that.
  5                     So like I would have it in mind
  6    in terms -- in the sense that I would -- I
  7    did the special staining, but apart from
  8    that, I didn't -- you know, I looked at the
  9    slides, but the main focus looked at the
 10    cancer and what was found.
 11            Q.       You mentioned the special
 12    staining.     And you did, in fact, do your own
 13    special staining of the slides of Mr. Baudin,
 14    correct?
 15            A.       Yes.
 16            Q.       Did you decide to do that
 17    special staining -- well, was it your
 18    decision to do the special staining?
 19            A.       I was asked to do it.
 20            Q.       Okay.    I assume by Dr. Waldum?
 21            A.       Yes.
 22            Q.       Do you know why you were
 23    requested to do the special staining?
 24            A.       Yeah.    You look -- we were
 25    looking for signs of hyperplasia of



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  1    neuroendocrine cells in the stomach.              You
  2    can't really see that in a normal oxyntic
  3    mucosa without doing the immunohistochemistry
  4    to look for it.
  5            Q.       And why were you looking for
  6    signs of ECL hyperplasia in the oxyntic
  7    mucosa?
  8            A.       Well, if -- you know, as you
  9    say, if he has taken -- had any reason for
 10    having hypergastrinemia, you'd look for signs
 11    de facto hypergastrinemia in the stomach, and
 12    what effect would be hyperplasia on
 13    neuroendocrine cells, or ECL cells.
 14            Q.       And did the fact that you were
 15    aware that Mr. Baudin had taken proton pump
 16    inhibitors cause you to think that you would
 17    see signs of hypergastrinemia?
 18            A.       Could you rephrase it -- or
 19    could you please repeat the question?
 20            Q.       Sure.
 21                     So you told us that you did the
 22    special staining at Dr. Waldum's request to
 23    look for signs of ECL cell hyperplasia.
 24            A.       Yes.
 25            Q.       And you said you would do that



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  1    when you had any reason to suspect that the
  2    person might have hypergastrinemia, which
  3    would lead to ECL cell hyperplasia.
  4                     Did I understand that
  5    correctly?
  6            A.       Yes.
  7            Q.       And in this particular
  8    instance, were you looking for ECL cell
  9    hyperplasia caused by hypergastrinemia in
 10    light of your understanding that Mr. Baudin
 11    took proton pump inhibitors?
 12            A.       Yes.
 13            Q.       And just generally,
 14    Dr. Mjønes -- and we'll look at some of the
 15    slides and stuff later.          But what did you
 16    determine with regard to the staining that
 17    you did?     What was your finding?
 18            A.       My finding was that he had the
 19    diffuse and linear hyperplasia of
 20    neuroendocrine cells.
 21            Q.       And where did you find -- in
 22    what part of his tissue did you make that
 23    finding?
 24            A.       In the oxyntic mucosa.          So that
 25    would be in the corpus -- or, you know, the



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  1    corpus area.      I got one section sent, so
  2    that's the section it was done on.
  3            Q.       Okay.
  4            A.       You know, like from the normal
  5    mucosa, I mean.
  6            Q.       Can you repeat that last thing
  7    you just said?
  8            A.       Yeah.    It was done on the
  9    tissue block that I got.          I think it was --
 10    if I can look at my notes, if I can?
 11            Q.       Absolutely.
 12            A.       Just to see which it
 13    corresponds to.
 14                     Yes, it's slide J from --
 15    sorry, from the surgery -- of the surgical
 16    specimen marked -- it was OL-17-09222,
 17    section O3J L2.       No, it was -- it's a -- the
 18    tissue block marked A.
 19            Q.       Uh-huh.
 20                     So, and where in Mr. Baudin's
 21    stomach or esophagus was it your
 22    understanding that tissue block marked site J
 23    was taken from?
 24            A.       It was taken from -- it showed
 25    the gastroesophageal junction or, you know,



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  1    the junction between -- you saw a piece of
  2    cardia, and you saw a piece of the lesser
  3    curvature, I think, in that section.              But I
  4    will double-check that.
  5                     Yeah, like the sections are
  6    described in the operation preparation as
  7    additional polyps near the gastroesophageal
  8    junction.     So it was, you know, not far from
  9    that area.
 10            Q.       And this site J or location J
 11    where that slide was -- where that tissue
 12    block was taken from, was that considered by
 13    you to be normal mucosa in its appearance?
 14            A.       Well, it had a hyper -- it had
 15    a hyperplastic polyp in that section as well,
 16    but the mucosa around was normal apart from
 17    some areas with dilated glands.
 18            Q.       Is this the same tissue
 19    specimen location where the cancer was found?
 20            A.       The cancer was not found in
 21    that location.       There was no cancer on that
 22    section.
 23            Q.       Okay.    Did you do any staining
 24    yourself, special staining, to determine
 25    whether there was HCL -- sorry, ECL



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  1    hyperplasia in the area of Mr. Baudin's
  2    cancer?
  3            A.       Well, the only thing -- it
  4    wasn't much material left in the tissue block
  5    on that section, but on the preparation
  6    number marked -- let me just find the right
  7    number -- 18840, that was the biopsies taken
  8    in September, I think.
  9                     And it wasn't much material
 10    left to examine, so it was only basically a
 11    little bit of tumor tissue left and just
 12    small fragments of normal mucosa.             So the
 13    staining was done on that section too, but it
 14    wasn't enough normal mucosa to evaluate the
 15    tissue around there.
 16            Q.       Was it your finding that there
 17    was not enough normal mucosa to evaluate?
 18            A.       Well, I evaluated the normal
 19    mucosa in section -- section J, so it was
 20    plenty of normal mucosa to evaluate in that
 21    section.     But in the tumor tissue itself from
 22    the biopsy, there wasn't any normal tissue to
 23    evaluate in that particular section.
 24            Q.       And with regard to the
 25    cancerous tissue that was stained that came



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  1    from the biopsy, did you find any ECL cell
  2    hyperplasia in that sample?
  3            A.       In the -- in the tumor biopsy
  4    you mean?
  5            Q.       Yes.
  6            A.       No sign of that in the tumor
  7    biopsy.      But you didn't have enough normal
  8    mucosa to evaluate that.
  9            Q.       Okay.    But in any event, you
 10    didn't find any neuroendocrine markers in the
 11    cancer specimen itself?
 12            A.       No.
 13            Q.       All right.      Let's go back to
 14    Exhibit 1, Jeff, and particularly Item
 15    Number 8, Dr. Mjønes.
 16                     This asks for all articles or
 17    papers that you have written, presented or
 18    participated in writing or presenting that
 19    relate to or concern the subject matter of
 20    this litigation.        I mean, obviously we have
 21    your report.
 22                     Have you written anything else
 23    that relates to the subject matter of this
 24    litigation?
 25            A.       Because I have participated in



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  1    articles with Dr. Waldum, that would be
  2    talking about gastrin and gastric cancer.
  3                     But apart from that -- and in
  4    general I've been -- I've been a part of
  5    articles writing about gastric cancer in the
  6    Middle Norway.       Apart from that, I don't
  7    think so.
  8            Q.       Have you written, for instance,
  9    a case report related to Mr. Baudin?
 10            A.       No.
 11            Q.       Did you write any portions of
 12    Dr. Waldum's expert report in this case?
 13            A.       No.
 14            Q.       Did you participate in writing
 15    any portions of Dr. Waldum's expert report?
 16            A.       No.
 17            Q.       Okay.    Number 9, I think we --
 18    is there anything else other than what you've
 19    just told me that would be responsive to
 20    number 9?
 21                     You said you've done research
 22    and writing on the topic of gastrin and
 23    gastric cancer.
 24            A.       Yes.
 25            Q.       Anything else that would be --



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  1    relate to this litigation?
  2            A.       Well, no, I don't think it's
  3    related to lig -- the ligis -- ligistation --
  4    sorry.    Some words are a bit difficult to
  5    say.    But I did a Ph.D. project where I
  6    studied, you know, the gastrin intercepter on
  7    the gastric cancer, but apart from that,
  8    nothing else.
  9            Q.       So was your Ph.D. thesis on the
 10    gastrin receptor?
 11            A.       Yes.    Not the whole thesis.         It
 12    was a part -- a small -- like a small part of
 13    the thesis, a part of it.
 14            Q.       Okay.    What was the title of
 15    your thesis?
 16            A.       I can't -- I can't remember
 17    exactly.     Like it was tumorigenesis in
 18    neuroendocrine different -- I can't remember
 19    exactly, but it's like -- we were looking at
 20    the neuroendocrine differentiation and
 21    tumorigenesis in renal cell carcinoma and
 22    gastric cancer.       But that was -- something to
 23    the effect of that, but I can't remember the
 24    exact title in a way that I'm able to say it
 25    out loud.     Sorry.



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  1            Q.       No problem.
  2                     Okay.    When did you complete
  3    your thesis?
  4            A.       I was finished defending it in
  5    2018, April.
  6            Q.       Was Dr. Waldum your -- either
  7    the supervisor or the sponsor of your thesis?
  8            A.       No.    He was a supervisor, not
  9    the sponsor.
 10            Q.       Okay.    Looking at number 10, it
 11    asks for all documents that you used,
 12    reviewed or received in anticipation of or in
 13    preparation for your deposition today.
 14                     Do you have anything responsive
 15    to number 10?
 16                     MR. GALLANT:      Other than what's
 17            already been provided?
 18                     THE WITNESS:      No, I don't have
 19            anything else.
 20    QUESTIONS BY MS. ALTHOFF:
 21            Q.       Did you review Dr. Waldum's
 22    report at any time?
 23            A.       No.
 24            Q.       At no time prior to today have
 25    you reviewed his expert report?



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  1            A.       No.
  2            Q.       Okay.    Number 11 asks for all
  3    documents of communications between you and
  4    any person regarding this deposition or
  5    preparation for this deposition.
  6                     Do you have any documents
  7    responsive to that?
  8                     MR. GALLANT:      We would
  9            interpose the same objection, the
 10            production of documents that are
 11            privileged.
 12                     If you're asking about
 13            documents that were provided by
 14            persons other than counsel or other
 15            consulting witnesses, that would be
 16            fair.
 17    QUESTIONS BY MS. ALTHOFF:
 18            Q.       Let me just ask this.         I
 19    mean -- and maybe, Mike, you can answer this.
 20                     Is there -- are there any other
 21    than, here's when your deposition is?
 22                     And I'm kind of confused what
 23    the objection is because normally these would
 24    be pretty benign.
 25                     MR. GALLANT:      Well, I mean, we



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  1            obviously communicated with Dr. Mjønes
  2            as to when her deposition would be, if
  3            that answers your question.           And
  4            clearing the date.
  5    QUESTIONS BY MS. ALTHOFF:
  6            Q.       Okay.    Let's move on.
  7                     We were talking -- in response
  8    to, I think it was, one of these topics, you
  9    mentioned the fact that, you know, you had
 10    done your thesis recently, defended it in
 11    April of 2018, and that Dr. Waldum was the
 12    supervisor for your thesis.
 13            A.       Uh-huh.
 14            Q.       So tell me a little bit more
 15    about your sort of working relationship with
 16    Dr. Waldum.
 17                     As I understand it, you're the
 18    associate -- an associate professor at the
 19    same university that he is?
 20            A.       Yes.
 21            Q.       And you work in the same
 22    department?
 23            A.       No, my -- I work in the
 24    department of pathology, and I work
 25    20 percent as an associate professor for



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  1    NTNU, which is the university in Trondheim.
  2                     He also works in NTNU, which is
  3    the university side, but he work -- he's now
  4    retired, but he worked at the
  5    gastroenterology department.
  6                     So we --
  7            Q.       When did he -- I'm sorry, go
  8    ahead.
  9            A.       We didn't work in the same --
 10    same department and hospital.
 11            Q.       Did you both work in the
 12    department of clinical and molecular
 13    medicine?
 14            A.       Yes.    That would be a
 15    subdivision of the university.
 16            Q.       Uh-huh.
 17            A.       Yes.
 18            Q.       You mentioned that he's now
 19    retired.
 20                     When did he retire?
 21            A.       Let me think.       I'm not quite
 22    sure.    I don't know if I would be able to
 23    answer that correctly.          But I know he worked
 24    privately until recently, but I'm not sure
 25    exactly when he stopped doing that or



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  1    basically stopped doing that.            I'm not
  2    100 percent sure.
  3                     But he's retired from the
  4    hos -- you know, from the -- working in the
  5    hospital department.
  6            Q.       Okay.    With regard to your
  7    normal day-to-day work, Dr. Mjønes, what do
  8    you do on a day-to-day basis?
  9            A.       On a day-to-day basis, we look
 10    at -- you know, we get pathology specimens
 11    from patients.       Usually it depends -- the
 12    amount depends from day to day, but we
 13    usually get between 15 and 20 cases a day.
 14                     And in my -- I work most
 15    with -- mostly with cases on gastroenterology
 16    and also skins.
 17            Q.       So if a patient comes into the
 18    hospital and has a kidney -- not kidney,
 19    excuse me -- a gastric biopsy taken, you
 20    might be the person to read it?
 21            A.       Yes.
 22            Q.       Other than -- that's sort of --
 23    I would call that almost clinical work,
 24    right?
 25            A.       Yeah.



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  1            Q.       What else do you -- do you do
  2    research?     What other types of work do you do
  3    on a day-to-day basis?
  4            A.       I would be involved in research
  5    projects.     In general, pathologists tend to
  6    be asked to take part in research projects
  7    because lots of the research is based on
  8    findings done on pathology specimens.
  9                     I also do teaching at the
 10    hos -- you know, I teach medical students.
 11            Q.       If you were to estimate the
 12    percentage of time that you divide between
 13    your clinical work, research and teaching,
 14    how would you divide that up?
 15            A.       I could say that most of my
 16    work would be in the clinics, like -- I'm
 17    working hundred percent in the hospital
 18    department.      Teaching is 20 percent on top of
 19    that.    And any research we tend to do for
 20    free.    So you don't find time to do that
 21    within the working hours.          You do it after
 22    working hours.
 23            Q.       Okay.
 24            A.       Sometimes -- sorry.
 25            Q.       No, continue, please.



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  1            A.       No, sometimes you get on odd
  2    week here and there where you can work on
  3    research, but they don't -- they come along
  4    occasionally.
  5            Q.       So you consider yourself really
  6    a full-time employed clinical pathologist?
  7            A.       Yes.
  8            Q.       And primarily your cases are
  9    from the gastrointestinal system and skin?
 10            A.       Yes.
 11            Q.       With regard to your research
 12    interests, what has been your primary
 13    research interest?
 14            A.       There's been -- early on when I
 15    was the -- before I became pathologist, it
 16    was, you know, a quite a bit of research on
 17    basis of carcinoma of the skin.            That's --
 18    over the last few years it's been more
 19    focused on gastric cancer and celiac disease.
 20    I've also been involved in that.
 21            Q.       Is there any particular area
 22    within gastric cancer that you have a
 23    research interest?
 24            A.       There's been more time now
 25    towards neuroendocrine tumor.



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  1            Q.       And when I did a search, I
  2    found that you had approximately like 26
  3    publications in journals.
  4                     Is that about right?
  5                     VIDEOGRAPHER:       Counsel, I think
  6            the doctor's connection --
  7                     MR. GALLANT:      We're not getting
  8            audio at the moment on the doctor's
  9            computer.     I don't know if you can
 10            hear me.
 11                     MS. ALTHOFF:      Yeah, we can hear
 12            you.
 13                     MR. GALLANT:      Sorry.     I think
 14            we're back.
 15                     THE WITNESS:      Can you hear me
 16            now?
 17                     MR. GALLANT:      All right.      Can
 18            you-all say something?         Because I'm
 19            not sure we can hear you.
 20                     THE WITNESS:      No, we can't hear
 21            them.
 22                     MS. ALTHOFF:      Can you hear me
 23            now?
 24                     MR. GALLANT:      Yes.
 25                     THE WITNESS:      Yes.



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  1                     MS. ALTHOFF:      I accidentally
  2            went on mute.       So I think -- are we
  3            back on?     Yeah?
  4    QUESTIONS BY MS. ALTHOFF:
  5            Q.       All right.      I think the last
  6    question that I had was I was asking you
  7    about the number of publications that you had
  8    in journals, Dr. Mjønes.
  9                     I found about 26.        Is that
 10    roughly the right number?
 11            A.       I think we went through the
 12    number just before we started, and I think
 13    it's more like 29, around 29, 30.             But 29
 14    is -- 29 is --
 15            Q.       Okay.    And about how many of
 16    those publications have you co-authored with
 17    Dr. Waldum?
 18            A.       That, I'm not quite sure.           I
 19    didn't -- I didn't see it applicable.              A few
 20    of them would definitely be with him.              All
 21    the ones in the Ph.D. project, so that would
 22    be three.     And I think at least three or four
 23    afterwards, maybe, or maybe more.
 24            Q.       If I came up with 15 --
 25            A.       No, that would --



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  1            Q.       -- would you -- I'm sorry?
  2            A.       That was more than I thought,
  3    but, yeah, that could be right.
  4            Q.       What was the relationship
  5    before he retired from the hospital between
  6    the department that he worked in and the
  7    department that you worked in?
  8            A.       Well, you know, the same as
  9    with any other department.           Basically we
 10    would have meetings with them once a month
 11    discussing certain cases.          And that wouldn't
 12    be with only Waldum.         That would be with all
 13    of the gastroenterologists that had the time
 14    to come and with the -- you know, with us
 15    students working on the gastrointestinal
 16    pathology.
 17                     But apart from that, you know,
 18    it wouldn't be much more than that, really.
 19            Q.       How did Dr. Waldum come to be
 20    the supervisor on your Ph.D. thesis?
 21            A.       He approached me.        Himself and
 22    my other co -- and the co-supervisor that
 23    came and approached me and asked me if I
 24    would like to do research for them.
 25            Q.       All right.



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  1            A.       In OR, worked on the project.
  2            Q.       And who was the second
  3    co-supervisor?
  4            A.       Ivar Sjåk Nordrum.        His name is
  5    on the CV I provided.
  6            Q.       Okay.    Great.
  7                     And what was his area of
  8    specialty?
  9            A.       His area -- like he was kind
 10    of -- I was going to say more forensic
 11    medicine.     That would be his main area.            But
 12    at the moment, he's kind of more -- after the
 13    thesis, he's kind of going towards retirement
 14    and is working on -- on more of the
 15    educational side of things.
 16            Q.       Who decided what the topic for
 17    your thesis should be?
 18            A.       Waldum and my other supervisor,
 19    they had a topic in mind and approached me if
 20    I wanted to work on that.
 21            Q.       And is that the topic that you
 22    ultimately chose and wrote upon and
 23    researched?
 24            A.       Yeah.    It's kind of developed
 25    over time.      Things never turn out as you've



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  1    done.    The topic at hand at first was more on
  2    renal cancer, and then also it moved on to
  3    involve gastric cancer.          Like -- yeah.
  4            Q.       With regard to the renal
  5    cancer, was that related to neuroendocrine
  6    tumors as well or is that -- was that
  7    something different?
  8            A.       No, it was related to that,
  9    that topic matter as well.
 10            Q.       With regard to your
 11    relationship with Dr. Waldum, at least here
 12    in the United States sometimes Ph.D.s and
 13    supervisors have relationships outside of the
 14    office with their families.
 15                     Do you have a social
 16    relationship with him?
 17            A.       No.
 18            Q.       Do you, for example, know his
 19    wife?
 20            A.       I know her name is Velma
 21    {phonetic}, and I've said hello to her a
 22    couple of times.
 23                     (Mjønes Exhibit 15 marked for
 24            identification.)
 25




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  1    QUESTIONS BY MS. ALTHOFF:
  2            Q.       Okay.    All right.      Let's pull
  3    up Exhibit 15, please.
  4                     And, Dr. Mjønes, I'm showing
  5    you what's been marked as Exhibit 15 to your
  6    deposition.
  7                     Is this the invoice that you
  8    prepared for your work in this matter?
  9            A.       Yes.
 10            Q.       And does this indicate that you
 11    have worked approximately 25 hours at $400 US
 12    on this matter?
 13            A.       Yes.
 14            Q.       And I think as you described to
 15    us earlier this afternoon your time, you've
 16    worked a few hours over the weekend since
 17    then and then obviously today, and you plan
 18    to charge for those additional hours,
 19    correct?
 20            A.       Yes.
 21            Q.       And are you charging for those
 22    new hours, if you will, at the same rate of
 23    $400 US?
 24            A.       I assume so.
 25            Q.       Okay.    In other words, you



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  1    don't have a different arrangement with
  2    regard to how you will be paid for the time
  3    since this invoice was created?
  4            A.       No.
  5            Q.       And do you plan to charge $400
  6    an hour for your time today?
  7            A.       Yes.
  8                     (Mjønes Exhibit 13 marked for
  9            identification.)
 10    QUESTIONS BY MS. ALTHOFF:
 11            Q.       All right.      Let's take a look
 12    at Exhibit 13.       Might blow that up just a
 13    little bit, Jeff.
 14                     Scroll down.
 15                     Dr. Mjønes, I'm handing you --
 16    or showing you what's been marked as
 17    Exhibit 13 to your deposition.            And this is
 18    an e-mail that we received last night as
 19    being produced pursuant to that request for
 20    production that we looked at first thing
 21    today.    And this appears to be an e-mail from
 22    Dr. Waldum to you dated August 18th of 2021.
 23                     Do you see that?
 24            A.       Yes.
 25            Q.       And after a link to what



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  1    appears to be some sort of article -- well, I
  2    guess that's it.        It appears to be an
  3    article.
  4                     Do you recall having received
  5    this e-mail?
  6            A.       I can't remember.        He would --
  7    on the -- he would quite often send similar
  8    things, and I don't -- I don't remember that
  9    article because I don't always look them up.
 10            Q.       Okay.    This article appears to
 11    have a title something like, First in Class
 12    Oral MK 6482 Shows Exciting Results in Clear
 13    Cell Renal Cell Carcinoma.
 14                     Do you see that?
 15            A.       I see that.
 16            Q.       Would this article have had
 17    anything to do with the work that you did in
 18    this litigation?
 19            A.       No.
 20                     (Mjønes Exhibit 14 marked for
 21            identification.)
 22    QUESTIONS BY MS. ALTHOFF:
 23            Q.       All right.      Let's look at
 24    Exhibit 14.
 25                     All right.      Showing you what's



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  1    been marked as Exhibit 14, Dr. Mjønes.               And
  2    again, this is an e-mail that we received
  3    last night --
  4            A.       Yeah.
  5            Q.       -- linked to your production.
  6                     It appears to be an e-mail, at
  7    least at the top, that is dated November 15th
  8    of 2021, and the e-mail below it is
  9    November 14th of 2021.
 10                     Do you see that?
 11            A.       Yes.
 12            Q.       And the bottom e-mail is in
 13    English; the top e-mail appears to be in
 14    Norwegian.
 15                     Can you tell us what that top
 16    e-mail says in substance?
 17            A.       Yes.
 18                     It basically -- it's Waldum
 19    writing to me to tell me -- to show me how to
 20    send the invoice for the work I did.              And it
 21    is also telling me that they're offering me
 22    $400 per hour.       And he set up, you know,
 23    that -- you know -- that 25 hours would be
 24    okay, and he encourages me to send the
 25    invoice as soon as possible.



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  1                     And then he asked -- the last
  2    part, I can't -- he's referring to some kind
  3    of meeting, which I can't remember, but --
  4    {audio interruption}.
  5                     VIDEOGRAPHER:       I think she may
  6            be frozen again, Counsel.
  7                     MS. ALTHOFF:      Okay.     I was
  8            hoping it wasn't on my end.           Thank
  9            you, Jeff.
 10                     MR. GALLANT:      There we go.
 11            You're back.      I'm not sure where --
 12            where -- if we cut off at some point.
 13    QUESTIONS BY MS. ALTHOFF:
 14            Q.       So on the realtime it says --
 15    she was referring to a meeting and she says,
 16    but I can't remember --
 17            A.       Okay, I'll do it from the
 18    beginning.
 19                     Basically, in that e-mail
 20    Waldum has forwarded on, he's basically
 21    telling me how to send a bill and that I
 22    should be charging $400 per hour.             And that
 23    25 hours is kind of what I worked out would
 24    be -- what I would be charging for.
 25                     And he encourages me to send



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  1    the bill as soon as possible.            And then he's
  2    talking about some kind of -- we get back to
  3    our meeting, let me know more about the
  4    current -- you know, the COVID situation type
  5    thing.    That's what he's referring to.
  6    Because I probably was home around that time
  7    because my -- in quarantine because my
  8    youngest son had COVID.          But he doesn't
  9    specifically say COVID, but that's what it's
 10    relating to.
 11            Q.       With regard to the $400 per
 12    hour, did you decide to charge the $400 an
 13    hour, or how did that hourly rate -- how was
 14    that determined?
 15            A.       It was suggested by -- like I
 16    got it suggested by -- by Waldum, and I think
 17    he had communicated that with John Restaino.
 18            Q.       And you were comfortable with
 19    that rate?
 20            A.       Yes.
 21            Q.       Had you done any type of
 22    private consulting, if you will, before this
 23    where you charged an hourly rate for a review
 24    of pathology slides?
 25            A.       No.



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  1                     (Mjønes Exhibit 17 marked for
  2            identification.)
  3    QUESTIONS BY MS. ALTHOFF:
  4            Q.       Okay.    Let's look at -- let's
  5    look at exhibit -- let's look at Exhibit 17.
  6                     Can you see that?        We might
  7    blow that up just a little bit.
  8            A.       Yeah.
  9            Q.       And this -- do you see that?
 10    Yeah?
 11            A.       Yes.
 12            Q.       Okay.    This appears to be an
 13    e-mail from -- exchange between you and
 14    Dr. Waldum on January 31st of 2022.
 15                     Do you see that?
 16            A.       Yes.
 17            Q.       And can you tell us what this
 18    exchange is about, starting from the bottom?
 19            A.       Yes.
 20                     He says basically, Patricia,
 21    you have to write -- record the number of
 22    hours you do for -- with regard to any extra
 23    hours you put in in relation to preparation
 24    for this deposition.
 25                     And then I write that that's



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  1    fine.    And I said, I don't know how much time
  2    I'll be able to spend preparing for this
  3    because it's the most busy time of year for
  4    me with regards to teaching, meeting
  5    activities and all kinds of things.
  6                     And I also ask him when -- if
  7    John has given Waldum any indication on when
  8    they are considering coming to Trondheim, and
  9    I also encouraged it to happen as soon as
 10    possible so that I'm able to have some time
 11    to review the report.
 12            Q.       And what does that last
 13    sentence in that first e-mail say?
 14            A.       Could you show me exactly which
 15    sentence you mean?
 16            Q.       Yes, sure.      The one starting
 17    with -- it's the third to last line on the
 18    top e-mail, starts with the letter JO.
 19            A.       What I'm saying is if you
 20    start -- if I can translate from the third
 21    from the bottom.
 22            Q.       Sure.
 23            A.       So I say -- I'm saying
 24    basically, has John given you any time for
 25    when they are planning to take the trip to



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  1    Trondheim.      And then I say, later is better
  2    for my part.      So I was basically saying that
  3    for me, it's better to have the deposition as
  4    late as possible.
  5                     And I planned not to answer
  6    anything -- yeah, I said I have no intention
  7    on answering anything apart from what has to
  8    do with the report.         Like I'm preparing only
  9    for the report itself.
 10            Q.       And with regard to that last
 11    part you were just describing, were you
 12    referring to the meeting or the deposition or
 13    what?
 14            A.       No, I'm referring to --
 15    basically I haven't had time to review my
 16    publications and my Ph.D.s, so that's what
 17    I'm referring to.
 18                     So what I'm telling -- what I'm
 19    telling him in the e-mail is that I'm
 20    planning to answer what has to do with the
 21    report, with the pathology report, but, you
 22    know, saying that I don't have time to
 23    prepare for anything else.
 24            Q.       Gotcha.
 25                     Okay.    And with regard to the



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  1    trip to Trondheim, were you referring to the
  2    deposition that was ultimately scheduled for
  3    today?
  4            A.       Yes.
  5            Q.       And obviously the meeting --
  6    meetings just prior to this, correct?
  7            A.       Yes.
  8                     (Mjønes Exhibit 18 marked for
  9            identification.)
 10    QUESTIONS BY MS. ALTHOFF:
 11            Q.       Let's look at Exhibit 18.
 12                     And, Dr. Mjønes, I'm showing
 13    you what's been marked as Exhibit 18 to your
 14    deposition, which is a two-page e-mail string
 15    dated in February of 2022.
 16                     Do you see that?
 17            A.       Yes.
 18            Q.       And if you could just look
 19    through this and tell me what this chain is
 20    referring to?
 21            A.       This is referring to the chain
 22    of custody thing, the form, the chain of
 23    custody form.       I'm sorry.     If I just -- it
 24    says basically to sign that I received --
 25    when I received the tissue blocks and



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  1    sections.
  2                     So it is basically I have to --
  3    I have to sign the chain of custody.              I
  4    didn't realize I had to do that, so -- so
  5    it's referring to me signing and returning it
  6    to him so that he could pass it down to John
  7    and Michael.
  8            Q.       So this is dated 2022.
  9            A.       Yes.
 10            Q.       Is this the second time you
 11    received the slides?
 12            A.       The second time I received the
 13    slides was this weekend.
 14            Q.       Okay.    So what is this, in
 15    terms of the chain of custody, what is this
 16    referring to from a time perspective?
 17            A.       So this is basically when I
 18    received the slides the first time, signing
 19    for the dates I received them and then
 20    signing for the date that Dr. Waldum got the
 21    slides back.      And then he had to sign
 22    something for when he returned the slides to
 23    the appropriate people.
 24            Q.       Am I correct, though, that you
 25    got the slides in 2021?          Correct?



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  1            A.       Yes, that's right.
  2            Q.       And these e-mails are dated
  3    2022?
  4            A.       Yes.
  5            Q.       Yes?
  6            A.       Uh-huh.
  7            Q.       So why is there a year
  8    difference, if you know?
  9            A.       Yeah, sorry.      I didn't realize
 10    I have to sign a form.          That's basically it.
 11            Q.       I see.
 12                     So these are referring back to
 13    the chain of custody from a year previously?
 14            A.       Yes.
 15            Q.       Okay.    And I assume you signed
 16    that and filled it out and sent it back?
 17            A.       Yes.
 18            Q.       Yes?
 19            A.       Sorry?
 20            Q.       So you did ultimately fill out
 21    the chain of custody form and send it back?
 22            A.       Yeah, I filled it out, scanned
 23    the document and send it back to Waldum by
 24    e-mail.      I think that's how I did it.
 25            Q.       And when you received the



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  1    slides back in 2021, how did you receive
  2    those?
  3            A.       I have to think back.         I
  4    received them -- Waldum showed up at the
  5    department of pathology.          I picked them up
  6    and brought them up to my office.             So he
  7    delivered them -- hand-delivered them --
  8    delivered the slides themselves.
  9            Q.       And were they in boxes, or how
 10    did you receive them?
 11            A.       They're in a brown envelope
 12    with notes -- with a note to the pathology
 13    report from Louisiana.          And they were in the
 14    big box with bubble wrap around them, as far
 15    as I remember.
 16            Q.       Okay.    What was the condition
 17    of the slides?
 18            A.       The slides were in normal
 19    condition, as far as I remember.
 20            Q.       And were you able to read and
 21    review them?
 22            A.       Yes.
 23            Q.       And then with regard to the
 24    tissue blocks that you mentioned earlier,
 25    those came later, correct?



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  1            A.       That's right.
  2            Q.       And how did you receive the
  3    tissue blocks?
  4            A.       I think in the same manner.           I
  5    think as far as I remember, Waldum
  6    hand-delivered them to me.           And then when I
  7    was done with all the -- all the material, I
  8    hand-delivered it back to Waldum at his
  9    house.
 10            Q.       And with regard to the tissue
 11    blocks, what condition were they in when you
 12    received them?
 13            A.       In normal condition, as far as
 14    I remember.
 15            Q.       And with regard to the cuts
 16    that were made so you could make slides, was
 17    that your department that made the cuts?
 18            A.       Yes.
 19            Q.       And who prepared the slides?
 20            A.       That would have been by
 21    engineers at my department.
 22            Q.       And based on the cuts and the
 23    slides that were prepared, you were able to
 24    read the new slides?
 25            A.       Yes.



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  1            Q.       And you kept those slides,
  2    correct?
  3            A.       Yes.
  4            Q.       And when you were finished with
  5    your initial review, you returned the slides
  6    to Dr. Waldum, including the new slides that
  7    you had prepared?
  8            A.       No.    The new slides I had
  9    prepared were sent to Cora, I think, later
 10    on.
 11            Q.       That's right.       Because of the
 12    time difference.        Thank you.
 13                     I think you mentioned at the
 14    very beginning of this deposition that you
 15    received the slides back again, yes?
 16            A.       Yeah, the slides this time
 17    around, I got -- I got all the slides a
 18    second time around this Friday, Friday the
 19    19th.    No, Friday the 18th, sorry.
 20            Q.       And you reviewed -- re-reviewed
 21    all of the slides over the weekend?
 22            A.       Yeah, and some additional
 23    slides that I didn't get originally.
 24            Q.       What additional slides did you
 25    get that you had not reviewed previously?



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  1            A.       So I'm just looking at my
  2    report.      So I think you got a copy of the
  3    report.      So the additional slides that I
  4    hadn't gotten originally were different
  5    levels.      I had already seen slides from those
  6    tissue blocks, but there were also new levels
  7    from those tissue blocks that I hadn't seen.
  8                     So in the -- in the surgery --
  9    you know, from the big specimen marked O9222
 10    from the -- you know, from the big specimen
 11    itself, all the sections marked in red, those
 12    I hadn't seen before.
 13                     So they're basically different
 14    levels, but I have seen material from those
 15    tissue blocks, but I hadn't seen those levels
 16    before.
 17            Q.       What do you mean, "marked in
 18    red"?
 19            A.       You see the point where -- if
 20    I -- would I be able to show it to you like
 21    this?
 22                     MR. GALLANT:      So --
 23                     MS. ALTHOFF:      Sure.
 24                     MR. GALLANT:      We provided a
 25            copy of these notes in the production.



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  1            I can't remember what the file name
  2            was called, but it was in PDF format.
  3                     MS. ALTHOFF:      We have not seen
  4            that, Mike.
  5                     THE WITNESS:      It's basically my
  6            pathology report where I have written
  7            notes on the side when I was
  8            re-reviewing the case.
  9                     MR. GALLANT:      Yeah, it's an
 10            annotated report.        Maybe in a break we
 11            can figure out which one it is, but I
 12            know it was --
 13                     MS. ALTHOFF:      Yeah.
 14                     MR. GALLANT:      Whatever the
 15            Dropbox that was sent last night.
 16                     MS. ALTHOFF:      Yeah, we should
 17            definitely do that, because when she
 18            mentioned it earlier, Mike, I actually
 19            double-checked with Katherine
 20            Podsiadlo to see if -- because I had
 21            not seen it, and I thought maybe it
 22            was me.     And we don't have it, so...
 23                     Okay.    Thank you.      Appreciate
 24            that, Dr. Mjønes.
 25




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  1    QUESTIONS BY MS. ALTHOFF:
  2            Q.       Do you have any other notes or
  3    documents in front of you?
  4            A.       Yes, I have -- I have my notes
  5    that we just talked about, and I have the
  6    Louisiana -- Louisiana notes, and I have
  7    Voltaggio's report.
  8            Q.       And do you have a copy of your
  9    final report in front of you as well?
 10            A.       Yeah, my final report is -- is
 11    this one.     When I stored it in my computer, I
 12    don't store it with the name and date of
 13    birth, so I don't have the identifying
 14    information on that report.
 15            Q.       Gotcha.
 16                     MR. GALLANT:      And, Katherine,
 17            we've been going for about an hour and
 18            20 or so.     I don't know if we want to
 19            take a break and resolve this notes
 20            issue or if you want to -- you know,
 21            if there's a natural breaking point
 22            that would work for you.
 23                     MS. ALTHOFF:      This is fine, and
 24            I'll resolve the light that's blinding
 25            me while we're -- while we're at that.



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  1                     So maybe it's just me, but it
  2            is blinding me.       So that sounds good.
  3                     Let's go off the record.          Let's
  4            take maybe 20 minutes and get this
  5            notes issue resolved, and everybody
  6            can take a break.
  7                     MR. GALLANT:      Okay.     And I'll
  8            take a look at -- we can go off the
  9            record.     This doesn't need to be on
 10            the record.
 11                     VIDEOGRAPHER:       Off record,
 12            8:36 a.m.
 13             (Off the record at 8:36 a.m.)
 14                     VIDEOGRAPHER:       On record,
 15            9:24 a.m.
 16    QUESTIONS BY MS. ALTHOFF:
 17            Q.       Oh, there we are.
 18                     Dr. Mjønes, we're back on the
 19    record after having some discussions off the
 20    record.      Thank you for your patience.
 21    Appreciate that.
 22                     I wanted to ask you a few
 23    questions.      We have now received from counsel
 24    an annotated copy of your report which, as I
 25    understand it, you maintained in your



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  1    possession; is that correct?
  2            A.       Yes.
  3            Q.       And this annotated report
  4    contains both handwritten as well as
  5    electronic notes; is that right?
  6            A.       That's right.
  7            Q.       And when did you create the
  8    annotations, the electronic annotations, on
  9    the report?
 10            A.       When I was reviewing the slides
 11    on Saturday, I was making comments for myself
 12    when I was looking at them so that I'd know
 13    exactly which slide I was looking at, because
 14    I hadn't been specific in the report, so that
 15    I'd remember which slides that you would be
 16    referring to when I looked at them.
 17                     And as well, I had also kind of
 18    made -- looked at some of the comments that
 19    Voltaggio made and tried to look at the
 20    slides with that in the back of my mind.
 21                     So basically there are notes
 22    for myself so that I'd remember what I've
 23    been seeing.
 24            Q.       So the electronic sticky notes
 25    that were typed onto the report, those were



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  1    all made by you, yes?
  2            A.       Yes.    Yes.
  3            Q.       And they were all made by you
  4    on Saturday when you were reviewing the
  5    report, correct?
  6            A.       That's right.
  7            Q.       And as I understand it -- I
  8    have not seen them, but I understand there
  9    are also some handwritten notes on a copy of
 10    the report?
 11            A.       Yes.
 12            Q.       And when did you make those
 13    notes?
 14            A.       Those notes are probably
 15    written yesterday, I would say, when I was,
 16    you know, just -- when I highlight things, I
 17    read -- I highlight as I go.           It doesn't
 18    necessarily mean it's that particular thing
 19    that I'm trying -- it's kind of just to
 20    highlight a few things I'm trying to
 21    remember.
 22                     And then if it's something
 23    that -- well, I wrote them yesterday probably
 24    when I was reading, just things to remind me
 25    of things.



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  1            Q.       Sure.    I understand.
  2                     And so were all the handwritten
  3    notes made by you, by yourself, yesterday?
  4            A.       Yes.
  5            Q.       Did anybody direct you to make
  6    any notes --
  7            A.       No.
  8            Q.       -- on these reports?
  9            A.       No.
 10            Q.       When you went through the
 11    slides on Saturday --
 12            A.       Uh-huh.
 13            Q.       -- was that the first time you
 14    determined that there were additional slides
 15    that you had not previously reviewed?
 16            A.       Yes.
 17            Q.       And --
 18            A.       Sorry, I didn't mean to --
 19            Q.       No, go ahead and explain.
 20            A.       In Voltaggio's report, it said
 21    that there were 58 slides received first, and
 22    then when -- later on, she had received 83
 23    slides that she reviewed.          And that didn't
 24    fit in with the number of slides I had
 25    reviewed originally.         And then when I looked



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  1    at the slides again on Saturday, I was able
  2    to figure out what the difference was.
  3                     So basically I've seen all the
  4    slides from all the tissue blocks, but there
  5    are some additional levels that I hadn't seen
  6    before, but they didn't make any change to my
  7    observations.
  8            Q.       Okay.    So when you went back
  9    the second time on Saturday -- well, let me
 10    ask this first.
 11                     When you did your initial
 12    review last year of the slides, did you have
 13    those additional levels available to you or
 14    were those available for the first time on
 15    Saturday?
 16            A.       On Saturday.
 17            Q.       And when you went through on
 18    Saturday and reviewed, you were reviewing
 19    that along with having reviewed
 20    Dr. Voltaggio's report, correct?
 21            A.       Yeah, well, I had -- I had seen
 22    her report, and then I reviewed my own just
 23    to see if there were things that I should --
 24    you know, just to see what I had written.
 25    And I see that we are in agreement with, you



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  1    know, most of the report.
  2                     So I was just making notes for
  3    myself with regards to things that I would
  4    react to.
  5            Q.       Did you make any additional
  6    observations when you reviewed the slides the
  7    second time, either because there were
  8    additional slides or because you were
  9    re-reviewing the same ones?
 10            A.       Could you repeat -- repeat the
 11    question, please?
 12            Q.       Sure.
 13                     Did you make any additional
 14    observations when you reviewed the slides the
 15    second time, either because there were
 16    additional slides or because you were
 17    reviewing the same ones for a second time?
 18            A.       I didn't make -- now I just
 19    have to think the question again.
 20                     I didn't make any new
 21    observations based on the additional slides.
 22            Q.       Okay.    Did you make any new
 23    observations having reviewed Dr. Voltaggio's
 24    report?
 25            A.       I had more focus on the gastro



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  1    specific -- the junction between the
  2    gastro -- the esophagus and the stomach.               I
  3    can't say that word.         Sorry.    So I was
  4    just -- you know, notes -- will have noticed
  5    that before, too, but I was just kind of
  6    reiterating that area.
  7            Q.       So after having reviewed
  8    Dr. Voltaggio's report and re-reviewing the
  9    slides on Saturday, you did more focused
 10    evaluation of any pathology in the GE
 11    junction?
 12            A.       Well, the patient had
 13    gastroesophageal reflux disease, so I was
 14    looking close -- close on the junctions just
 15    to see if there were any signs that would fit
 16    in with the Barrett's, which I would have
 17    looked at originally, but I didn't handle --
 18    I hadn't made any comment on the -- in the
 19    report, you know.        You know, just looking at
 20    them to see if -- I'm finding it hard to
 21    explain myself.       Sorry.
 22            Q.       Take your time.
 23            A.       I haven't made any new
 24    observations.       I've kind of been looking at
 25    the report to see if I see the same as



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  1    Voltaggio.
  2            Q.       Uh-huh.
  3            A.       Yeah.
  4            Q.       What was your conclusion with
  5    regard to you -- whether you saw the same
  6    items as Dr. Voltaggio?
  7            A.       I mean, we are in agreement
  8    with -- in terms of -- that it's a gastric
  9    cancer.      But what information I didn't have
 10    before that came through Voltaggio's report
 11    was the location of the biopsies marked --
 12    {audio interruption}
 13                     MS. ALTHOFF:      I have lost her.
 14            Or is it me?
 15                     VIDEOGRAPHER:       No, it's them.
 16            I think we lost both -- the other
 17            computer as well.
 18                     Want to go off or just stay on
 19            for a bit?
 20                     MS. ALTHOFF:      Let's just stay
 21            on for a second.
 22                     MR. GALLANT:      There we go.       I
 23            think we're back.
 24                     THE WITNESS:      Sorry.
 25




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  1    QUESTIONS BY MS. ALTHOFF:
  2            Q.       So, Doctor, I asked you, what
  3    was your conclusion with regard to whether
  4    you saw the same items as Dr. Voltaggio, and
  5    you --
  6                     MR. GALLANT:       Sorry, can I -- I
  7            got kicked off the system for a
  8            minute, so I just want to log back in.
  9            Bear with me one minute.
 10                     We're all sitting in the same
 11            room, but we're not all connected.
 12            Very strange.       Okay.    I'm back.
 13    QUESTIONS BY MS. ALTHOFF:
 14            Q.       Okay.    Dr. Mjønes, so I was
 15    asking you whether your observations had been
 16    different than what Dr. Voltaggio concluded
 17    in her report when you read it, and you
 18    responded and said, we're in agreement
 19    with -- in terms it's gastric cancer,
 20    correct?
 21            A.       Yeah.
 22            Q.       And then you said, "But what
 23    information I didn't have before that came
 24    from Voltaggio's report was the location
 25    of..."



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  1            A.       Yes.    You know, the polyps
  2    removed in September marked with the biopsy
  3    number 18840, they were taken from what was
  4    described as 3 centimeters from the
  5    gastroesophageal junction.           That's
  6    information I didn't know at the time when I
  7    looked at the section.
  8            Q.       Okay.    When you looked at the
  9    slides initially, were you able to identify
 10    which slide had the polypectomy site?
 11            A.       Well, I -- I suspected that the
 12    polypectomy site could be -- you know, when
 13    you take a biopsy from -- from a patient, you
 14    get regenerative changes in the -- in the
 15    mucosa of that area, and you can see in the
 16    area like that in relation to the polyp --
 17    the polyp itself with the cancer and the
 18    operation specimen.
 19            Q.       Uh-huh.     And -- sorry, go
 20    ahead.
 21            A.       And in the -- you know, and in
 22    the operation where it was described that
 23    they had removed what they thought was the
 24    polypectomy site turned out not to be a
 25    polypectomy site.        And that's --



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  1            Q.       So when you reviewed the slides
  2    the first time, were you able to identify
  3    correctly which slide had the polypectomy
  4    site on it -- and again, I'm talking about
  5    the surgical resection -- regardless of what
  6    was listed on a slide?
  7            A.       I believe that they have -- I
  8    mean, we have the polypectomy type -- type of
  9    area on the tumor tissue, but you can't
 10    see -- and it was an area in one of the
 11    sections where you have an indentation of the
 12    mucosa with some inflammation that I was
 13    wondering could be a polypectomy site.               But I
 14    didn't have any information to say whether it
 15    was that or something else.           Could be --
 16            Q.       Okay.    So when you went back
 17    then on Saturday, were you able to identify,
 18    based on clinical information, based on
 19    Dr. Voltaggio's report, any new information
 20    which slide had the polypectomy site?
 21            A.       You had -- for one thing, there
 22    are described three polyps, right?             One of
 23    them was sent for examination.            I don't know
 24    what happened to the other two, if they were
 25    sent for examination, if they were removed or



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  1    anything.     That, I don't know.         And that I
  2    didn't know -- I don't know it now, and I
  3    didn't know a year ago.
  4                     What I did see is that there
  5    are changes in the mucosa in the area where
  6    the tumor was taken, but I also had seen a
  7    year ago that they're still present.              That
  8    could relate -- it could be explained by a
  9    polypectomy site.
 10            Q.       And I guess what I'm asking
 11    you, Dr. Mjønes, is based on having reviewed
 12    Dr. Voltaggio's report, did your mental
 13    impressions change with regard to which slide
 14    had that polypectomy site on it from the
 15    surgical resection?
 16            A.       No, because it wasn't in the --
 17    in the -- in the gross description from --
 18    from the -- you know, from this.
 19            Q.       Yes.
 20            A.       The person who examined the
 21    gross specimen described that it may be a
 22    polypectomy site 1.2 centimeters distal to
 23    the squamocolumnar junction.
 24                     The section showing the
 25    polypectomy site was never -- never had any



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  1    cancer on it, so I never thought that was a
  2    polypectomy site.
  3            Q.       Okay.    When you reviewed the
  4    slides the first time, which slide did you
  5    identify from the surgical resection as being
  6    the polypectomy site?
  7            A.       I have to look at the slide
  8    numbers, okay?
  9            Q.       Sure.
 10            A.       So basically slide G, the
 11    person who evaluated the specimen first said
 12    apparent polypectomy site next to the
 13    gastroesophageal junction.           And at the time,
 14    I didn't see anything that would fit with the
 15    polypectomy site.        Okay?
 16                     And then in the -- which slide
 17    was the tumor again?         I just have to look at
 18    my notes.     And that's why I've written the
 19    notes, so that I'd remember where I saw the
 20    different things.        That's why I have the
 21    annotations.
 22                     So slide M is where you have
 23    the tumor itself, and that's where you also
 24    see changes in the mucosa.           That could be
 25    related to a previous polypectomy.



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  1                     Okay?
  2                     And in slide L, you have an
  3    area where you have some inflammation that I
  4    saw in the original slide, but I didn't think
  5    anything of that.        And I still don't know if
  6    it's a polypectomy site or not because I
  7    don't have the information to go with it.
  8                     So I don't know if -- I don't
  9    know if they were sent -- if three polyps
 10    were removed at the time in September.               I
 11    think there was only removed one.
 12                     So it's hard to know if it's
 13    from a polypectomy or another cause of
 14    inflammation.
 15            Q.       With regard to your note
 16    number 11 --
 17            A.       Yeah.
 18            Q.       -- which I believe, if I
 19    understand this correctly, relates to slide N
 20    from the resection; is that correct?
 21            A.       I just have to see.         It's on
 22    the back of the page, sorry.
 23                     So comment number 11, you say?
 24            Q.       Yes.
 25            A.       Okay.    So that site L, lesser



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  1    curvature to include polyps, is that the one
  2    you're referring to?
  3            Q.       Yes.
  4                     My question is, does comment
  5    number 11 relates to slide N?
  6            A.       Well, it's kind of -- it's --
  7    well, in that slide I see an area of
  8    inflammation where I'm wondering, could it be
  9    a polypectomy site or could it be
 10    inflammation.
 11                     I don't know because I don't
 12    have the information to go with it.
 13            Q.       Okay.    Let me ask you this
 14    again.
 15            A.       Yes, sorry.
 16            Q.       Where do you believe -- where
 17    did you believe when you first reviewed the
 18    slides from the surgical resection that the
 19    polypectomy had occurred?          Which slide?
 20            A.       I believe it occurred from
 21    slide 9 -- no, slide N, where he find the
 22    tumor.
 23            Q.       Yes.
 24                     Okay.    And what I'm asking you
 25    is, is comment 11, because it's -- I'm not



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  1    really sure how this works.           Does comment 11
  2    refer to your re-review of slide N?
  3            A.       I'm not sure I understand what
  4    you mean.
  5            Q.       Okay.    When I look at what was
  6    sent to me as your annotated report, there
  7    are sticky notes --
  8            A.       Yeah.
  9            Q.       -- placed on the document,
 10    right?
 11            A.       Yes.    Yes.
 12            Q.       And the sticky note which is
 13    comment 11 on my version appears to be on
 14    slide N.
 15            A.       Yes.
 16            Q.       Okay.    And so what I'm asking
 17    you --
 18                     MR. GALLANT:      Can we just
 19            clarify?     We seem to be talking
 20            about -- I know they're the same
 21            documents, but they were produced in
 22            two different ways, and I don't -- I
 23            just want to make sure that
 24            Dr. Mjønes' comments are numbered in a
 25            way that she can answer your question.



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  1            Because she doesn't -- not looking at
  2            the one with the sticky notes on it.
  3                     If you're looking at the PDF
  4            where you click on the yellow dot and
  5            it pops up a comment, that's not what
  6            she's -- she's not looking at the
  7            electronic version.        She's looking at
  8            her printed version that we scanned.
  9                     And I know it's confusing, but
 10            I want to make sure we're all looking
 11            at the same thing.
 12    QUESTIONS BY MS. ALTHOFF:
 13            Q.       Okay.    So let me ask this.
 14    Because that I don't think I have printed
 15    out.
 16                     Are your comments numbered on
 17    the version you're looking at?
 18            A.       Yes.    It says MP 11 and MP 12.
 19            Q.       Okay.    So can you read me what
 20    comment 11 says, or even whether it's in
 21    Norwegian or English, just so I can make sure
 22    we're talking about the same one?
 23            A.       The comment 11 says L, less
 24    curvature to include polyps.
 25            Q.       Excellent.      Okay.    We are not



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  1    talking about the same comment.            That's
  2    helpful.     Appreciate that.
  3                     See, so here is -- let's go
  4    back off the record.
  5            A.       Yeah.
  6                     VIDEOGRAPHER:       Off record,
  7            9:42 a.m.
  8             (Off the record at 9:42 a.m.)
  9                     VIDEOGRAPHER:       On record,
 10            10:17 a.m.
 11                     (Mjønes Exhibit 16 marked for
 12            identification.)
 13    QUESTIONS BY MS. ALTHOFF:
 14            Q.       All right.      Let's go back,
 15    Doctor, set aside the annotated report for a
 16    moment and go back to -- we were reviewing
 17    some e-mails when all of this sort of -- we
 18    started talking about the annotated report.
 19                     So let's do this.        Let's look
 20    at Exhibit 16.
 21                     And, Doctor, showing you what's
 22    been marked as Exhibit 16 to your deposition,
 23    and this appears to be an e-mail from you to
 24    Dr. Waldum on March 16th of 2022.
 25                     Do you see that?



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  1            A.       Yes.
  2            Q.       And can you tell us what you
  3    were conveying to Dr. Waldum in this e-mail?
  4            A.       Basically I conveyed to him
  5    that I feel very stressed about having to do
  6    this deposition because I've never done it
  7    before, and that I'm picking up the sections
  8    on -- from Michael on Saturday, and I'd be
  9    looking over the sections one more time
 10    before Monday, and I'd be looking at what
 11    Voltaggio has written on Sunday.
 12                     And he -- you know, looking at
 13    my slides and -- on her comments.             Because
 14    there are a few points where she has
 15    commented on things that I -- you know, like
 16    the staining and things like that.             So I've
 17    been going through some of the comments where
 18    she wouldn't completely -- completely agree
 19    with what I said, just to -- so that I
 20    remember what I've seen.
 21            Q.       Okay.    And so which day of the
 22    week was this?
 23            A.       This was Wednesday, 16th of
 24    March, when that e-mail was sent, as it says
 25    on top.



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  1            Q.       Yeah.
  2                     So as of Wednesday, you had not
  3    reviewed the slides yet, of course, if you
  4    reviewed them on Saturday.
  5                     Had you reviewed
  6    Dr. Voltaggio's report?
  7            A.       If I -- if I had reviewed the
  8    report before Saturday?          Is that what you're
  9    asking?
 10            Q.       Yes.
 11            A.       Yes, I'd seen her -- her report
 12    before then.
 13            Q.       Had you seen her report before
 14    you wrote this e-mail?
 15            A.       That, I can't remember.          I -- I
 16    got that it's -- I got an e-mail from John
 17    with Voltaggio's report, and I can't remember
 18    the exact date when I got that e-mail.
 19            Q.       Okay.
 20            A.       Since I note her name in that
 21    e-mail, I must have gotten it beforehand.
 22                     (Mjønes Exhibit 19 marked for
 23            identification.)
 24    QUESTIONS BY MS. ALTHOFF:
 25            Q.       All right.      Let's look at



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   1   Exhibit 19.
   2           A.       Mm-hmm.
   3           Q.       Dr. Voltaggio -- Voltaggio.
   4                    Dr. Mjønes, I'm handing you
   5   what's been marked as Exhibit 19 to your
   6   deposition, and this appears to be an e-mail
   7   chain between you and Dr. Waldum dated
   8   March 17th of 2022, and March 18th of 2022.
   9                    Do you see that?
  10           A.       Yes.
  11                    The bottom one, you mean?
  12           Q.       Well, this whole exhibit, which
  13   has been marked as Exhibit 19, is a chain of
  14   e-mails between you and Dr. Waldum on
  15   March 17th and March 18th of 2022, correct?
  16           A.       Yeah.
  17           Q.       So really just a few days
  18   before your deposition now, correct?
  19           A.       Yeah.
  20           Q.       All right.     So starting at the
  21   bottom, which is the e-mail dated March 17th
  22   of 2022, from Dr. Waldum to you at the time
  23   of 16:14 on that date, what is Dr. Waldum
  24   asking you?
  25           A.       He's asking me what's the



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   1   diagnosis on the polyps in the hernia and
   2   were they hyperplastic or adenomas.             That's
   3   what he's asking.
   4           Q.       Okay.    And then you reply back
   5   to him; is that right?
   6           A.       Yes.    And I reply, I say that
   7   most of the polyps, the patient's polyps,
   8   were fundic gland polyps and some are
   9   hyperplastic polyps.
  10                    And the patient's cancer was an
  11   adenoma with type A dysplasia or intramucosal
  12   adenocarcinoma.       So -- and basically -- and
  13   I'm saying it was located 1.2 centimeters
  14   from the junction, which I -- because I got
  15   that from what I'd read in the original
  16   report.
  17                    And then I -- and I can't -- I
  18   say I can't remember if it was -- what does
  19   it say?      And I can't remember seeing any
  20   other adenomas.       But I'd be getting the
  21   sections on Saturday, and I'd be looking over
  22   all the sections one more time.
  23                    And when I read the report of
  24   Lysandra, she has had access to clinical
  25   information and -- and from -- from reading



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   1   her report, it could look like most of the
   2   polyps in the hernia were from fundic gland
   3   polyps, that I'd be checking that closer on
   4   Saturday.
   5           Q.       Okay.
   6           A.       Yeah.
   7           Q.       So with regard to your comments
   8   again back to Dr. Waldum, he asked you what
   9   was the diagnosis of the polyps in the
  10   hernia, and your recollection was that they
  11   were fundic gland polyps based on
  12   Dr. Voltaggio's report?
  13           A.       Well, that was based on both,
  14   like, my report and her report.           Because I
  15   think we both said the same on those.
  16           Q.       And when you rechecked the
  17   slides on Saturday, did you reconfirm that
  18   the polyps in the hernia were fundic gland
  19   polyps?
  20           A.       Yeah, they were -- some were
  21   fundic gland polyps and some were
  22   hyperplastic polyps.
  23           Q.       With the location in the hernia
  24   or what?
  25           A.       Well, they're in the



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   1   posterior -- you know, the posterior wall.
   2   So -- and considering like 50 percent of the
   3   stomach was in the -- in the -- in the
   4   intrathoracic cavity, it means that they must
   5   have been in the hernia, I would say.             But
   6   that's an assumption I'm making.
   7           Q.       Okay.    With regard to the
   8   actual cancer which you list here as an
   9   intramucosal adenocarcinoma, was that located
  10   in the hernia?       Is that your understanding?
  11           A.       Yes.
  12           Q.       And you note that it was
  13   located 1.2 centimeters from the
  14   gastroesophageal junction, that being the --
  15           A.       No, that's a typo.       Because
  16   when I wrote that, I hadn't -- it was -- I
  17   was glancing at this report from the
  18   hospital, and they basically said that the
  19   polypectomy site may be 1.2 centimeters
  20   distant to the junction.
  21                    But when I read over the notes
  22   again and looked at the clinical information
  23   coming with the biopsy marked 08440
  24   something, it says that polyps were located
  25   at 3 centimeters distal to the



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   1   gastroesophageal -- so that's me -- it's a
   2   typo from me.
   3           Q.       Okay.    No, no problem.
   4                    So this was sort of your
   5   recollection during the e-mail, but you went
   6   back afterwards to double-check the location
   7   of the cancer site, correct?
   8           A.       Yeah.
   9           Q.       And you determined that it was
  10   3 centimeters from the -- distal to the
  11   gastroesophageal junction?
  12           A.       Yeah, and that's based on
  13   the -- on the information from Voltaggio's
  14   report saying that they were 3 -- and from
  15   the -- you know, basically they said that the
  16   polyps removed in September were located
  17   3 centimeters distal to the gastroesophageal
  18   junction.
  19           Q.       Okay.    Do you have any reason
  20   to disagree with that determination?
  21           A.       To disagree with the -- could
  22   you repeat the question?
  23           Q.       Yeah.
  24                    Do you have any reason to
  25   disagree with the determination that the



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   1   cancer site was 3 centimeters distal to the
   2   GE junction?
   3           A.       No, I have no reason to
   4   disagree with that.
   5           Q.       With the 3 centimeters distal
   6   to the GE junction, would that locate
   7   Mr. Baudin's tumor within the cardia?
   8           A.       I would think it's not in the
   9   cardia but in the oxyntic mucosa.
  10           Q.       What do you define with regard
  11   to the cardia in terms distance from the GE
  12   junction?
  13           A.       Well, in most cases and till
  14   recently, the cardia was -- basically in some
  15   textbooks they say that the cardia is
  16   located -- it's the 2-centimeter most
  17   proximal area in the stomach.           But in most
  18   patients it's between 1 and 4 millimeters.
  19                    By looking at the patient
  20   slides, on -- on some of the pictures you can
  21   see the cardiac mucosa, and you can see that
  22   the length of that mucosa is 0.6 millimeters
  23   and on some other areas it's 1 millimeter.
  24                    So it's -- that's -- and the
  25   fact that it's 3 centimeters distal and you



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   1   have oxyntic mucosa on either side of that
   2   lesion tells me that it's not in the cardia
   3   but in -- it's in the oxyntic mucosa.             That's
   4   what I'm basing it on.
   5           Q.       And so with regard to the
   6   oxyntic mucosa, are you saying that this is
   7   body or fundus, or where are you saying it's
   8   located?
   9           A.       It's either in the -- you know,
  10   it's -- it's in the posterior wall.             So it
  11   could be in the fundus, but it could also be
  12   in the bodies.       I know, and hard to say for
  13   sure.
  14           Q.       Do you -- have you completely
  15   excluded the possibility that this cancer
  16   arose in the cardia?
  17           A.       Well, based on what I see, it
  18   doesn't make any sense for me that it's in
  19   the cardia because you don't see much cardiac
  20   mucosa around it.       You don't see any cardiac
  21   mucosa around it.       The mucous glands
  22   Voltaggio is referring to could be -- could
  23   be from the foveolas of the mucosa, and there
  24   could be regenerative changes related to a
  25   previous bio -- you know, by taking a biopsy



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   1   from the site from before.
   2           Q.       Okay.    When you reviewed the
   3   slides the first time, were you aware that
   4   this patient had been diagnosed
   5   endoscopically with Barrett's?
   6           A.       No.
   7           Q.       When you reviewed the slides on
   8   Saturday, were you aware that this patient
   9   had been diagnosed endoscopically with
  10   Barrett's?
  11           A.       It would be -- I read from
  12   Voltaggio's report that they were -- that he
  13   was diagnosed with Barrett's.
  14           Q.       Do you have any reason to
  15   disagree that this patient had been diagnosed
  16   endoscopically with Barrett's?
  17           A.       Well, I don't see any proof of
  18   Barrett's in the sections, so in any of the
  19   slides I've seen.
  20                    To diagnose a patient with
  21   Barrett's, you'd have to see goblet cells in
  22   the esophagus, and I've seen no signs of
  23   goblet cells in the patient's esophagus.
  24           Q.       Okay.    If this patient did have
  25   Barrett's esophagus, would that explain the



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   1   presence of the oxyntic mucosa in the area
   2   that you reviewed on the tumor slide?
   3           A.       No.
   4           Q.       Are you familiar with the term
   5   "cardia oxyntic mucosa"?
   6           A.       Yes.
   7           Q.       And with regard to the tumor
   8   site that you looked at on the resection, are
   9   you -- is it your impression that there was
  10   no cardia oxyntic mucosa?
  11           A.       My impression is there is no
  12   cardia oxyntic mucosa.         The mucosa that
  13   Voltaggio is referring to as cardia oxyntic
  14   mucosa, in my opinion, is regenerative mucosa
  15   related to previous biopsy from that site.
  16                    You have oxyntic mucosa on
  17   either side of the lesion.          It's easier to
  18   see on the picture, but it's oxyntic mucosa
  19   on either side of the lesion which make --
  20   like pure oxyntic mucosa, it doesn't have
  21   cardia oxyntic mucosa.         That's what I'm
  22   basing it on.
  23           Q.       Okay.    In the biopsy
  24   specimen -- so would you agree that the
  25   biopsy specimens would not have contained any



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   1   regenerative mucosa, regenerative changes to
   2   mucosa?
   3                    MS. ALTHOFF:      Jeff, I think
   4           I've lost her again.
   5                    MR. RESTAINO:      Hey, Katherine,
   6           yeah, you froze here -- you froze for
   7           a moment, and they froze for a moment,
   8           so just give us one moment.
   9                    MS. ALTHOFF:      Sure.
  10                    THE WITNESS:      I'm back on.
  11                    MR. GALLANT:      Give me one
  12           second to get back.        Okay.    I'm back.
  13                    MR. RESTAINO:      Looks like
  14           we're --
  15   QUESTIONS BY MS. ALTHOFF:
  16           Q.       Okay.    Dr. Mjønes, the question
  17   I asked was, would you agree that in the
  18   biopsy specimen, that would not contain any
  19   regenerative changes to mucosa?
  20           A.       I agree.
  21                    MR. GALLANT:      Object to the
  22           form.
  23   QUESTIONS BY MS. ALTHOFF:
  24           Q.       When you reviewed the tumor
  25   specimens from the biopsy, okay, did you --



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   1   were you able to identify the location based
   2   on the pathology in the biopsy specimen?
   3           A.       In the biopsy specimen, you see
   4   fragments of adenomatous tissue, you see
   5   normal fragments of oxyntic mucosa, and you
   6   see mucous glands.        So those mucous glands
   7   could be from the foveolas on top.            So it's
   8   not specific for anything.          So the location
   9   is based on the operation specimen.
  10           Q.       So you disagree that the
  11   presence of mucosal glands in the biopsy
  12   specimen indicate that the specimen
  13   originated from the cardia?
  14           A.       Yeah, I think you have to see
  15   it in the clinical context, as she says
  16   herself in the report.         If you don't have the
  17   clinical information to guide you, you -- you
  18   can't say anything about the location.
  19                    In this case they are saying
  20   that the polyps are 3 centimeters distal from
  21   the site.     You see oxyntic mucosa and you see
  22   some mucosa glands that consist of foveolas,
  23   so in that respect, to me, the biopsy fits
  24   with that location.        It's not specific for
  25   cardia location based on that biopsy.



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   1           Q.       And of what significance was it
   2   to you, Dr. Mjønes, from the clinical
   3   correlation that this patient, which you knew
   4   at the time you reviewed the slides, had
   5   gastroesophageal reflux disease?
   6           A.       Can you repeat the question,
   7   please?
   8           Q.       Sure.
   9                    So at the time you reviewed the
  10   slides the first time and the second time,
  11   you knew that Mr. Baudin had gastroesophageal
  12   reflux disease, correct?
  13           A.       Yes.
  14           Q.       I mean, you hadn't reviewed a
  15   lot of medical records, but you knew that
  16   information, correct?
  17           A.       Correct.
  18           Q.       And so of what significance was
  19   the fact that Mr. Baudin had GERD to your
  20   determination of the location and/or your
  21   observations on the pathology specimens?
  22           A.       Well, when I looked at the --
  23   the slides the first and the second time,
  24   considering -- knowing he had GERD, I would
  25   be looking for signs of inflammation in



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   1   the -- in the squamocolumnar junction, and
   2   I'd also be looking for goblet cells in that
   3   area to look for Barrett's.          But that's not
   4   something you'd look for with that type of
   5   history.     And I didn't see any signs of that.
   6                    I also looked at the cardiac
   7   mucosa, which in the operation specimen was
   8   about 0.6 millimeters on the tissue block I
   9   was sent later on and in another area is
  10   about -- is a little bit bigger.            And -- but
  11   it's -- and considering the cardiac mucosa is
  12   so narrow and the rest was completely oxyntic
  13   mucosa, it didn't give me any reason to doubt
  14   the location.      And I still don't doubt the
  15   location as being non-cardia cancer.
  16           Q.       Where in your original report
  17   do you provide the observation that it is
  18   non-cardia cancer?
  19           A.       Well, I don't have the -- the
  20   location in the original report, it says the
  21   location is in the posterior back wall of
  22   the -- "side proximal stomach posterior
  23   wall," it says.
  24           Q.       And would you agree with me
  25   that geographically the proximal stomach



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   1   includes the cardia?
   2           A.       Yeah, that includes the cardia.
   3           Q.       Okay.    Let's go back to --
   4   we're on Exhibit 19, and you had identified
   5   for me the third e-mail down --
   6           A.       Uh-huh.
   7           Q.       -- with regard to what types of
   8   polyps were in the hernia.
   9           A.       Yeah.
  10           Q.       And then the second e-mail is
  11   now from Dr. Waldum to you, dated March 17th
  12   of 2022 at 18:39.
  13                    Do you see that?
  14           A.       Yes, I see that.
  15           Q.       Okay.    And what is Dr. Waldum
  16   saying to you?
  17           A.       He says fine.      I mean that -- I
  18   meant that the endoscopist described the
  19   three lesions as hyperplastic according to
  20   the way he perceived them, but -- when he did
  21   the endoscopy, which would suit him the best,
  22   although histology gives the answer.             I
  23   thought that it was a hyperplastic polyp with
  24   a -- that the -- the cancer involved in the
  25   hyperplastic polyp.



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   1                    And I said, no, I don't think
   2   that's the case.       It's the type of gastric
   3   adenoma with high-grade dysplasia and -- or
   4   intramucosal adenocarcinoma.
   5                    And just nearby, it was a
   6   hyperplastic polyp.
   7           Q.       Okay.    So with regard to
   8   Dr. Waldum's e-mail to you, you said -- he
   9   said that the endoscopist described the three
  10   polyps in the hernia -- that's the way you
  11   understood it -- as hyperplastic?
  12           A.       Uh-huh.
  13           Q.       And then he says, "and it would
  14   fit me best."
  15                    Who's -- what is "it," and is
  16   "me" Dr. Waldum?
  17           A.       Yeah.    The "me" is Dr. Waldum.
  18           Q.       Yeah.    So what did you -- what
  19   did you take it when he said "it would fit me
  20   best"?
  21           A.       I -- that's just the way he
  22   phrased himself.       It doesn't affect my
  23   opinion on what I see.         What I see is what I
  24   see.
  25           Q.       Okay.    And you responded back



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   1   to him and said, no, not a hyperplastic polyp
   2   which developed into an adenocarcinoma.
   3                    In fact, it was a different
   4   type of gastric adenoma?
   5           A.       No, basically I think he was
   6   thinking about the -- you know, in the
   7   operation specimen, when they deduct, they
   8   did two -- removed two polyps as frozen
   9   section that were fundic gland polyps.             I
  10   don't know if he removed -- I think he was
  11   referring to those two when he was asking me
  12   that question.
  13                    Sorry, can you repeat the
  14   question?     I'm not answering your question, I
  15   think.
  16           Q.       That's okay.
  17                    So my question really -- and
  18   let me ask a different question.
  19           A.       Yes.
  20           Q.       So you responded back to him
  21   that, no, the adenocarcinoma had not
  22   developed from a hyperplastic polyp, right?
  23           A.       Yeah, it's probably not -- it's
  24   a type of gastric adenoma with high-grade
  25   dysplasia or intramucosal adenocarcinoma,



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   1   which I also said in the report.
   2           Q.       Yes.
   3                    And so what did you mean by
   4   another type of gastric adenoma?
   5           A.       No, I said it's not another
   6   type.    I said it's a type of gastric adenoma.
   7           Q.       Okay.    I misheard you.
   8           A.       Yeah.    Sorry.
   9                    (Mjønes Exhibit 20 marked for
  10           identification.)
  11   QUESTIONS BY MS. ALTHOFF:
  12           Q.       Okay.    Let's take a look at my
  13   Exhibit 20.
  14           A.       Yep.
  15           Q.       And then, Dr. Mjønes, this
  16   appears to be an e-mail string dated
  17   March 17th and March 18th of 2022, again
  18   between you and Dr. Waldum.
  19                    Do you see that?
  20           A.       Yes.    The top one -- the other
  21   three have gone through, right?           It's the top
  22   one that's -- that's the new one, right?
  23           Q.       Ah, yes, correct.       Yes.
  24                    And what did you write on the
  25   top e-mail, which is dated March 20 -- excuse



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   1   me, March 18th of 2022?
   2           A.       I -- I -- I say, this is what
   3   Lysandra writes, "Polypoid intramucosal
   4   adenocarcinoma, 0.6 centimeters, Appendix A,
   5   Figure 9, arising in gastric adenoma in the
   6   background of cardio-oxyntic mucosa with
   7   acute and chronic inflammation.           Carditis,
   8   Appendix A, Figure 10, and hyperplastic
   9   polyps."
  10                    And I say underneath that, I
  11   have written something similar.           So -- so
  12   just when it comes to these things, we are
  13   all in agreement.
  14           Q.       Okay.    So you agreed with her
  15   that it was a polypoid intramucosal
  16   adenocarcinoma of about .6 centimeter in
  17   size?
  18           A.       Yeah.
  19           Q.       And you agree --
  20           A.       It's a -- it's not .6 in size.
  21   But if you look at -- if you include the
  22   area -- when I wrote that report, that was on
  23   Friday, and I looked at the sections on
  24   Saturday.     So in theory, it could have been
  25   just lit -- a literal figure if you include



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   1   the dysplastic areas just next to where the
   2   polypectomy site could be.          But this -- you
   3   know, it's close to that.
   4           Q.       Yeah, okay.
   5                    So in any event, less than a
   6   centimeter in size?
   7           A.       Yeah.    I would agree with that.
   8           Q.       And that is the same as what
   9   the original Louisiana pathology group
  10   concluded, correct?
  11           A.       Yeah.
  12           Q.       And you said she writes that it
  13   arises in a gastric adenoma, and you agree
  14   with that?
  15           A.       I agree with that.
  16           Q.       And she writes that it arises
  17   in the background of cardio-oxyntic mucosa
  18   with acute and chronic inflammation, that
  19   being carditis, yes?
  20           A.       Well, put it this way, that's
  21   based on the pictures she showed me, the
  22   pictures.
  23                    But then I looked at the
  24   sections.     The picture doesn't show the whole
  25   section, so I don't think we have the



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   1   cardio-oxyntic mucosa part of it.
   2           Q.       So at the time that you wrote
   3   this on Friday, March 18, 2022, you believed
   4   that yourself, Dr. Voltaggio and the original
   5   reading pathologist all agreed with these
   6   items?
   7           A.       Mostly.    It's always room for
   8   minor discrepancies, but they're mostly in
   9   agreement when it comes to those things.
  10           Q.       Okay.    And would you say that
  11   your impression changed after this -- you
  12   wrote this e-mail and you re-reviewed the
  13   slides?
  14           A.       I don't think this e-mail made
  15   me change my mind, no.
  16           Q.       No, no, no.
  17                    My question is, after you wrote
  18   this e-mail -- so this e-mail was written on
  19   Friday, right?
  20           A.       Yes.
  21           Q.       And you re-reviewed the slides
  22   on Saturday?
  23           A.       Uh-huh.
  24           Q.       Correct?
  25           A.       Yes.



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   1           Q.       Did your -- well, let me ask
   2   you this.
   3                    Would you have written the same
   4   thing that you wrote on Friday on Sunday,
   5   after you re-reviewed the slides?
   6           A.       I probably would have written
   7   that we're mostly in agreement, but I think
   8   that the -- I think it's in the posterior
   9   wall so that it could be located in the
  10   corpus or the fundus.         Oxyntic mucosa.
  11           Q.       Did you receive any response
  12   back from Dr. Waldum to your e-mail of
  13   March 18, 2022?
  14           A.       No, not as I recall.
  15           Q.       Did you receive a response from
  16   anyone besides Dr. Waldum to your -- this
  17   string of communications with regard to the
  18   polypoid and the mucosal adenocarcinoma?
  19           A.       To the last e-mail, you mean?
  20           Q.       Yes.    Well, actually to any of
  21   the e-mails in this string.
  22           A.       No, I can't remember ever
  23   receiving that.       But then, you know...
  24           Q.       Okay.    But then what?
  25           A.       I can't remember receiving any



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   1   more e-mails with Dr. -- with regard to that.
   2           Q.       Okay.    So we have looked at
   3   seven e-mails between -- well, seven exhibits
   4   of e-mails between you and Dr. Waldum today.
   5                    Okay?    Is that correct?
   6           A.       Uh-huh.
   7           Q.       And are you aware of any other
   8   e-mails between yourself and Dr. Waldum
   9   relating to the work that you've done in this
  10   matter?
  11           A.       Could you repeat the question?
  12   Sorry.
  13           Q.       Sure.
  14                    So aside from the seven e-mail
  15   chains that we've looked at today --
  16           A.       Yes.
  17           Q.       -- are you aware of any other
  18   e-mails that we haven't looked at between you
  19   and Dr. Waldum regarding the work that you --
  20   pathology work that you did in this matter?
  21           A.       I can't remember completely.          I
  22   can't remember what I've written to him a
  23   year ago, but I -- basically I can't remember
  24   that far back, but I can't think of anything
  25   else.



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   1           Q.       Okay.    Are you aware of any
   2   e-mails, again, that we haven't looked at
   3   today between you and anyone else with regard
   4   to your pathology work that you did in this
   5   matter?
   6           A.       Most of my communication has
   7   been to Waldum, so, no.
   8           Q.       Have you had any discussions,
   9   oral communications, with Dr. Waldum about
  10   the location of Mr. Baudin's tumor?
  11           A.       I can't remember for sure, but
  12   it has been -- we have talked about the
  13   1.2 centimeter issue.         But there -- nothing
  14   else really.
  15                    Like I -- when I -- I have
  16   talked to him about the fact that the
  17   1.2 centimeter didn't make -- make any sense
  18   to me considering it was nothing in that
  19   section where the apparent polypectomy site
  20   was.
  21           Q.       Uh-huh.
  22                    And have you had any
  23   discussions with Dr. Waldum about whether
  24   Mr. Baudin's cancer was located in the cardia
  25   region?



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   1           A.       No.   I don't think we've been
   2   discussing that, no.
   3           Q.       And of course we talked about
   4   the fact that your report says the proximal
   5   stomach --
   6           A.       Uh-huh.
   7           Q.       -- and that the proximal
   8   stomach may or may not include the cardia,
   9   right?
  10           A.       Right.    That's what we said,
  11   yeah.
  12           Q.       And so have you had any
  13   discussions with Dr. Waldum about where
  14   within the proximal stomach it was your
  15   opinion that Mr. Baudin's cancer arose?
  16           A.       No.
  17           Q.       Or was located?
  18           A.       No.   The -- the fact that it's
  19   in the posterior wall, it's -- that's from
  20   the Louisiana report.         And it's based on my
  21   histopathological findings, together with the
  22   report.
  23                    (Mjønes Exhibit 22 marked for
  24           identification.)
  25




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   1   QUESTIONS BY MS. ALTHOFF:
   2           Q.       Let's look at Exhibit 22.
   3                    And I forget how many there are
   4   here.    Jeff, do you know how many pages there
   5   are in this?      I think we've numbered them.
   6                    VIDEOGRAPHER:      14.
   7                    MS. ALTHOFF:      14.    Thank you.
   8   QUESTIONS BY MS. ALTHOFF:
   9           Q.       Dr. Mjønes --
  10                    MR. GALLANT:      I'm not getting
  11           the exhibits populated in the chat.            I
  12           don't know if there's an issue.           There
  13           it goes.
  14                    VIDEOGRAPHER:      Try again.
  15                    MR. GALLANT:      Got it.
  16   QUESTIONS BY MS. ALTHOFF:
  17           Q.       Dr. Mjønes, I'm handing you
  18   what's been marked as Exhibit 22 to your
  19   deposition, and this appears to be a series
  20   of photographs that you took of the slides.
  21   And you -- we received them last night.
  22           A.       Uh-huh.
  23           Q.       And again, Jeff, I'm sorry.
  24   13?
  25                    VIDEOGRAPHER:      14.



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   1                    MS. ALTHOFF:      14.
   2   QUESTIONS BY MS. ALTHOFF:
   3           Q.       Did you produce copies of 14
   4   images to counsel for production to us?
   5           A.       Yeah, well, we -- I took those
   6   photos in -- in -- like in case you asked me
   7   questions about them so that I could show it
   8   on the picture.
   9           Q.       Sure.
  10                    So when did you take pictures
  11   of slides?
  12           A.       Okay.    So the picture going
  13   with the report was taken -- taken in April
  14   of 2021, but these pictures are -- which are
  15   from the same slides are -- like the slides
  16   were already scanned into our system, so
  17   basically I screened -- took screenshots of
  18   the slides of the areas I thought would be
  19   relevant to show.
  20           Q.       So when you received the slides
  21   initially, you had them all scanned?
  22           A.       No, not -- not the original
  23   slides, no.      Because by doing that, I would
  24   have to open up the document within the
  25   hospital system.



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   1                    So only the sections that were
   2   stained at our department from the two tissue
   3   blocks are scanned into our system.             So the
   4   other sections I haven't got pictures of.
   5           Q.       Gotcha.    Okay.    That was really
   6   going to be one of my questions.
   7                    All right.     So let's -- so
   8   page 1 here, Image 1, what is depicted on
   9   this slide or image?
  10           A.       Well, basically this is a
  11   staining, either from a synaptophysin stain
  12   or chromogranin A stain.         I can't -- you
  13   know, because they would show the similar
  14   things.      But from the background staining,
  15   I -- you would know from the name of the
  16   picture at the top if it's synaptophysin or
  17   chromogranin A.
  18                    But basically they are two
  19   neuroendocrine markers that were stained, and
  20   they basically show the same.           And what we
  21   see here is -- you know, the pale area is
  22   basically the gastric mucosa, the background
  23   color of the background -- of the gastric
  24   mucosa.
  25                    When we stain the tissue, we



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   1   highlight proteins, like to be specific for
   2   those cells, and in this case it would be
   3   protein-specific for neuroendocrine cells.
   4                    So basically both the
   5   synaptophysin stain and chromogranin A stain
   6   would show similar things.          So after we
   7   see -- you -- also, you can see my arrow, so
   8   I'm pointing without really showing you.              But
   9   what you see here are -- on the top of the
  10   picture you see the part of the mucosa that's
  11   towards the gastric lumen, right?            All the
  12   brown dots that you see down the gastric
  13   gland are neuroendocrine cells.
  14                    In the normal situation, you
  15   would find those neuroendocrine cells spread
  16   in -- interspersed in the gastric mucosa, but
  17   in this case you see areas where those
  18   neuroendocrine cells are located closely
  19   together, more than five cells together.              And
  20   even up towards the surface you find a little
  21   lump of them together, which would be -- so
  22   basically the slide is showing hyperplasia of
  23   neuroendocrine cells.
  24           Q.       And this particular specimen
  25   did not come from the cancer tumor specimen,



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   1   correct?
   2           A.       Yeah, that came from the
   3   mucosa.      That was...
   4           Q.       Slide J?
   5           A.       Yes, J, that's right.
   6           Q.       Okay.    Let's look at page 2.
   7           A.       Uh-huh.
   8           Q.       And what is depicted on page 2
   9   of this exhibit, Exhibit 22?
  10           A.       Okay.    So basically this is a
  11   picture of the gastric -- the squamocolumnar
  12   junction.      I don't know if I'd be able to
  13   show with an arrow what we see to make it
  14   easier.
  15                    But basically up in -- on the
  16   top part of the image, you see a part of
  17   squamous cell epithelium, which would be a
  18   part of the esophagus.         And just next to the
  19   squamous epithelium you have cardiac mucosa.
  20   And then just next to that again you have
  21   oxyntic mucosa.
  22                    So all the brown stains, all
  23   the brown dots, are the neuroendocrine cells
  24   testing -- that are positive for
  25   synaptophysin stain in this case, I think.



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   1           Q.       And so does this slide, in your
   2   opinion -- and by "slide," I guess I'm
   3   talking about the image on the screen -- does
   4   that depict ECL cell hyperplasia?
   5           A.       Yes.
   6           Q.       And where was this specimen
   7   taken from on Mr. Baudin?
   8           A.       So this is -- this specimen is
   9   section J.
  10           Q.       Okay.
  11           A.       So all the pictures are from
  12   section J because that's where the -- you
  13   know, the immunostains were taken.
  14           Q.       Okay.    And -- all right.       So do
  15   you know where section J came from on
  16   Mr. Baudin?      Where that specimen is from?
  17           A.       It says, "Additional polyps
  18   near the gastroesophageal junction."             So
  19   that's where the section is taken from.               So
  20   basically it's taken from -- it shows the
  21   mucosa of the esophagus, cardia and oxyntic
  22   mucosa.      And you also see a polyp in that
  23   slide.
  24           Q.       Do you have an understanding of
  25   whether this was proximal or distal to the



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   1   tumor site?
   2           A.       That, I won't be able to say.
   3   It could -- no, I can't really say because
   4   it's not -- you don't have tumor tissue in
   5   that slide.
   6           Q.       Uh-huh.    Let's look at the next
   7   page, 3, of Exhibit 22.
   8                    And again, this is staining
   9   that your group did from the tissue block of
  10   section J, correct?
  11           A.       That's right.
  12           Q.       And is this a further
  13   magnification of the previous --
  14           A.       Yes.
  15           Q.       -- slide?
  16           A.       Yes.
  17                    And within the red circle you
  18   see areas of hyperplasia of neuroendocrine
  19   cells.    So it's linear hyperplasia, what you
  20   see here, because the cells are aligned next
  21   to each other along the gland.
  22           Q.       So is this what you described
  23   in your original final report as changes
  24   consistent with simple hyperplasia and
  25   possibly linear hyperplasia of neuroendocrine



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   1   cells?
   2           A.       Yes.   So this would be linear
   3   hyperplasia of neuroendocrine cells.
   4           Q.       And I think this is taken from
   5   the surgical resection, just to be clear,
   6   correct?
   7           A.       Yes.   Yes.
   8           Q.       And so it's not from the
   9   biopsy --
  10           A.       No.
  11           Q.       -- section?
  12           A.       No.
  13           Q.       So it would be one of the
  14   sections that starts with OL-17, correct?
  15           A.       It would be the section
  16   OL-17-09222, section J.
  17           Q.       Right.    Okay.
  18                    Let's look at the next -- and I
  19   think you said all of the slides we're
  20   looking at right now are from that same
  21   section, correct?
  22           A.       That's right.
  23           Q.       All right.     So what are we
  24   looking at here on page 4 of Exhibit 22?
  25           A.       So basically it's an overview



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   1   of the same section.        This is a -- this is
   2   the chromogranin A stained section.
   3                    So what you see is -- up right
   4   on the section you see a part of the squamous
   5   epithelium of the esophagus.           Just after that
   6   you see a bit of cardiac mucosa.            And then
   7   you see -- all the brown stuff is the mucosa
   8   with staining towards -- with an antibody
   9   towards that specific protein.
  10           Q.       Okay.
  11           A.       And the polyp popping up from
  12   the mucosa, which is a hyperplastic polyp.
  13                    So the point of this slide is
  14   basically just give an overview of the mucosa
  15   and to show what it's done.
  16           Q.       All right.     Let's look at
  17   page 5, Exhibit 22.
  18                    And is this the same -- okay.
  19   What are we looking at here?
  20           A.       So basically it's from the same
  21   section.     It just -- the point of sending
  22   those things, if you're asking for things to
  23   show that a person had been using proton pump
  24   inhibitors, these are type of findings you
  25   could find in patients who use proton pump



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   1   inhibitors.
   2                    There's not a lot of it, but on
   3   the picture within the red circle you see
   4   parietal cells with kind of cytoplasmic lifts
   5   pointing in towards the lumen.           It's much
   6   easier if I had the pointer to show you, but
   7   you basically see the parietal cells have
   8   kind of extensions on their cytoplasmic --
   9   plasm pointing into the -- to the -- where
  10   the secretion go into the lumen.            So these
  11   are what you find in patients using proton
  12   pump inhibitors.
  13           Q.       So -- but again, this is the
  14   same CGA staining that we just looked at on
  15   the previous slide?
  16           A.       No, this isn't -- this is a
  17   section colored with hematoxylin and eosin,
  18   and it basically shows the morphology or the
  19   microanatomy of the tissue.
  20           Q.       Okay.    I thought this was an
  21   H&E stain, but I wanted to be sure.
  22                    So is this still from
  23   section J?
  24           A.       That's right.
  25           Q.       All right.     Let's look at the



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   1   next slide.
   2                    Again, is this an H&E magnified
   3   slide taken from section J?
   4           A.       That's right.      It's just to
   5   show some areas of dilated glands and the
   6   similar type of cytoplasmic changes in the
   7   parietal cells as we saw in the previous
   8   picture.
   9           Q.       And again, the point in your
  10   depicting these is to indicate changes to the
  11   parietal cells in normal-occurring mucosa
  12   from Mr. Baudin due to proton pump inhibitor
  13   use?
  14                    MR. RESTAINO:      Katherine, they
  15           seem to be frozen again.         Hold on a
  16           moment.
  17                    (Discussion off the record.)
  18                    MR. GALLANT:      We're back.
  19                    THE WITNESS:      So could you
  20           repeat the question, please?          I'm
  21           sorry.
  22   QUESTIONS BY MS. ALTHOFF:
  23           Q.       Yes.
  24                    So you were telling me about
  25   this slide and the previous slide, which were



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   1   both slides of normal oxyntic mucosa which
   2   had been stained with H&E, right?
   3           A.       That's right.
   4           Q.       And the point of your taking
   5   pictures of these slides was to depict
   6   changes to parietal cells in normal-appearing
   7   mucosa due to Mr. Baudin's use of proton pump
   8   inhibitors?
   9           A.       Just to illustrate what proton
  10   pump inhibitor changes can look like.
  11           Q.       Uh-huh.
  12                    And in fact, these were in
  13   Mr. Baudin's slides, right?
  14           A.       That's right.
  15           Q.       Okay.    Let's look at page 7.
  16           A.       Uh-huh.
  17           Q.       And again, taken from
  18   Exhibit 22.
  19                    And is again this an
  20   H&E-stained slide of Mr. Baudin taken from
  21   section J?
  22           A.       Yes.
  23           Q.       And it looks to depict a polyp.
  24                    What are you attempting to show
  25   in this slide?



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   1           A.       It is just basically showing a
   2   hyperplastic polyp and its relation to normal
   3   mucosa.      And just to show that it's a normal
   4   hyperplastic polyp and not a tumor.
   5           Q.       Uh-huh.
   6           A.       Not a malignant tumor.
   7           Q.       Okay.    Let's look at page 8 of
   8   Exhibit 22, again, an H&E stain.
   9                    And what is this -- what area
  10   is this showing?
  11           A.       It's basically showing -- the
  12   picture is kind of upside down in terms of
  13   what you would normally see on -- you know,
  14   when you look at things -- when you're trying
  15   to explain things.
  16                    But what you see here is -- on
  17   the bottom you see the sub -- like the
  18   different -- you see the innermost layer of
  19   the stomach, basically, and you see some
  20   dilated glands.       And these are changes that
  21   you could see as well in patients on proton
  22   pump inhibitors.
  23           Q.       All right.     Let's look at
  24   page -- the next page.         So page -- if we can
  25   flip that back around, Jeff.           Thank you.



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   1   Page 9 of Exhibit 22.
   2                    And is this a picture of the
   3   H&E-stained slide that we've been looking at
   4   magnifications of?
   5           A.       Yes, that's right.
   6                    So basically on this picture
   7   you see the squamous epithelium on the upper
   8   right, and then in the circle you see the
   9   area of cardiac mucosa measuring about
  10   0.6 millimeters on that particular slide.
  11                    It's also to give an
  12   illustration on the distance between the
  13   squamocolumnar junction and the polyp
  14   pointing out.      So the squamocolumnar junction
  15   is the junction between the squamous
  16   epithelium and the cardiac mucosa.
  17           Q.       Look at page 10 of Exhibit 22.
  18   And again, an H&E stain.
  19                    Is this from that same slide we
  20   just looked at, which was page 9?
  21           A.       That's right.
  22           Q.       And what are you identifying
  23   here?
  24           A.       Well, it's basically -- within
  25   the circle you see the squamocolumnar



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   1   junction, and the area marked with the --
   2   with the red line, that's just illustrating
   3   the length of the cardiac mucosa in that
   4   particular slide.
   5                    And it shows how the cardiac
   6   mucosa differs from the oxyntic mucosa
   7   next -- you know, next door to it.
   8           Q.       Okay.    Let's look at page 11 of
   9   Exhibit 22.
  10           A.       Uh-huh.
  11           Q.       And it looks like we are now
  12   back to an immunostain, correct?
  13           A.       That's right.      And that's
  14   probably synaptophysin stain.
  15           Q.       And is this the same location
  16   that we looked at earlier with the
  17   chromogranin A stain?
  18           A.       Yes, that's right.
  19           Q.       Anything new or different that
  20   you can see in this slide from the
  21   CGA-stained slide?
  22           A.       No, it basically shows the
  23   same.    Less background staining.
  24           Q.       Uh-huh.
  25                    Let's look at page 12 of



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   1   Exhibit 22.
   2                    And again, synaptophysin
   3   staining of the same area that we looked at
   4   on the CGA slide earlier?
   5           A.       Yeah.
   6           Q.       Anything -- new observations on
   7   this slide?
   8           A.       No, no new observations apart
   9   from what I already said.
  10           Q.       Okay.    Let's look at page 13.
  11           A.       Uh-huh.
  12           Q.       And again, synaptophysin
  13   staining of the same type of area that we saw
  14   in the chromogranin A earlier?
  15           A.       Yes, that's right.
  16           Q.       Any new observations here?
  17           A.       No.
  18           Q.       And am I right, there were no
  19   dysplastic areas in any of these slides that
  20   we've just been looking at in Exhibit 22?
  21   Correct?
  22           A.       Yeah, no dysplastic areas.
  23           Q.       All right.
  24                    VIDEOGRAPHER:      One more slide,
  25           Counsel.



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   1                    MS. ALTHOFF:      Oh, I'm sorry, I
   2           thought we were done.
   3   QUESTIONS BY MS. ALTHOFF:
   4           Q.       14, correct.      Let's go to
   5   page 14.
   6                    And is this the overview slide
   7   of the synaptophysin?
   8           A.       That's right.
   9           Q.       Synaptophysin.      Okay.    Great.
  10                    Thanks, Jeff.      Appreciate that.
  11   All right.
  12                    (Mjønes Exhibit 2 marked for
  13           identification.)
  14   QUESTIONS BY MS. ALTHOFF:
  15           Q.       Let's show her what's been
  16   marked as Exhibit 2.
  17                    And, Dr. Mjønes, this -- yeah,
  18   okay.    Making sure it was the same as mine.
  19   This appears to be a 13 -- no, excuse me,
  20   seven-page report.
  21           A.       Uh-huh.
  22           Q.       And is this your final report
  23   in this matter?
  24           A.       Yes.
  25           Q.       And so this report doesn't



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   1   contain the annotations that we were
   2   discussing earlier today, correct?
   3           A.       It doesn't -- sorry, repeat the
   4   question.
   5           Q.       Sure.
   6                    So this particular version of
   7   your report does not contain any of the
   8   annotations we were discussing earlier today,
   9   correct?
  10           A.       You mean the pictures that you
  11   just showed me?
  12           Q.       No, the annotations.        In other
  13   words, your notes.
  14           A.       Yes, right.     Sorry.     No, they
  15   don't contain them.
  16           Q.       All right.     Let's turn to
  17   page 7.
  18           A.       Uh-huh.
  19           Q.       And is this the sole slide that
  20   you included as part of your original report?
  21           A.       That's right.
  22           Q.       And it's the synaptophysin
  23   stain of section J?
  24           A.       That's right.
  25           Q.       So the nondysplas -- one of the



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   1   nondysplastic specimens, correct?
   2           A.       That's right.
   3           Q.       So going back one page to
   4   page 6.
   5           A.       Uh-huh.
   6           Q.       This is the last page of your
   7   report, correct?
   8           A.       Yes.
   9           Q.       And is that your signature?
  10           A.       That's my signature, yes.
  11           Q.       Was it signed April 9th of
  12   2021?
  13           A.       Yes.
  14                    It's the same date -- yeah,
  15   sorry.
  16           Q.       Okay.    What else happened on
  17   April 9th of 2021?
  18           A.       No, it was the same day I
  19   handed the box of slides back to Dr. Waldum
  20   with -- that's on the chain of custody.
  21                    (Mjønes Exhibit 3 marked for
  22           identification.)
  23   QUESTIONS BY MS. ALTHOFF:
  24           Q.       Excellent.     Okay.
  25                    Let's show her what's been



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   1   marked as Exhibit 3 as well.
   2                    Doctor, handing you what's been
   3   marked as Exhibit 3 to your deposition.              And
   4   this is seven pages of information from the
   5   PGL Pathology Group of Louisiana.
   6                    I'm going to ask Jeff to scroll
   7   through this, and, if you would, confirm for
   8   me that this is the same materials that you
   9   received as it relates to the PGL, Pathology
  10   Group of Louisiana.
  11           A.       Looks like it so far.
  12           Q.       So if we look at page 2 of
  13   Exhibit 3 --
  14           A.       Uh-huh.
  15           Q.       -- this is entitled "Abnormal
  16   Surgical Pathology Report" and relates to a
  17   specimen collected on 10/5 of 2017.
  18                    Do you see that?
  19           A.       Yes.
  20           Q.       And is this the pathology
  21   report that you reviewed with regard to the
  22   surgical resection?
  23           A.       Yeah, I'm just going to
  24   double-check --
  25           Q.       Yes.



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   1           A.       -- if I have -- all right.
   2                    Yeah, that's the same.         There's
   3   just a bit different kind of -- yeah,
   4   that's -- yes, that's right.
   5           Q.       Okay.    Does your version have
   6   any additional information than the version
   7   I'm looking at, which is three pages, and
   8   again entitled "Abnormal Surgical Pathology
   9   Report," dated 10/5/2017, specimen collection
  10   date?
  11           A.       I only see three pages as well.
  12   I don't see anything that's different.
  13           Q.       Okay.    Does your version have
  14   any notes or other annotations on it?
  15           A.       I have it outlined pink on my
  16   own, just so that -- that's what I usually do
  17   when I read, I outline with pink just as I go
  18   along, to -- you know, like -- like it's
  19   just -- I can show you up in the air, but
  20   it's basically -- I don't know if you can
  21   see.
  22           Q.       Yes, I can see it.
  23                    So can you identify for us what
  24   you highlighted in pink?
  25           A.       Yes.    Number 1 -- so you have



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   1   to go to page 2.
   2           Q.       Page -- so page 2 of the
   3   surgical pathology report up at the top
   4   starts with "distal margin"?
   5           A.       Yes.    I highlighted "gastric
   6   polyp from body."
   7           Q.       Under Item Number 1?
   8           A.       Yes.
   9                    And then on the same line I
  10   highlighted "received fresh for
  11   intraoperative consultation."
  12                    And on point number 2, "gastric
  13   polyp from body" was highlighted.
  14                    And at the same line I
  15   highlighted "received fresh for
  16   intraoperative consultation."
  17                    Okay.
  18           Q.       Yes.
  19           A.       On point 3 I highlighted
  20   "esophagus, proximal stomach and greater
  21   omentum."
  22                    And I highlighted "11 times 8.2
  23   times 3 centimeter partial stomach."
  24                    And I highlighted
  25   "1.5 centimeters in length by 1.4 centimeters



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   1   in diameter distal esophagus" and continued
   2   on until "additional tissue at the lesser
   3   curve."
   4                    And in the line -- in the next
   5   line I highlighted "0.8 times 0.7-centimeter
   6   vague pink suspicious area."
   7                    And then I highlighted "may,"
   8   and I highlighted "previous polypectomy
   9   site."
  10                    And on the same line I
  11   highlighted "at the lesser curve," and it's
  12   1.2 centimeters from the gastroesophageal
  13   junction.
  14                    And on the next line I
  15   highlighted "the apparent previous
  16   polypectomy site appears confined to the
  17   mucosa."
  18                    And I highlighted "normal rugal
  19   folds" in the same line.
  20                    The next line I highlighted
  21   "multiple polyps identified throughout,
  22   ranging from 0.2 centimeters to
  23   1.1 centimeter in greatest dimension."
  24                    In the line below I highlighted
  25   the gastric -- no, "the GE junction is



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   1   well-defined."
   2                    And two lines below that I
   3   highlighted "17 possible lesser curvature
   4   lymph nodes," followed by "three possible
   5   greater curvature lymph nodes," followed by
   6   "representative sections."
   7                    And then I highlighted "A" and
   8   then "proximal curvature tissue" -- "the soft
   9   tissue margin."
  10                    I highlighted -- basically the
  11   rest of the lines in point 3 are highlighted.
  12           Q.       Okay.    Sections A through T?
  13           A.       Yeah.
  14           Q.       Okay.
  15           A.       And then 4 I highlighted
  16   nothing.
  17                    In 5, "distal gastric
  18   doughnut."
  19                    And then in the intraoperative
  20   report, I highlighted "fundic gland polyps
  21   negative for malignancy."
  22                    And then page 3 out of 3 I
  23   highlighted a point 2, "fundic gland polyps
  24   negative for malignancy."
  25                    And then point 3 I highlighted



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   1   "esophageal and gastric resection margins
   2   negative for malignancy."
   3           Q.       Is that it?
   4           A.       Yeah.    And I have -- have it
   5   written, a note to -- point L where it
   6   says -- you know, where the -- which is
   7   lesser curvature.        I have written in
   8   Norwegian, "is this a polypectomy site,
   9   question mark?"
  10           Q.       Did you say that was next to --
  11   by -- or in relation to specimen L?
  12           A.       In relation to specimen L but
  13   on the bottom of the page.
  14           Q.       Okay.    Gotcha.
  15                    Okay.    Any other handwritten
  16   notes?
  17           A.       No.
  18           Q.       And again, the one handwritten
  19   note, you were sort of writing a note to
  20   yourself questioning whether section L
  21   related to the prior polypectomy site?
  22           A.       Yeah, not to the polypectomy
  23   site, but I was wondering if he -- you know,
  24   as I said before, he had three polyps.             When
  25   he was on the first examination in September,



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   1   he had three polyps.        One was sent in for
   2   histology.      The two remaining polyps I have
   3   no information what happened to.            I don't
   4   know if they were sent in or not.
   5                    So that's why I was asking that
   6   question to myself, if that could be a
   7   polypectomy site from one of those polyps.
   8   But if it isn't, it could be inflammation,
   9   you know.     That's basically it.
  10           Q.       Okay.    On Sections 1 and 2 with
  11   regard to the gastric polyp from body -- and
  12   on both of those you highlighted "received
  13   fresh for intraoperative consultation."
  14                    Why was that significant to
  15   you?
  16           A.       Just basically reminding me
  17   that these are frozen sections, so it's
  18   not -- yes.      It doesn't always make sense
  19   when I highlight things.
  20           Q.       No, understood.
  21                    Section 3, obviously you
  22   considered that section to be the most
  23   important, I assume, of the five?
  24           A.       That's right.
  25           Q.       And that's because that is the



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   1   section where they had resected the prior
   2   polypectomy site, right?
   3           A.       The reason I have highlighted
   4   most there is because when you get an
   5   operation specimen, like in Norway when we --
   6   when we have operation specimens, we have
   7   each section down point wise, which it's much
   8   easier to see where the different sections
   9   are taken from.
  10                    Here they're kind of baked into
  11   the text, so I highlighted them to get a
  12   better overview over what the different
  13   sections were showing.
  14           Q.       Okay.    Of what significance was
  15   the size of the partial stomach and distal
  16   esophagus and omentum?
  17           A.       I'm not sure I understand your
  18   question.
  19           Q.       Right.
  20                    So you highlighted the sizes.
  21   So the 11 by 8.2 by 3 centimeter partial
  22   stomach with attached 1.5 centimeter in
  23   length by 1.4 centimeter distal esophagus,
  24   and the 22 by 10 by 3.5 centimeter omentum,
  25   the additional tissue at the lesser



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   1   curvature, why was that information
   2   significant to you?
   3           A.       So it's just, as I said, my
   4   highlightings.       It's just the way I read the
   5   document, I highlight as I go along, and it's
   6   just easier for me to just visualize what the
   7   specimen looks like.        So it wasn't any more
   8   significant than that.
   9           Q.       The one sentence that says,
  10   "The suspicious area/previous polypectomy
  11   site is at the lesser curvature and is
  12   1.2 centimeters from the GE junction,"
  13   what -- of what significance was that to you?
  14           A.       When I -- when I looked at the
  15   section, it wasn't any sign of a -- like
  16   normally if you -- if you say something is
  17   suspicious, you'd expect to see some changes
  18   in the mucosa.       There was no changes in the
  19   mucosa in that section, so that's why I have
  20   to kind of think through.
  21                    And when I read Voltaggio's
  22   report, seeing that the original polyps were
  23   taken three centimeters distal to the --
  24   {audio interruption}
  25                    MS. ALTHOFF:      Jeff?



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   1                    VIDEOGRAPHER:      They're frozen
   2           again.    Or she is, it looks like.
   3                    MS. ALTHOFF:      I never know if
   4           it's me or them.
   5                    VIDEOGRAPHER:      I think she's
   6           back now, Counsel.
   7                    MR. GALLANT:      Okay.    We're
   8           back.
   9                    THE WITNESS:      Yeah, so could
  10           you repeat the last question, please?
  11   QUESTIONS BY MS. ALTHOFF:
  12           Q.       Sure.
  13                    So my question was, the one
  14   sentence that says, "The suspicious
  15   area/previous polypectomy site is at the
  16   lesser curvature, is 1.2 centimeter from the
  17   GE junction," of what significance was that
  18   to you?
  19           A.       Well, the significance was that
  20   I wanted to look at that area to see if there
  21   was any sign of a polyp there or any sign of
  22   dysplasia in the area, because that's where
  23   they thought the suspicious lesion was taken
  24   from.
  25                    There's no sign of tumor in



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   1   that area, so it was just kind of me to get
   2   an overview over -- you know, it was
   3   significance -- significant in the sense that
   4   there's no tumor there, so it meant that that
   5   area that they thought was suspicious wasn't
   6   suspicious.
   7                    It's not uncommon that when you
   8   look at sections after getting them, what you
   9   think is suspicious isn't necessarily the
  10   truth when you look at the sections
  11   afterwards.
  12           Q.       You see something different
  13   under the microscope?
  14           A.       Yeah, it's not easy to
  15   recognize a polypectomy site after you get
  16   the specimen in a month later.
  17           Q.       You also identified -- well,
  18   one of the items you highlighted was that
  19   there were multiple polyps identified
  20   throughout, ranging from .2 centimeters to
  21   1.1 centimeter in greatest dimension.
  22                    Of what significance was that
  23   to you?
  24           A.       Just to get an impression of
  25   what was there, basically.          Nothing -- you



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   1   know, just to visualize what the -- when you
   2   haven't seen the specimen, you're trying to
   3   visualize by what other people describe to
   4   you.    So it's just highlighting for my own
   5   sake.
   6           Q.       And you identified that the GE
   7   junction was well-defined.
   8                    What significance was that to
   9   you, and do you agree with that
  10   determination?
  11           A.       Well, I haven't seen the gross
  12   specimens, so I couldn't -- I can't say --
  13   say something about something I haven't seen
  14   like that.
  15                    But the fact that it's
  16   well-defined tells me that there's no jagged
  17   edges or something that you'd normally see in
  18   the Barrett's.
  19                    Voltaggio has shown a picture
  20   of a normal gastric junction, and she also
  21   has shown a schematic presentation -- I can
  22   tell you which page was it on if you want
  23   to -- but just showing a picture of what an
  24   esophagus can look like when you have
  25   Barrett's.



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   1           Q.       Uh-huh.
   2           A.       And it's -- like on page 31, I
   3   think.
   4           Q.       Okay.
   5           A.       And on that page, you have --
   6   you have a jagged appearance of the
   7   esophagus.      You wouldn't call -- call an
   8   esophagus looking like that well-defined.
   9   Like you wouldn't call a squamocolumnar
  10   junction like that looking well-defined.              So
  11   it tells me that it wasn't many changes
  12   consistent with the Barrett's from looking --
  13   just from that description.          That's how I
  14   would interpret it.
  15           Q.       Okay.    And then you highlighted
  16   the information about the lymph nodes and how
  17   many had been taken, correct?
  18           A.       Yes.
  19           Q.       And ultimately all the lymph
  20   nodes showed no evidence of metastasis,
  21   right?
  22           A.       That's right.
  23           Q.       So was there anything
  24   significant otherwise about that statement?
  25           A.       No.



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   1           Q.       All right.     So then you
   2   highlighted A through T.         And what, if
   3   anything, was of significance to you from
   4   those -- in other words, why did you
   5   highlight those sections?
   6           A.       From A to --
   7           Q.       A to T, as in Thomas.
   8           A.       It's basically highlighting
   9   where -- that's the information that tells me
  10   where the sections are taken from, so it's
  11   easier for me to find.         That's why I
  12   highlighted them.
  13           Q.       Okay.    And, you know,
  14   specifically with regard to the tissue block
  15   that you got was from section J, which is
  16   described here as additional polyps near the
  17   GE junction, correct?
  18           A.       That's right.
  19           Q.       And from your pathologic
  20   review, is that consistent, that description,
  21   with what you saw in pathology?
  22           A.       Yes, that's consistent with
  23   that, that we see hyperplastic polyp.
  24           Q.       In the pathology report that
  25   was done by Louisiana that we've just been



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   1   looking at, they did not describe any of the
   2   polyps in the esophagus, proximal stomach or
   3   greater omentum as hyperplastic.
   4                    Am I right?
   5           A.       They described them as fundic
   6   gland polyps that was -- were removed on
   7   frozen section.
   8           Q.       And the two frozen section
   9   fundic gland polyps, of course, were negative
  10   for malignancy as you've identified, correct?
  11           A.       Yes.
  12           Q.       All right.     Let's keep going on
  13   exhibit -- Jeff, remind me.          Where are we?
  14                    VIDEOGRAPHER:      3.
  15                    MS. ALTHOFF:      3.    Thank you.
  16   QUESTIONS BY MS. ALTHOFF:
  17           Q.       Exhibit 3, the next page.         Keep
  18   going.    So this will be page -- so we're now
  19   on page 5, I believe, of this exhibit titled
  20   "Abnormal Surgical Pathology Report," and
  21   from a specimen collected on 9/12/2017.
  22                    Do you see that?
  23           A.       It's the one marked
  24   PG-17-18840?
  25           Q.       Yes.



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   1           A.       Yes, I see that.
   2           Q.       And is it your understanding
   3   that this is the report from the original
   4   biopsy that was done during the endoscopy?
   5           A.       Yes, that's right.
   6           Q.       And this includes on the next
   7   two pages, which are the last two pages of
   8   the exhibit, the testing for HER2 gene
   9   application, correct?
  10           A.       That's right.
  11           Q.       And in this case, they found it
  12   was -- it was negative, right?
  13           A.       That's right.
  14           Q.       But there were increased copies
  15   of number 17 chromosome and increased copies
  16   of HER2 NEU, right?
  17           A.       That's right.
  18           Q.       What, if any, significance did
  19   you take from the findings on these last
  20   three pages of the report?
  21           A.       I didn't find anything of
  22   significance, really.         The fact that this --
  23   that the -- that it was low 2 meant that it
  24   wasn't amplified, so I didn't read -- I
  25   didn't consider it as any more than that.



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   1           Q.       Okay.    And with regard, though,
   2   to the page -- first page of the EGD surgical
   3   path report -- so go back two pages, I think,
   4   Jeff.    Yeah, right there -- the final
   5   pathologic diagnosis was focal intramucosal
   6   adenocarcinoma arising from high-grade
   7   gastric adenomatous dysplasia.
   8                    Do you see that?
   9           A.       I'm not sure if I'm the -- I'm
  10   just trying to see where you said that last
  11   part.
  12           Q.       Sure.    Right under the big
  13   black bar that says "final pathologic
  14   diagnosis."
  15           A.       I see it, yes, thank you.
  16           Q.       Do you see there that PGL,
  17   Pathology Group of Louisiana, final
  18   pathologic diagnosis?
  19           A.       Yes.    It says -- yes, sorry.
  20           Q.       And I was asking, do you agree
  21   with that pathologic diagnosis?
  22           A.       Yes.
  23                    Well, it's basically -- they're
  24   saying it's intramucosal adenocarcinoma
  25   arising in high-grade gastric adenomatous



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   1   dysplasia.      So it's -- you know, it's a
   2   bit -- more or less agree with that.
   3           Q.       Which part of that do you not
   4   agree with?
   5           A.       Well, basically it's a polyp
   6   with high-grade dysplasia.          There might be
   7   some different way of interpreting whether
   8   the tumor breaks through the basal membrane
   9   of the -- or not, but basically focal --
  10   there are areas that could be consistent with
  11   focal intramucosal adenocarcinoma based on
  12   the architecture and things.           So I do agree.
  13           Q.       Okay.    So you have some
  14   equivocation with regard to the intramucosal
  15   part of this and the intramucosal
  16   adenocarcinoma versus a high-grade dysplasia
  17   adenoma.
  18                    Am I understanding correctly?
  19           A.       Yes.    Well, I don't -- I don't
  20   disagree, but there are -- there are, like,
  21   subtleties that -- you know, it's not
  22   uncommon to have little -- you know, that
  23   you -- you would be -- with agreeing, but
  24   there could be little -- you'd discuss it,
  25   kind of.



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   1                    Not able to explain myself very
   2   well now, but I'm basically in agreement.
   3           Q.       Yeah.
   4                    And I just wanted to make sure
   5   I understood which part of this statement you
   6   had some minor discussion thoughts on.
   7           A.       Well, basically when we see
   8   arthritis intramucosal adenocarcinoma, you
   9   might see smaller group of tumor cells within
  10   the lamina propria, which I didn't see.              But
  11   then again, the tumor shown there is where
  12   you have glands melding together, which --
  13   with the kind of necrotic areas within the
  14   glands, as far as I remember, that could fit
  15   with that.
  16                    So, you know, I'm -- I'm being
  17   a bit backwards and forwards with that
  18   regard.      But, you know, I don't -- I don't
  19   disagree.
  20           Q.       Okay.    At the time that you
  21   reviewed the slides the first time, did you
  22   have any other clinical information about
  23   Mr. Baudin other than what we've just looked
  24   at in Exhibit 3 and your understanding of
  25   age, gender and that he had gastroesophageal



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   1   reflux disease?
   2           A.       No, I didn't know that.         No,
   3   I -- no, sorry, I knew that, but I don't have
   4   any other clinical information.           So the rest
   5   of the clinical information I got, I got
   6   through Voltaggio's report.
   7           Q.       Have you ever seen the
   8   endoscopist's or the surgeon's report?
   9           A.       I've seen it -- I've seen it
  10   over the weekend.
  11           Q.       Let's show her what's been
  12   marked as Exhibit 4A.
  13                    MR. GALLANT:      Katherine, we've
  14           been going about an hour, so if we
  15           could -- I'm not saying a break now,
  16           but if we could break in -- when it's
  17           appropriate for you, that would be
  18           welcomed.
  19                    MS. ALTHOFF:      No, let's go
  20           ahead and do that now because I'll be
  21           on this next exhibit for a few
  22           minutes.
  23                    MR. GALLANT:      And I think if --
  24           the hour is getting late here.           It's
  25           4:30.    We've had lunch sitting outside



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   1           for four and a half hours.          So can we
   2           take a break for 25 minutes and -- or
   3           20 minutes and eat something or -- if
   4           that's agreeable?
   5                    MS. ALTHOFF:      Certainly.     That
   6           would be fine.      Why don't we return at
   7           noon Eastern.
   8                    MR. GALLANT:      Sounds good.
   9                    VIDEOGRAPHER:      Off record,
  10           11:34 a.m.
  11            (Off the record at 11:34 a.m.)
  12                    VIDEOGRAPHER:      On record, 12 --
  13           sorry, one second.       On record,
  14           12:10 p.m.
  15   QUESTIONS BY MS. ALTHOFF:
  16           Q.       Dr. Mjønes, we are back after a
  17   break, and let's go back to Exhibit 2, which
  18   is your report.       And let's go back to page 1,
  19   please.
  20                    And if we look at that first
  21   paragraph --
  22                    MR. RESTAINO:      Katherine, I'm
  23           sorry, this is John.        And the Internet
  24           just went out and they got kicked out
  25           again, or at least Michael did.



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   1                    MS. ALTHOFF:      Thank you.
   2                    MR. RESTAINO:      And the witness.
   3           Just --
   4                    MR. GALLANT:      Okay.    I think
   5           I'm okay.     Okay.
   6                    THE WITNESS:      Yeah.
   7                    MR. GALLANT:      Okay.    We're okay
   8           here.
   9                    MS. ALTHOFF:      I can see the
  10           witness again.      Okay.
  11   QUESTIONS BY MS. ALTHOFF:
  12           Q.       Turning your attention back to
  13   Exhibit 2, Dr. Mjønes, which is your report,
  14   and in particular that first paragraph at the
  15   top --
  16           A.       Uh-huh.
  17           Q.       -- and you're talking about
  18   what you received to review in this case,
  19   correct?
  20           A.       That's right.
  21           Q.       And you identify that you
  22   received a box of 58 pathology slides that
  23   was received in January of 2021, right?
  24           A.       That's right.
  25           Q.       Okay.    How long prior to --



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   1   well, when in January, approximately, did you
   2   receive the pathology slides?
   3           A.       I can't remember, but I think
   4   it could have been middle January, in the
   5   middle of January someplace -- somewhere, but
   6   I can't remember that for sure.
   7           Q.       Okay.    When prior to that did
   8   Dr. Waldum ask you to work on this case?
   9           A.       I think he mentioned something
  10   about it in November or December 2020, but I
  11   can't -- I can't remember that for sure.
  12           Q.       And how did he ask you?         Was it
  13   in person or by e-mail or what?
  14           A.       I think he probably asked me in
  15   person, but I can't remember that a hundred
  16   percent.
  17           Q.       Do you recall what he asked you
  18   to do?
  19           A.       Yes, I can't remember the
  20   details specifically, but I know he asked me
  21   to review some slides, gaining -- like he
  22   was -- I can't -- to be honest with you, I
  23   can't remember the very details about how he
  24   asked me, he basically asked me to review
  25   some slides.



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   1           Q.       And so -- okay.       And then you
   2   got the slides in January of 2021, and I
   3   think you said those were hand-delivered to
   4   you by Dr. Waldum, correct?
   5           A.       That's right.
   6           Q.       And then a couple months later
   7   you got a tissue -- got two tissue blocks,
   8   correct?
   9           A.       That's right.
  10           Q.       And did you request tissue
  11   blocks, or how did that occur?
  12           A.       Basically I was asked to look
  13   for signs of hyperplasia of neuroendocrine
  14   cells.    And you can't look for hyperplasia of
  15   neuroendocrine cells without the special
  16   stains, or the immunostains.
  17           Q.       And in order to do an
  18   additional staining, you have to have a
  19   block?
  20           A.       That's right.
  21           Q.       Who asked you to look for ECL
  22   cell hyperplasia?
  23           A.       That was Dr. Waldum.
  24           Q.       And that request, was that in
  25   writing or in person?



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   1           A.       That, I can't remember.         I
   2   think he said it in person, but I can't -- I
   3   can't guarantee that it's not in writing.              I
   4   don't remember, to be honest with you.
   5           Q.       All right.     So then did you
   6   complete the review of the January received
   7   slides before you received the tissue blocks?
   8           A.       Yes.   I was nearly done with
   9   it.    I had completed it, and then I finalized
  10   it once I had seen the tissue blocks.
  11           Q.       So you had reviewed all of the
  12   slides and made preliminary observations
  13   before you received the tissue blocks?
  14           A.       That's right.
  15           Q.       Was there anything about your
  16   review of the tissue blocks that changed your
  17   observations, having reviewed the slides the
  18   first time?
  19           A.       No, the only thing that changed
  20   was that I added the fact that there was
  21   neuroendocrine hyperplasia in the -- in the
  22   sections, but nothing else had changed.
  23           Q.       And so then after you reviewed
  24   the tissue blocks in March --
  25           A.       Uh-huh.



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   1           Q.       -- and you prepared your
   2   pathology report, which is dated April 9th of
   3   2021?
   4           A.       Yes.
   5           Q.       But I think as you told us to
   6   begin with, you were kind of developing the
   7   report as you went along?
   8           A.       Uh-huh.
   9           Q.       When you finished your report
  10   on or about April 9 of 2021, what did you do
  11   with it?
  12           A.       When I finished the report and
  13   signed it, I hand-delivered the report.              I
  14   might have sent him an e-mail with the
  15   report.      I can't remember.      But I
  16   hand-delivered the report, signed, with --
  17   with the sections.
  18           Q.       So you sent him the report
  19   along with the slides that needed to be
  20   returned?
  21           A.       That's right.
  22           Q.       And when you sent him the
  23   report, you said it was signed.
  24                    Was it a PDF, or what was the
  25   format?



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   1           A.       I think it could have been a --
   2   no, it was -- if I sent him a signed
   3   version -- no, I think I handed him the paper
   4   version that was signed, and that's what he
   5   probably scanned -- has used.           Or what you're
   6   showing me here is a scanned version of the
   7   paper format that I have signed.
   8           Q.       Okay.    And you said you may
   9   have sent him an electronic copy as well, and
  10   I was wondering if that was a PDF or --
  11           A.       That would have been -- I think
  12   it could have been a Word document.
  13           Q.       Okay.    Would it have had your
  14   electronic signature embedded or would it
  15   have been unsigned?
  16           A.       It probably would have been
  17   unsigned if I sent it.         And I don't think I
  18   had the patient identification on it, but I
  19   can't -- I can't remember the details of it.
  20           Q.       Okay.    Did Dr. Waldum contact
  21   you to discuss your written report?
  22           A.       I think he contacted me saying
  23   that he was happy I had done the work, and I
  24   can't remember discussing the findings apart
  25   from that.



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   1           Q.       Okay.    Between -- I'm sorry, go
   2   ahead.    Finish.
   3           A.       So I have informed him of my
   4   findings of neuroendocrine cell hyperplasia,
   5   but that's also in the report.
   6           Q.       And so between the time that
   7   you reviewed the slides in January and before
   8   you received the tissue block in March, and
   9   then of course thereafter you wrote your
  10   report, did you have any discussions with
  11   Dr. Waldum about what you had seen in the
  12   slides?
  13           A.       I can't remember having any
  14   discussion about it, but I can't guarantee it
  15   because it's so long ago.          But I -- well, it
  16   was a year ago.       But I also thought when I
  17   was done looking at them in January, I
  18   thought I was completed them until I realized
  19   we were getting tissue blocks.
  20           Q.       Did you have any discussions
  21   with Dr. Waldum about what would be in your
  22   report prior to writing your report?
  23           A.       I think I might have said to
  24   him -- but this is -- like I can't remember
  25   properly.     But I might have said to him that



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   1   I'm basically agreeing with the Louisiana
   2   group.    I didn't have any -- you know,
   3   anything to add to -- you know, I was
   4   basically in agreement with what they wrote.
   5           Q.       Uh-huh.    Did you tell
   6   Dr. Waldum that it was your impression that
   7   the cancer was located in the non-cardia
   8   regional?
   9                    MR. GALLANT:      Object to form.
  10   QUESTIONS BY MS. ALTHOFF:
  11           Q.       You can still answer, Doctor.
  12           A.       Okay.
  13                    With it -- as far as I
  14   remember, I didn't really discuss the
  15   location.
  16           Q.       At any time?
  17           A.       That, I can't guarantee.         I
  18   can't remember, to be honest with you, but I
  19   can't remember that being a major topic of
  20   discussion.
  21           Q.       Okay.    We've identified, you
  22   know, in this first paragraph that you
  23   received a total of 58 slides, and those came
  24   from both the EGD biopsy from September and
  25   then later the resection, the surgical



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   1   resection, correct?
   2           A.       That's right.
   3           Q.       And you later received
   4   additional slides that you now reviewed on
   5   this past Saturday, correct?
   6           A.       That's right.
   7           Q.       And was it 83 slides, again,
   8   all from the Pathology Group of Louisiana
   9   that you reviewed on Saturday?
  10           A.       Yes.
  11           Q.       And was there -- I kind of
  12   asked this, but I want to make sure I've
  13   asked it completely.
  14                    Was there anything new or
  15   different that you saw on the additional
  16   slides that were first reviewed for you on
  17   Saturday that was new or different than what
  18   you'd seen when you reviewed the initial 58?
  19           A.       No.    Because the additional
  20   slides were basically other levels from the
  21   same tissue blocks, and they didn't give
  22   extra information.
  23           Q.       So whatever observations or
  24   findings that you had as it relates to the
  25   H&E-stained slides and the HER2-stained



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   1   slides received from Pathology of Louisiana
   2   should be exactly the same as what was in
   3   your report that was appended to Dr. Waldum's
   4   report, correct?
   5                    {Audio interruption}
   6           A.       It's unstable.      Hello.     I'm
   7   back.
   8           Q.       Okay.    Did you hear my
   9   question, Doctor?
  10           A.       I missed the last part of your
  11   question.     I'm sorry.
  12           Q.       So let me reask it.
  13                    As you've identified, any new
  14   slides that you reviewed for the first time
  15   on Saturday were taken from the same
  16   locations as previous slides that you had
  17   reviewed; they were just different levels,
  18   correct?
  19           A.       That's right.
  20           Q.       And would you agree then that
  21   because they were simply different levels,
  22   that you had no new observations or findings
  23   based on those pathology slides from
  24   Louisiana Pathology from what you had in your
  25   report that we received some months ago?



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   1                    MR. GALLANT:      Well, I'm going
   2           to object to form in that, you know,
   3           you and the witness have had several
   4           long conversations about things not
   5           contained in her report that are --
   6           she's observed in these slides.           I
   7           don't know if it's the new slides or
   8           old slides, but she's expressed other
   9           opinions here today already.
  10                    So I'm just going to make that
  11           objection for the record.
  12   QUESTIONS BY MS. ALTHOFF:
  13           Q.       Did you understand my question,
  14   Doctor?
  15           A.       Can I rephrase it the way I
  16   think you mean it?
  17           Q.       Sure.
  18           A.       Okay?
  19                    So what you're asking me is,
  20   have I seen anything new in the slides that I
  21   haven't seen before.        Is that what you --
  22           Q.       Yes.    Yeah.
  23                    And particularly based on the
  24   fact that previously you only had 58 and now
  25   you have 83.



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   1           A.       Well, the remaining slides
   2   didn't add any new information.           It basically
   3   showed things I had seen before, only the
   4   levels were different.
   5           Q.       Okay.    You answered my
   6   question.     Thank you.
   7                    So in other words, had you had
   8   all 83 slides when you reviewed them back in
   9   January of 2021 instead of just 58 slides,
  10   your findings and observations would be
  11   exactly the same as what was provided to us
  12   in your report dated April 9th of 2021?
  13           A.       Yes.
  14           Q.       Let me ask you a fairly broad
  15   question, Dr. Mjønes, because this might
  16   short-circuit it a little bit.
  17                    I am going to talk to you about
  18   the -- your findings related to the slides
  19   from the EGD biopsy and then of course from
  20   the surgical resection.
  21                    But then there were a number of
  22   other slides relating to three different
  23   surgical biopsies which you have in your
  24   report, which is Exhibit 2, on pages 4 and 5.
  25           A.       Okay.    Yes.



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   1           Q.       Did those surgical biopsy --
   2   yeah, surgical -- not surgical.           But did
   3   those biopsies provide any new or different
   4   information to you with regard to your
   5   findings as it relates to Mr. Baudin's tumor?
   6           A.       No, not -- I don't think so.
   7           Q.       Do you have an understanding of
   8   the nature of those specimens, in other
   9   words, when or why they were taken?
  10           A.       No, I can't recall -- no,
  11   basically I know that the -- the biopsy
  12   marked 24887 was from the anastomotic
  13   granulation tissue biopsy.
  14           Q.       Uh-huh.
  15           A.       Yeah?
  16                    And that basically didn't give
  17   any extra information.         I don't know why it
  18   was taken.      I don't have information on that
  19   unless it's in the...
  20           Q.       And because it came from the
  21   anastomosis --
  22           A.       Yeah.
  23           Q.       -- does that tell you that it
  24   was after the surgery?
  25           A.       Yeah, that would be after the



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   1   surgery.
   2           Q.       Uh-huh.
   3                    And the other two biopsies are
   4   identified as PG-18 and then five numbers,
   5   and then the next one, PG-19 and five
   6   numbers.
   7           A.       Yes.
   8           Q.       Does that provide you any
   9   information with regard to when or why those
  10   specimens were collected?
  11           A.       Well, they were collected after
  12   the surgery, considering -- I assume that 18
  13   and 19 are the year the biopsies were taken,
  14   so they must have been taken after the
  15   surgery.     And it took me -- naturally if you
  16   have some changes in the stomach, to take a
  17   biopsy of them considering his history of a
  18   tumor.
  19           Q.       Uh-huh.
  20                    And is that fairly standard
  21   procedure, to use the last two digits of the
  22   year as those first two numbers in a biopsy
  23   identifier?
  24           A.       Yeah, it varies from country to
  25   country, I'm sure.        Like in Norway, the two



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   1   year identifiers would be at the end of the
   2   number.      You'd have the biopsy number and a
   3   slash and then the year on the end.             So it
   4   probably varies from country to country, but
   5   that's how I would interpret it.
   6           Q.       Okay.    We took a look earlier
   7   today at the last page of your report --
   8           A.       Yes.
   9           Q.       -- so page 7, which contains an
  10   image of one of the immunostained slides that
  11   you or your group made, correct?
  12           A.       That's right.
  13           Q.       And then we also looked at
  14   Exhibit 22, which was a series of images
  15   taken from slides made of the tissue block
  16   which was at site N during the surgical
  17   resection, correct?
  18           A.       So site J, not N.
  19           Q.       Excuse me.     Site N, thank -- or
  20   site J.      Thank you.
  21                    My question, though, is, do you
  22   have in your possession any other images of
  23   any pathology relating to Mr. Baudin, whether
  24   it was sort of -- the slides were created by
  25   you or whether they were created by Pathology



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   1   Group of Louisiana?
   2           A.       No.
   3                    What we do have in the
   4   department are scanned images of the sections
   5   that were -- you know, from the -- sections
   6   from the tissue blocks and the immunostains.
   7   That's what we have in our department.
   8           Q.       Okay.    And what I'm asking is,
   9   we looked through 14 images in Exhibit 22,
  10   and what I want to know is, are there any
  11   other images that we haven't looked at today?
  12           A.       No.
  13           Q.       So, you know, we're going to
  14   talk in a little bit about the copy of your
  15   report with the pink annotations --
  16           A.       Yes.
  17           Q.       -- right?
  18           A.       Uh-huh.
  19           Q.       And I'm going to mark that as
  20   an exhibit here in a minute, but I just had
  21   another question, which was, do you have any
  22   other documents or notepads or anything like
  23   that in your possession where you took notes
  24   related to your review in this -- your work
  25   in this litigation?



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   1           A.       Well, on my computer and after
   2   when I looked at Voltaggio's report, I
   3   probably have highlighted some -- I
   4   highlighted a couple of, you know, note boxes
   5   on those, but I don't have them here.
   6           Q.       Okay.    So you have an
   7   annotated, if you will, copy of
   8   Dr. Voltaggio's report?
   9           A.       That's right.
  10           Q.       Do you have any other like --
  11   like almost like an index of every one of the
  12   slides you reviewed and any comments about
  13   your observations, other than what has been
  14   included in your annotated report?
  15           A.       No.
  16                    MS. ALTHOFF:      Can we go off for
  17           just a minute?      I think I need to grab
  18           some water.      Let's go off the record.
  19                    MR. GALLANT:      Sure.
  20                    VIDEOGRAPHER:      Off record,
  21           12:31 p.m.
  22            (Off the record at 12:31 p.m.)
  23                    VIDEOGRAPHER:      On record,
  24           12:32 p.m.
  25




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   1   QUESTIONS BY MS. ALTHOFF:
   2           Q.       Dr. Mjønes, are there any other
   3   documents relating to any of the work that
   4   you've done in this matter that contain notes
   5   or annotations of any kind?
   6           A.       Not that I'm aware of.
   7           Q.       I know you've told us that
   8   Dr. Waldum asked you to do this pathologic
   9   review.
  10                    Did anyone else direct your
  11   work?
  12           A.       No.
  13           Q.       We looked at an e-mail earlier
  14   today which was Exhibit 14, which we don't
  15   have to bring it up right now, but that was
  16   the one titled "Travel Expenses and Work
  17   Invoice" and discussed the $400 per hour?
  18           A.       Yes.
  19           Q.       And that e-mail is dated
  20   November 15th of 2021.
  21           A.       Uh-huh.
  22           Q.       Prior to that time, did you
  23   have any idea that you were going to be paid
  24   for this work?
  25           A.       I had an understanding of it.



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   1           Q.       Okay.    When did you first have
   2   that understanding?
   3           A.       When I was asked to do it,
   4   probably.
   5           Q.       And who did you understand
   6   would be paying you to do the work?
   7           A.       Well, I would have -- Waldum
   8   would have been told that it would be paid
   9   by -- by the company, the -- Restaino and
  10   Gallant.
  11           Q.       Okay.    Did you have an
  12   understanding that you would be paid directly
  13   or that you would be paid through Dr. Waldum?
  14           A.       That, I don't know.        I didn't
  15   know that.
  16           Q.       And again, it was Dr. Waldum --
  17   between Dr. Waldum and you that decided the
  18   25 hours and the $400 per hour, correct?
  19                    MR. GALLANT:      Object to form.
  20                    You can answer.
  21                    THE WITNESS:      Okay.
  22                    Well, basically, it was going
  23           back trying -- trying to work out the
  24           hours, and then it -- it didn't have
  25           specific times and hours written up,



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   1           so that's how we -- basically -- how
   2           can I say it?      I was trying to
   3           remember how many hours I had spent on
   4           it by thinking of when I did the work.
   5                    And I did the work during a
   6           week where I didn't have normal
   7           diagnostic routine, so that's how I
   8           kind of got to -- got to the result of
   9           the hours.
  10   QUESTIONS BY MS. ALTHOFF:
  11           Q.       Okay.
  12           A.       If that makes sense.
  13           Q.       It sounds like most of these
  14   discussions about you doing the work and how
  15   much and how much time were going through
  16   Dr. Waldum; is that accurate?
  17           A.       That's right.
  18           Q.       So you weren't having these
  19   direct discussions with Mr. Restaino or
  20   Mr. Gallant or anyone else representing
  21   Mr. Baudin?
  22           A.       No.
  23           Q.       Do you recall when the first
  24   time was that you yourself had any written
  25   correspondence or talked to one of the



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   1   lawyers?
   2           A.       That would have been not that
   3   long ago.     I can't remember any details and I
   4   can't remember exact dates, but I talked to
   5   John through e-mail --
   6                    MR. GALLANT:      And I'm just
   7           going to object again.         If -- you
   8           know, and direct you not to discuss
   9           things you discussed with
  10           Mr. Restaino.
  11                    In terms of when you were
  12           contacted, if you can recall that,
  13           that is appropriate.
  14                    THE WITNESS:      Yeah.
  15   QUESTIONS BY MS. ALTHOFF:
  16           Q.       So I think you were telling me
  17   when you were communicating with
  18   Mr. Restaino.
  19                    So do you want me to reask the
  20   question?
  21           A.       Yes, please.
  22           Q.       Okay.    Let me ask it this way.
  23                    When was the first time, and an
  24   approximate date is fine, that you
  25   communicated in writing with Mr. Restaino,



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   1   Mr. Gallant or anyone else on behalf of
   2   Mr. Baudin?
   3           A.       I actually don't know if I'd be
   4   able to give you an exact date because I
   5   can't remember, but it -- I would say maybe a
   6   few -- a few weeks back.
   7           Q.       And when was the first time
   8   that you talked with anyone representing
   9   Mr. Baudin, that being Mr. Restaino,
  10   Mr. Gallant or anyone else?
  11           A.       Well, in relation to this case,
  12   it's been during the last week.
  13           Q.       Have you talked with any of
  14   these lawyers with regards to other cases in
  15   litigation?
  16           A.       No.
  17           Q.       Well, I guess while we're on
  18   the topic of this, when was the last time
  19   that you talked to Dr. Waldum?
  20           A.       I talked to him -- trying to
  21   think.    It was a couple of days ago maybe.
  22           Q.       So today is Monday.
  23                    Did you talk to him over the
  24   weekend?
  25           A.       No, not during the weekend.          I



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   1   think the last time I talked to him was
   2   Thursday or Friday before I got the slides.
   3           Q.       And you haven't talked to him
   4   since you got the slides back?
   5           A.       No, I haven't discussed the
   6   slides with him.
   7           Q.       And so I assume then Dr. Waldum
   8   wasn't in on any of the meetings that you had
   9   this weekend?
  10           A.       No.
  11           Q.       So going back to Exhibit 2,
  12   let's pull that up and make sure we have
  13   that.    And this is your report that we
  14   received which was dated April 9th of 2021.
  15           A.       Uh-huh.
  16           Q.       As you sit here today -- and
  17   again, we'll look at those annotations.              But
  18   do you have any changes to this report or is
  19   this your final report?
  20           A.       So this is my final report.
  21           Q.       With regard to the re-review of
  22   the pathology that was conducted this last
  23   Saturday, did you request to see the slides
  24   again, or how did that come about?
  25           A.       I don't remember exactly how,



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   1   but basically I said that it's more than a
   2   year since I've seen the slides, so I can't
   3   remember the fine details of every slide.
   4                    And also when I saw the
   5   pictures from Voltaggio -- Voltaggio, I
   6   thought it would be -- you know, to remember,
   7   recall what I've seen, it would only be fair
   8   to see them again.
   9                    So, you know, I didn't ask for
  10   them, but I was offered them.           They said they
  11   were coming along.
  12           Q.       Have you been asked to be an
  13   expert witness in this case?
  14           A.       No.
  15           Q.       Have you advised anyone that
  16   you will not be an expert witness?
  17           A.       Would you please rephrase the
  18   question?
  19           Q.       Sure.
  20                    Have you told anyone that you
  21   do not want to be an expert witness?
  22           A.       Well, I've said that I'm not --
  23   I wouldn't like to be in a situation where I
  24   have to -- having a deposition like you're
  25   having now.



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   1           Q.       Okay.    All right.     Have you
   2   been asked to testify at the trial in the
   3   United States?
   4           A.       Not directly, no.
   5           Q.       When you say "not directly,"
   6   that's always going to prompt me to ask you,
   7   what do you mean by that?
   8           A.       Well, I have been told that it
   9   would be a court case, not -- I'm being told
  10   that afterwards.        But I've been under the
  11   impression that I wouldn't have to be
  12   deposed.     So I didn't think it would be
  13   relevant for me.
  14           Q.       Has anyone told you that you
  15   will not have to testify at trial?
  16           A.       Well, I kind of got that
  17   impression, that I wouldn't have to.
  18           Q.       Have you ever been to the
  19   United States?
  20           A.       Yes.
  21           Q.       Okay.    Have you reached any
  22   opinion, Dr. Mjønes, with regard to whether
  23   Mr. Baudin's PPI use caused or contributed to
  24   any adverse medical condition that he has
  25   experienced?



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   1           A.       Sorry, could you please
   2   rephrase it?      No, not rephrase it, repeat it.
   3   Sorry.
   4           Q.       Sure.
   5                    Have you reached any opinion
   6   with regard to whether Mr. Baudin's proton
   7   pump inhibitor use caused or contributed to
   8   any adverse medical condition that he has
   9   experienced?
  10           A.       The only thing is that I --
  11   when you have hypergastrinemia, which can be
  12   caused by proton pump inhibitors, that can
  13   cause hyperplasia in neuroendocrine cells.
  14                    But apart from that, I don't
  15   have any opinion.
  16           Q.       Okay.    And you saw, when you
  17   looked at some of the specimens -- and in
  18   particular we're talking about specimen J --
  19           A.       Yes.
  20           Q.       -- and stained it for
  21   neuroendocrine markers, you saw what you
  22   believed to be hyperplasia of the
  23   neuroendocrine cells there, correct?
  24           A.       That's right.
  25           Q.       And I guess -- so let me ask --



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   1   and are you -- well, strike that.
   2                    Do you consider hyperplasia to
   3   be an adverse medical condition, ECL cell
   4   hyperplasia?
   5           A.       Well, if you have -- have it
   6   over time, it can eventually develop into a
   7   neuroendocrine tumor.
   8           Q.       Do you -- is it your opinion
   9   that ECL cell hyperplasia more likely than
  10   not leads to a neuroendocrine tumor?
  11           A.       It may lead to that, but it
  12   doesn't always lead to that.
  13           Q.       Do you have any opinion in this
  14   case as to whether Mr. Baudin's ECL cell
  15   hyperplasia had led to any type of
  16   neuroendocrine tumor?
  17           A.       He didn't have a neuroendocrine
  18   tumor, so it didn't lead to that in this
  19   case.
  20           Q.       Okay.    Do you have any opinions
  21   about whether his ECL cell hyperplasia that
  22   you saw in specimen J will more likely than
  23   not lead to a neuroendocrine tumor in
  24   Mr. Baudin?
  25           A.       That, I can't -- that's



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   1   impossible for me to say.
   2           Q.       That would require you to
   3   speculate?
   4           A.       Yeah, and I can't -- I can't
   5   answer that question.
   6           Q.       And just to be clear, why can't
   7   you answer that question?
   8           A.       Well, I -- I mean, it takes
   9   many -- it can take some years for a -- the
  10   hyperplasia to develop into a tumor like
  11   that.    So I don't know.       I can't speculate
  12   what will happen to him.
  13           Q.       And it's your understanding
  14   that in -- even as you see it, in not all
  15   cases does ECL cell hyperplasia lead to a
  16   neuroendocrine tumor in humans?
  17           A.       Not in -- not in all cases.
  18   Usually you could have some other factors
  19   contributing.
  20           Q.       Okay.    What do you mean by
  21   that?
  22           A.       Well, if you -- so if you have
  23   mutation, for example, in the MEN1 gene, for
  24   example, that would be an additional factor.
  25   But -- but that could lead to a tumor.



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   1                    But I don't know if it would --
   2   would develop into a tumor in his case.
   3   That, I don't know.        But if it -- if it --
   4   continues to take it over a long time, who
   5   knows.    It could.
   6           Q.       Do you know whether Mr. Baudin
   7   had the genetic mutation of MEN1?
   8           A.       No.   I don't --
   9           Q.       Do you know -- do you know
  10   whether he's been tested for it?
  11           A.       That, I don't know.
  12           Q.       And is there a clinical test
  13   for that gene alteration?
  14           A.       Yeah, I'm sure there are ways
  15   to test for it.
  16           Q.       So again, just to be clear, as
  17   it relates to Mr. Baudin, it is not your
  18   opinion that the ECL cell hyperplasia that
  19   you saw in specimen J will lead to a
  20   neuroendocrine tumor for Mr. Baudin?
  21                    MR. GALLANT:      Object to form.
  22                    You can answer.
  23                    THE WITNESS:      Yeah.
  24                    No, I don't know if it could
  25           lead to that or not.        I mean, if it



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   1           continues -- if he continues to take
   2           something that causes -- causes
   3           hyperplasia of the neuroendocrine
   4           cells, eventually, you know, it could
   5           become a tumor.
   6                    But if he stopped taking
   7           whatever causes the hyper -- causes
   8           the hyperplasia of the neuroendocrine
   9           cells, then maybe not.         I don't know.
  10   QUESTIONS BY MS. ALTHOFF:
  11           Q.       Let's say he doesn't stop
  12   taking a proton pump inhibitor and continues
  13   to take it.
  14                    Is it your opinion that he will
  15   develop a neuroendocrine tumor from the ECL
  16   cell hyperplasia?
  17           A.       Well, in theory over a long
  18   time, he could.
  19           Q.       Well, again, is it your opinion
  20   that it could or it will?
  21           A.       It could.
  22           Q.       And since your opinion is it
  23   could, you've also -- well, did we lose her
  24   again?
  25           A.       No, I'm here.



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   1                    MR. GALLANT:      We're here.
   2                    MS. ALTHOFF:      Okay.    We lost
   3           video for a second.        Okay.
   4   QUESTIONS BY MS. ALTHOFF:
   5           Q.       So since it's your opinion that
   6   taking PPIs -- continuing to take PPIs over a
   7   long time could cause Mr. Baudin to develop a
   8   neuroendocrine tumor from his ECL cell
   9   hyperplasia, is it also your opinion that it
  10   may not?
  11           A.       I don't know.      I can't predict
  12   the future.
  13           Q.       Do you plan to offer any
  14   testimony in this case, Dr. Mjønes, with
  15   regard to rebound acid hypersuppression?
  16           A.       No.
  17           Q.       Maybe I should have asked this
  18   at the very beginning, Dr. Mjønes, but you've
  19   never met me or any of the other lawyers on
  20   this call other than Mr. Gallant and
  21   Mr. Restaino; is that correct?
  22           A.       That's correct.
  23           Q.       And you've never been retained
  24   by me or worked with anybody from my law
  25   firm, which is Ice Miller, or anyone from



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   1   Arnold & Porter; is that correct?
   2           A.       That's correct.
   3           Q.       You talked about having
   4   reviewed, of course, Lysandra Voltaggio's
   5   expert report.
   6                    Have you reviewed any expert
   7   reports from any other experts either for the
   8   plaintiff or for -- from AstraZeneca?
   9           A.       No.
  10           Q.       Let's talk for a minute about
  11   the additional staining again that you did on
  12   Dr. -- on Mr. Baudin's two tissue blocks, one
  13   being from the cancer biopsy and then the
  14   other one being from section J of the
  15   resection, which was not from the tumor site.
  16           A.       Uh-huh.
  17           Q.       You used two different stains,
  18   and tell us again what those were.            CGA
  19   and --
  20           A.       Synaptophysin.
  21           Q.       And I think you told us that
  22   these are both stains that are used to
  23   identify neuroendocrine cells?
  24           A.       That's right.
  25           Q.       In terms of your clinical



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   1   practice there in Trondheim, with what
   2   frequency and in what situations do you use
   3   this -- these stains?
   4           A.       We use these stains to confirm
   5   if you have a neuroendocrine tumor, which is
   6   usually based on the morphological appearance
   7   of the tumor.      And then if you suspect it's a
   8   neuroendocrine tumor, you would do those
   9   stains to confirm it.
  10                    In certain situations you can't
  11   be completely sure that it's neuroendocrine
  12   tumor, but you have morphology or changes
  13   that would give you suspicion of it.             Then
  14   you'd also do synaptophysin and chromogranin
  15   A to confirm it.
  16                    In some conditions, such as
  17   auto and chronic atrophic gastritis, where
  18   you also -- one of the findings in that
  19   situation, you have hyperplasia of
  20   neuroendocrine cells, you'd also do those
  21   stains to confirm hyperplasia of
  22   neuroendocrine cells or a neuroendocrine
  23   tumor.
  24           Q.       Okay.    With regard to
  25   Mr. Baudin's tumor, in the ordinary clinical



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   1   course, given that you have identified it as
   2   an intramucosal adenocarcinoma, would you
   3   order the additional stains?
   4           A.       I wouldn't normally order it on
   5   the tumor itself, not based on the appearance
   6   of this tumor, but we would do -- like if we
   7   had any reason to believe that it could be
   8   hyperplasia of neuroendocrine cells, we would
   9   do it on the normal tissue if there was an
  10   indication for it.
  11           Q.       In this particular instance, if
  12   you had received again Mr. Baudin's specimens
  13   in the ordinary course of your work in
  14   Trondheim, would you have ordered the
  15   additional stains?
  16           A.       I probably wouldn't have, but
  17   if I had -- if a clinician asked me if there
  18   were -- sometimes we get biopsy samples where
  19   they ask if there's presence of -- if you
  20   have hyperplasia of neuroendocrine cells.
  21   Then I do the stain because it's not -- you
  22   can't see if it's hyperplasia of
  23   neuroendocrine cells in the normal --
  24   normal-looking oxyntic mucosa.
  25           Q.       And in the sending of an



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   1   intramucosal adenocarcinoma --
   2           A.       Uh-huh.
   3           Q.       -- what difference would
   4   staining with these additional immunostains
   5   for neuroendocrine cells make in your
   6   diagnosis?
   7           A.       In this particular case they
   8   wouldn't make any difference in the
   9   diagnosis.
  10           Q.       So would you agree that the
  11   fact that the original ordering pathologist
  12   did not order these type of additional stains
  13   for neuroendocrine cells was within the
  14   standard of care?
  15           A.       Yeah, that -- that -- if I
  16   understand you right, I don't think it was
  17   anything wrong that they didn't order them.
  18   I think that's fair.
  19           Q.       Okay.    So simultaneously, you
  20   would also agree that the classification as
  21   an intramucosal adenocarcinoma could be made
  22   upon H&E-stained slides only?
  23           A.       Yes.    And -- of the tumor, yes.
  24           Q.       With regard to Baudin's gastric
  25   cancer, what, if anything, did the additional



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   1   stains on the tumor site, biopsy site and the
   2   specimen J provide to your diagnosis of
   3   findings in this case?
   4           A.       What it provided me?
   5           Q.       Uh-huh.
   6           A.       Well, it gave the additional
   7   information that there was neuroendocrine
   8   cell hyperplasia.       You wouldn't have seen
   9   that without doing those stains.
  10                    You see in Voltaggio's report
  11   as well.     She didn't see them without seeing
  12   the stains either.
  13           Q.       Right.
  14                    And my question is, what did
  15   seeing those neuroendocrine cells on these
  16   additional stains -- what, if any,
  17   information did that provide for you with
  18   regard to Mr. Baudin's diagnosis?
  19           A.       No, they don't give any
  20   additional information with regard to his
  21   tumor diagnosis.
  22           Q.       Does the -- did those stained
  23   slides provide you with any other information
  24   with regard to the cause of Mr. Baudin's
  25   intramucosal adenocarcinoma?



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   1           A.       No, not to the carcinoma
   2   itself.
   3           Q.       Did the presence -- you know,
   4   the stain work that you did, did it provide
   5   any information with regard to the tumor
   6   location?
   7           A.       No.
   8           Q.       Did the additional staining
   9   provide any information to -- or additional
  10   information to you with regard to
  11   Mr. Baudin's prognosis from the gastric
  12   cancer?
  13           A.       No.
  14           Q.       Typically when you are looking
  15   at slides in your clinical practice, do you
  16   typically have corresponding and correlating
  17   clinical information with regard to the
  18   patient?
  19           A.       Yes, I do.
  20           Q.       Do you typically have more
  21   information about the clinical picture of the
  22   patient than you did here for Mr. Baudin when
  23   you first reviewed his slides?
  24           A.       Well, typically when we get
  25   preparation sent to us, we get information



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   1   from the clinicians.        If we don't find the --
   2   find the information enough, we go into the
   3   patient journal to see if we can find
   4   additional information to help us along, to
   5   give us an answer.
   6           Q.       I maybe should have asked this
   7   a little bit better.        Here's a better
   8   question.
   9                    Before you finalized your
  10   report, which is Exhibit 2 we're looking at
  11   here on the screen --
  12           A.       Yes.
  13           Q.       -- did you have the same level
  14   of clinical information that you typically
  15   have when you review pathology slides in your
  16   normal clinical practice?
  17           A.       Yeah.    I would say it's quite
  18   similar.     I just have to -- I'm just going to
  19   look very quickly.
  20           Q.       Sure.
  21           A.       I probably have -- we might
  22   have a little bit more information, actually.
  23   But we usually have a little section where
  24   the -- where the surgeon could say where the
  25   tissue is from and why it's removed and what



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   1   type of preparation we got, which isn't
   2   completely obvious to me -- wait again.
   3                    Yeah.    So what I -- what we
   4   have on this -- these reports are basically
   5   the gross description of the -- of the things
   6   and not necessarily that much information
   7   from the surgeons that did the operation.
   8           Q.       Right.
   9                    So typically when you are
  10   looking at specimens in your ordinary
  11   clinical practice that would be similar to
  12   the types of specimens you were looking at
  13   with Mr. Baudin, would you typically know,
  14   for instance, where the surgeon or
  15   endoscopist identified the tumor in situ?              So
  16   in place?
  17           A.       Well, if they think they know
  18   where it is, they let you know.           Like, for
  19   instance, if they send you a specimen
  20   similar -- similar to this where the tumor is
  21   located in the junction, they would let you
  22   know that there's a tumor situated in the
  23   junction.     Or they'd usually tell you where
  24   they think the tumor is, and then you do your
  25   own examination and see if it correlates with



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   1   their -- with what they said.
   2           Q.       And you had less information
   3   about that in this particular review?
   4           A.       Yes.
   5           Q.       And typically when you are
   6   looking at pathology slides from a patient
   7   similar to Mr. Baudin, would you typically
   8   know what their past history was in the sense
   9   of, you know, whether they had GERD or
  10   Barrett's or other gastrointestinal diseases?
  11           A.       Quite often they give it most
  12   relevant information in -- in the -- you
  13   know, they have a little note where they
  14   write what -- the reason for sending the
  15   preparation.      Like a clinical note.         And
  16   normally they give you the most relevant
  17   information there but not necessarily.             It's
  18   varies from surgeon to surgeon.
  19           Q.       And so is that here what you
  20   would equate to what was included -- we look
  21   at, again, Exhibit 3, page 2.           And you look
  22   at the very top there, it says, "Clinical
  23   data, gastric adenocarcinoma."
  24                    Do you see that?
  25           A.       Yes.



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   1           Q.       And -- go ahead.
   2           A.       Yeah, we normally have little
   3   bit more information than that in the
   4   clinical data.
   5           Q.       Yeah.
   6                    Having additional clinical
   7   data, would that have been helpful to your
   8   analysis the first time you looked at the
   9   slides?
  10           A.       Probably, yes.
  11           Q.       Do you know whether Mr. Baudin
  12   had ever been diagnosed with H. pylori
  13   infection?
  14           A.       No.   I think they did staining
  15   for it.
  16           Q.       And the staining that they did
  17   for H. pylori, would it show infection that
  18   had been treated in the past?
  19           A.       Not if they got -- got rid of
  20   it completely.
  21           Q.       And would you agree that even
  22   an eradicated H. pylori infection remains a
  23   risk factor for gastric cancer?
  24                    MR. GALLANT:      Object to the
  25           form.



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   1   QUESTIONS BY MS. ALTHOFF:
   2           Q.       You can still answer.
   3           A.       Sorry.
   4                    It depends on how much damage
   5   the pylori has done to the mucosa.            I'd say
   6   if it has caused atrophy of the stomach and
   7   things, it would be more related to gastric
   8   cancer than if it was treated early on.              But
   9   I wouldn't be able to answer that properly --
  10   well enough for you.
  11           Q.       Do you know whether or not
  12   H. pylori is the most common cause currently
  13   of gastric cancer?
  14           A.       Yeah, I know that.
  15           Q.       Do you have an understanding,
  16   Dr. Mjønes, as to the nature and extent of
  17   Mr. Baudin's gastroesophageal reflux disease?
  18           A.       No, I don't know many details
  19   about that.
  20           Q.       Do you have any information
  21   with -- well, strike that.
  22                    I assume you're aware because
  23   of this -- the pathology reports that
  24   Mr. Baudin had a hiatal hernia?
  25           A.       Yes.



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   1           Q.       Do you know how extensive that
   2   hiatal hernia was?
   3           A.       I think I read in -- read that
   4   it was 50 percent of the stomach was in the
   5   thoracic region.
   6           Q.       Do you know how long Mr. Baudin
   7   had suffered from that condition?
   8           A.       I think it was something about
   9   it in Voltaggio's report, but I can't
  10   remember exactly what it said.
  11           Q.       Do you have an understanding of
  12   whether Mr. Baudin suffered from obesity?
  13           A.       No, that I don't know anything
  14   about.
  15           Q.       And do you know whether or not
  16   Mr. Baudin had ever suffered from peptic
  17   ulcer disease or NSAID ulcers?
  18           A.       No, I don't know.
  19                    (Mjønes Exhibit 4A marked for
  20           identification.)
  21   QUESTIONS BY MS. ALTHOFF:
  22           Q.       Let's go for a moment to
  23   Exhibit 4A, Jeff.
  24                    I'm showing you what's been
  25   marked, and I know at little hard to read, as



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   1   Exhibit 4A.      And this is a two-page document,
   2   Dr. Voltaggio {sic}.        Do you --
   3   Dr. Voltaggio.       Dr. Mjønes.
   4                    Do you recognize the substance
   5   of this document?
   6           A.       No, it doesn't look familiar to
   7   me.
   8           Q.       If you look at the operative
   9   procedure, it's about halfway down, do you
  10   see where it says, "Esophagogastroduodenoscopy
  11   with multiple biopsies"?
  12           A.       Yes.
  13           Q.       Have you seen this EGD report
  14   for Mr. Baudin from 9/12/2017 prior to today?
  15           A.       I saw a report last night that
  16   was from -- but I don't think -- I can't
  17   remember if this is the exact one.
  18           Q.       This one is from September
  19   of 2017.     This is the EGD where if you read
  20   down through it they took the biopsy which
  21   was then diagnosed as the intramucosal
  22   adenocarcinoma.
  23                    Have you seen this report?          Is
  24   this the same one you saw?
  25           A.       I think it's the operative one



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   1   I saw, but I can't remember exactly --
   2           Q.       Okay.
   3           A.       -- if it is the same.
   4           Q.       Let's take a look at
   5   Exhibit 4B.      We'll come back to 4A.
   6           A.       Uh-huh.
   7                    (Mjønes Exhibit 4B marked for
   8           identification.)
   9   QUESTIONS BY MS. ALTHOFF:
  10           Q.       Handing you what's been marked
  11   as Exhibit 4B to your deposition, Dr. Mjønes,
  12   this is the operative note dated 10/5/2017
  13   for Mr. Baudin.
  14                    Do you see that?
  15           A.       Yes.
  16           Q.       And have you seen this exhibit
  17   prior to today?
  18           A.       I think that's maybe the one
  19   I've seen.      I don't think I've seen the
  20   previous one, but I might have seen that one.
  21   Yeah.
  22           Q.       You saw this for the first time
  23   yesterday?
  24           A.       Yes.
  25           Q.       Where did you get it from?



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   1                    MR. GALLANT:      Object to form.
   2           And I'm going to object on privilege.
   3           You're seeking to learn about
   4           communications with --
   5   QUESTIONS BY MS. ALTHOFF:
   6           Q.       All right.     Let me ask a
   7   different question.
   8                    Did you receive a copy of
   9   Exhibit 4B or a substantially similar
  10   document from Dr. Waldum?
  11           A.       No.
  12           Q.       What if anything of
  13   significance did you take from the
  14   information contained in Exhibit 4B that you
  15   looked at last night?
  16           A.       The fact that the polyps were
  17   3 centimeters distal from the gastric --
  18   gastroesophageal junction, yeah.
  19           Q.       And that's the same information
  20   that you had seen in Dr. Voltaggio's report,
  21   right?
  22           A.       That's right.
  23           Q.       Do you disagree that
  24   3 centimeters from the GE junction can
  25   geographically be the cardia region?



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   1           A.       I'd say it's -- it's likely
   2   distal to the cardia.
   3           Q.       What do you consider to be the
   4   largest -- or the furthest distal from the
   5   ECG junction that you can have the cardia?
   6           A.       It's hard to put an exact
   7   number, but usually -- usually it's been --
   8   it's been thought of to be 1 to
   9   2 centimeters, but it kind of -- the
  10   understanding now is probably narrower.
  11                    And in Baudin's case, the
  12   cardiac mucosa, as I showed you on the
  13   slides -- you actually see the cardiac
  14   mucosa.      It's only 0.6 centimeters or
  15   1 millimeter.      It's not that big.
  16                    So based on what I see on his
  17   sections, in his case I highly doubt that his
  18   cardia region is 2 centimeters.
  19           Q.       Okay.    So just to recap for a
  20   moment, you are comfortable you saw the
  21   substance of Exhibit 4B, which is the
  22   operative note, yesterday, but you're not
  23   sure whether you saw Exhibit 4A, which was
  24   the operative note from the EGD dated
  25   9/12/17; is that right?



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   1           A.       That's right.      I can't remember
   2   seeing that one because of the format.             No, I
   3   can't -- I can't remember seeing the
   4   endoscopy report.
   5           Q.       Let's go back to 4A.
   6           A.       Uh-huh.
   7           Q.       And again, if you look at the
   8   procedure in detail -- let's blow that up a
   9   little bit towards the bottom of the first
  10   page, Jeff.
  11           A.       Yeah.
  12           Q.       And looking at that last
  13   section, which I'll tell you take a look at,
  14   would you -- my question will be, could you
  15   agree with me the endoscopist identified
  16   Barrett's -- changes consistent with
  17   Barrett's at the GE junction?
  18           A.       I can see that he says that,
  19   but you can't diagnose Barrett's without
  20   histology.
  21           Q.       How does Barrett's appear on
  22   EGD?
  23           A.       On histology?
  24           Q.       No.
  25                    How would Barrett's appear to



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   1   an endoscopist visually?
   2           A.       Well, visually -- like the
   3   esophagus would visually have a whitish gray
   4   surface, while glandular mucosa will
   5   typically have a salmon-colored mucosa.              Or
   6   surface.     So in Barrett's, you know, where --
   7   in case where they suspect -- {audio
   8   interruption}
   9                    Hello.    Did you hear anything
  10   at all that I said?
  11           Q.       No.
  12                    You were describing how a --
  13   how Barrett's would appear to an endoscopist,
  14   and you were saying, so in Barrett's, and
  15   then it --
  16           A.       For one thing, I'm not an
  17   endoscopist, but from clinicians showing me
  18   how it looks like, a normal squamous -- so,
  19   you know -- the mucosa of a squamous
  20   epithelium would typically look more whitish
  21   gray, while the mucosa in cases of Barrett's
  22   would typically be more salmon-colored.
  23                    But the salmon-colored mucosa
  24   would tell you that it's columnar epithelium
  25   there, but it won't tell you whether it's



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   1   goblets cells there or not.
   2           Q.       And from your -- I'm sorry, go
   3   ahead.
   4           A.       So in order to diagnose
   5   Barrett's, you'd have to have the goblet
   6   cells present.
   7           Q.       We can take that one down.
   8                    Let's go back to that, sorry,
   9   Exhibit 4A just for a minute.           In particular,
  10   page 2.
  11           A.       Uh-huh.
  12           Q.       So again, we're continuing on
  13   page 2 with the procedure detail.            And if you
  14   look at paragraph 3, or the second full
  15   paragraph here --
  16           A.       Yes.
  17           Q.       -- does the endoscopist
  18   identify that he visualized Barrett's
  19   esophagus again for a second time when he's
  20   coming sort of back up through the esophagus?
  21           A.       Where does it say -- where do
  22   you see?
  23           Q.       Yeah.    So I was -- the second
  24   paragraph from the bottom.
  25           A.       I see it.     I see it.     Yeah,



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   1   sorry.
   2                    "We carefully removed the scope
   3   and quickly visualized the remainder of the
   4   GE junction," and then noticing -- "again
   5   noticing the Barrett's esophagitis changes at
   6   the gastroesophageal junction and mild
   7   esophagitis."
   8                    Yeah.    I see that he writes
   9   that.
  10           Q.       Okay.    I'm done with that.
  11                    As we were just going through
  12   that EGD report and the surgical report,
  13   Doctor -- and you mentioned that you're not
  14   an endoscopist, correct?
  15           A.       That's right.
  16           Q.       And you're not a
  17   gastroenterologist either, correct?
  18           A.       That's right.
  19           Q.       Or an oncologist?
  20           A.       No.
  21           Q.       Do you consider yourself a
  22   cellular biologist?
  23           A.       No, I'm not a cellular
  24   biologist.      I'm a pathologist.
  25           Q.       And do you limit your area of



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   1   specialty to pathology?
   2           A.       Yes.
   3           Q.       Do you yourself regularly
   4   review epidemiology or issue opinions on that
   5   topic?
   6           A.       No.
   7           Q.       All right.     Let's go back to
   8   Exhibit 2, which is your report.
   9                    MR. GALLANT:      And we've been
  10           going about an hour and 15 minutes,
  11           and I just want to check with the
  12           witness.
  13                    Would you like a break, or do
  14           you want to keep going?
  15                    THE WITNESS:      I can go on for a
  16           little while.
  17                    MR. GALLANT:      Okay.
  18   QUESTIONS BY MS. ALTHOFF:
  19           Q.       All right.     Let's talk about
  20   your microscopic examination of the slides
  21   from the biopsy, which has been identified as
  22   PG-17-18840.
  23                    Again, this is the polypectomy
  24   that was done during the initial EGD, right?
  25           A.       Yes.



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   1           Q.       So this section on microscopic
   2   examination, there's not a similar section in
   3   the Louisiana Pathology report; is that
   4   correct?
   5           A.       Yes, that's right.
   6           Q.       All right.     So in other words,
   7   there's not this discussion of number of
   8   nuclei and size and shape and things like
   9   that, correct?
  10           A.       No.    That's just the way I do
  11   my reports at home.
  12           Q.       Well, that's what I was going
  13   to ask you.
  14                    Is this your custom and
  15   practice for the reports that you do in your
  16   clinical practice?
  17           A.       Yes.    I describe what I see and
  18   then come to a conclusion.
  19           Q.       And one of the conclusions that
  20   you reached based on your observations was
  21   that this was an intestinal pathological
  22   variant of gastric cancer; is that correct?
  23           A.       Adenocarcinoma of intestinal
  24   type, right.
  25           Q.       And in the microscopic



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   1   examination, are you generally describing
   2   features of intestinal-type gastric cancer?
   3           A.       I'm describing the features of
   4   the adenocarcinoma of the intestinal type,
   5   yes.
   6           Q.       So, for instance, when you
   7   discuss the villous and tubulovillous
   8   extensions lined by dysplastic epithelium, is
   9   that a feature of intestinal-type gastric
  10   cancer?
  11           A.       Those are features you can see
  12   in those cases, yes.
  13           Q.       Were there any features that
  14   were listed in your microscopic examination
  15   which would not be seen in the intestinal
  16   type of adenocarcinoma?
  17           A.       No.
  18           Q.       Can you tell me what you were
  19   conveying with the term "villous and
  20   tubulovillous extensions"?
  21           A.       Well, basically like when you
  22   say villous, it's kind of a little bit more
  23   like finger-like projections, and tubular is
  24   kind of the glands forming sections.
  25                    So it --



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   1           Q.       Is --
   2           A.       Sorry.    Yeah, keep going.
   3           Q.       No, you go ahead.
   4           A.       No, I was done.
   5           Q.       Are you describing a feature
   6   where the stomach starts to look like the
   7   small bowel?
   8           A.       Well, kind of, yes.        Well,
   9   it's -- yeah.
  10           Q.       And again, you would have seen
  11   what you're talking about here in one of
  12   those six slides, but more particularly in
  13   one of the four H&E-stained slides, correct?
  14           A.       Could you repeat --
  15           Q.       Yeah, that was a bad question.
  16                    So when you talk about this
  17   microscopic examination in which you saw
  18   lobulated polypoid tissue with both villous
  19   and tubulovillous extensions and then
  20   everything on down, you would have seen this
  21   in one of those four H&E-stained slides with
  22   the identifier PG-17-18840?
  23           A.       That's right.      I've seen them
  24   in most of those slides because they were
  25   different levels from the same tissue block.



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   1                    (Mjønes Exhibit 5 marked for
   2           identification.)
   3   QUESTIONS BY MS. ALTHOFF:
   4           Q.       Uh-huh.
   5                    Okay.    Can we pull up
   6   Exhibit 5, please?
   7                    And, Dr. Mjønes, I'm handing
   8   you what's been marked as Exhibit 5 to your
   9   deposition.      And this is the report of
  10   Lysandra Voltaggio that I think you said you
  11   have reviewed.
  12           A.       Yes.
  13           Q.       And do you recall that a number
  14   of pages at the back of her report were
  15   Mr. Baudin's pathology images?
  16           A.       Yes.
  17           Q.       All right.     Let's turn to
  18   page 34.
  19           A.       Uh-huh.
  20           Q.       And would you agree with me
  21   that pages 34, 35, 36 and 37 all depict
  22   slides from the EGD?
  23           A.       Yes.    No, not EGD.     Sorry.
  24   They are slides from -- from -- from the
  25   biopsy.



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   1           Q.       Yeah, I'm sorry, that was
   2   not -- the biopsy taken during the EGD is
   3   what I meant.
   4           A.       Yes.
   5           Q.       Okay.    So looking at page 34.
   6           A.       Uh-huh.
   7           Q.       From that magnification of the
   8   slide, can you identify what you're talking
   9   about with regard to the villous,
  10   tubulovillous extensions, or is that on one
  11   of the other slides?
  12           A.       No, you can't really see
  13   villous extensions on this.          What you see
  14   here is the -- you can see gland-like
  15   structures kind of fusing together, and you
  16   have neutrophilic -- like inflammatory cells
  17   on the inside of the glands, and you have an
  18   inflammatory mucosa around the glands.
  19           Q.       Uh-huh.
  20                    And do you have a finding with
  21   regard to what you believe is contained
  22   within those glands, what type of glands they
  23   are?
  24           A.       Well, they look like
  25   adenocarcinoma glands, so intramucosal, you



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   1   know, what we talked about.
   2           Q.       Okay.    Let's look at the next
   3   page.
   4           A.       Uh-huh.
   5           Q.       So page 35, there's two slides
   6   on it.
   7                    Either the top slide or the
   8   bottom slide, can you identify for me what
   9   you're talking about with the villous and
  10   tubulovillous extensions?
  11           A.       No, because these sites --
  12   these specific to normal mucosa.
  13           Q.       Okay.    And would that be the
  14   same then from page 35 -- excuse me, 36?
  15           A.       Yes.    They're from normal
  16   background mucosa.        Well, not completely
  17   normal, but they're from background mucosa,
  18   nontumor background mucosa.
  19           Q.       When you reviewed
  20   Dr. Voltaggio's report, did you see any
  21   slides that -- well, any slides from the
  22   biopsy taken during the EGD which depicted
  23   the lobulated polypoid tissue with villous
  24   and tubulovillous extensions?
  25           A.       Could you repeat that?         Like



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   1   when I looked at Voltaggio's report?
   2           Q.       Yes.   So I'm sure -- let me ask
   3   the question again.
   4                    When you reviewed her report,
   5   did you see any pictures of what you're
   6   talking about in your microscopic examination
   7   discussion related to the biopsy taken during
   8   the EGD?
   9           A.       No.
  10           Q.       Let's -- so looking at the top
  11   slide on page 35.
  12           A.       Yes.
  13           Q.       Can you tell me whether or not
  14   that slide depicts the tumor or whether that
  15   depicts background nonneoplastic gastric
  16   mucosa in the same biopsy specimen?
  17           A.       I think it's non -- I think
  18   it's the background mucosa, nontumor.
  19           Q.       Do you disagree that that's
  20   the -- the top slide on page 35 depicts
  21   intestinal metaplasia?
  22           A.       I'm not in complete agreement
  23   with that because I remember seeing those
  24   particular cells, actually, and thinking, are
  25   those goblet cells or are they pseudogoblet



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   1   cells.    And I'm not entirely convinced that
   2   they are goblet cells.
   3           Q.       But you're obviously not
   4   completely convinced that they're not goblet
   5   cells either, correct?
   6           A.       I can't say 100 percent that
   7   they aren't, but I definitely can't say
   8   100 percent that they are.
   9           Q.       And when you use the term
  10   "pseudogoblet cell," what do you mean?
  11           A.       Sometimes you have mucinous
  12   cells covering the mucosa and the glands that
  13   are very filled with mucin and makes them
  14   resemble goblet cells, but they're in fact
  15   not goblet cells.       And it's -- sometimes it
  16   can make the diagnosis of intestinal
  17   metaplasia more difficult.
  18           Q.       And what is it about that top
  19   slide on page 35 that makes you believe that
  20   that slide is from background mucosa and not
  21   the tumor site?
  22           A.       Well, if -- well, it's -- you
  23   know, all those pictures are from the
  24   tumor -- biopsy from the tumor area where
  25   most of the slide shows tumor tissue, and



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   1   then there are some parts of the slide
   2   showing background mucosa that's not tumor.
   3   So -- that probably come with the tumor.
   4                    Now I'm kind of losing track of
   5   what I was saying.
   6           Q.       So my question is -- I don't
   7   disagree with that point, Dr. Mjønes.             I
   8   think you've made that pretty clear.
   9                    My question is, the bottom
  10   slide on 35 Dr. Voltaggio has labeled as
  11   background nonneoplastic gastric mucosa.
  12                    Do you see that?
  13           A.       Yes.
  14           Q.       And taken from the biopsy
  15   during the EGD, right?
  16           A.       Yeah.    It's taken from the --
  17           Q.       Yeah.
  18                    And the same way on pages 36
  19   and 37.      All of those images, bottom of 35,
  20   all of 36 and on 37, background nonneoplastic
  21   gastric mucosa?
  22           A.       That's right.
  23           Q.       And do you agree with that?
  24           A.       Yes.
  25           Q.       Okay.    So the top slide on



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   1   page 35, what I was asking you is, again, do
   2   you think this is of the tumor or of the
   3   background nonneoplastic gastric mucosa?
   4           A.       I think it is --
   5                    MR. GALLANT:      Object to form.
   6                    You can answer.
   7                    THE WITNESS:      Yeah, I think
   8           it's of -- not the tumor itself but of
   9           the background mucosa.
  10   QUESTIONS BY MS. ALTHOFF:
  11           Q.       And what is it that you see in
  12   that image that leads you to that conclusion?
  13           A.       Well, basically the cells
  14   are -- the cell nuclei are basically located,
  15   and they look different to the tumor where
  16   you have more variation.         You have increased
  17   nuclear to cytoplastic ratio, and you have --
  18   has -- disorganized arranged glands.             And you
  19   see that the architecture level and the
  20   cytological level, that it's different.
  21           Q.       Do you agree with Dr. Voltaggio
  22   that the top photograph on page 35 depicts
  23   inflammation, background inflammation?
  24           A.       It's background inflammation on
  25   that area.



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   1           Q.       Looking at the bottom of 35,
   2   that second slide, do you agree with
   3   Dr. Voltaggio that it depicts a mixture of
   4   mucous glands and parietal cells?
   5           A.       That I agree with, yes.
   6           Q.       And the same way with the two
   7   slides on page 36, that they both show a
   8   mixture of mucous glands and parietal cells?
   9           A.       I agree, yes.
  10           Q.       Doctor, in your clinical
  11   practice, do you ever see oxyntic mucosa in
  12   the cardia region?
  13           A.       You can have a mixture of
  14   cardiac and mucous glands in the oxyntic
  15   region, yes.
  16           Q.       And can you have parietal cells
  17   in the cardia region?
  18           A.       You can, yes.
  19           Q.       Can you have chief cells in the
  20   cardia region?
  21           A.       Yes.
  22           Q.       So going back to sort of my
  23   earlier question, I was asking you about the
  24   villous and tubulous extensions and the other
  25   observations that you had in that microscopic



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   1   examination paragraph on page 1 of your
   2   pathology report.
   3                    So am I correct that there are
   4   no images that we can look at today, based on
   5   any of these slides we've looked at, that
   6   would depict the particular items that you've
   7   identified in your paragraph on microscopic
   8   examination?
   9                    MR. GALLANT:      Object to form.
  10   QUESTIONS BY MS. ALTHOFF:
  11           Q.       You can still answer.
  12                    Do you understand my question?
  13           A.       You're -- are you asking me if
  14   I can recognize what I have described in her
  15   pictures?
  16           Q.       Let me ask it again.
  17                    Have we seen any photographs
  18   today of any slides made from the specimen,
  19   the biopsy specimen, taken during the EGD
  20   biopsy identified as PG-17-18840 in which you
  21   could show me the various items that you have
  22   identified in your section on microscopic
  23   examination?
  24           A.       Well, you could say
  25   pseudostratification you see on the picture



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   1   on page 34.
   2           Q.       Okay.    Hold on just a second.
   3   Let me catch up to you.
   4                    All right.     Let's look at
   5   page 34.     Where do you see the
   6   pseudostratification?
   7           A.       The pseudostratification is
   8   when you have the cells kind of on different
   9   levels lining the different glands.             And also
  10   you see nuclear abnormalities in the sense
  11   that you see variation in size and shape.
  12           Q.       And you're able to view that on
  13   the slide on page 34?
  14           A.       Well, you -- I mean, I'm basing
  15   it partly on what I've seen and together with
  16   this, but you can see that there are
  17   difference in size and shapes on the nuclei.
  18                    Mitotic figures I can't see
  19   from this magnifi -- on this picture, but it
  20   doesn't mean it's not there, but it's just
  21   that we can't see them.
  22           Q.       What about the presence of
  23   large cytoplasmic vacuoles?
  24           A.       You can't see them on this
  25   picture.



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   1           Q.       Okay.    What about any of the
   2   other slides on page 35, 36 or 37?
   3           A.       No.
   4           Q.       Where did you see the large
   5   cytoplasmic vacuoles?
   6           A.       I saw them on sections from the
   7   biopsy, but they aren't pictured on this --
   8   they aren't shown on this picture.
   9           Q.       And you didn't take any
  10   pictures of those that you could show us
  11   today?
  12           A.       No, because that -- I would
  13   have to scan them in, and there were no one
  14   at work during the weekend.
  15           Q.       Did you -- were you -- well,
  16   obviously you were able to see the large
  17   cytoplasmic vacuoles on the slides when you
  18   reviewed them a year ago, correct?
  19           A.       Yes.
  20           Q.       And we don't have any pictures
  21   of that; am I right?
  22           A.       That's right.
  23           Q.       The presence of large
  24   cytoplasmic vacuoles, particularly containing
  25   mucin, is that a feature of intestinal



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   1   metaplasia?
   2           A.       In this case, no, I don't -- I
   3   don't know the cause for it, but I wouldn't
   4   say it's -- I don't think it's goblet cells
   5   or anything like that, if you're meaning
   6   that.    I think -- I don't know exactly what
   7   it is.
   8           Q.       Well, I guess what I'm asking
   9   you is, your report using the term "large
  10   cytoplasmic vacuole."
  11           A.       Yes.
  12           Q.       And so I'm wondering -- asking
  13   you if that reference in your report is a
  14   reference to a feature of intestinal
  15   metaplasia.
  16           A.       Not the -- I don't think -- no,
  17   I don't think that's the future of intestinal
  18   metaplasia in this case.         This just -- it's
  19   just me describing how the cells look like.
  20           Q.       What significance, if any, does
  21   that reference in your report have to your
  22   diagnosis of the tumor?
  23           A.       They don't have any
  24   significance.
  25           Q.       And I see the parenthetical



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   1   right after that that says "signet ring
   2   cell-like morphology," correct?
   3           A.       That's right.
   4           Q.       And is that signet ring
   5   cell-like morphology comment -- what exactly
   6   is it referring back to?
   7           A.       It's basically describing cells
   8   that kind of look like signet ring cells, but
   9   I don't think there are --          I don't think
  10   it's a signet ring cell carcinoma.            That
  11   would be a different subtype of cancer.
  12                    I'm just describing what I see.
  13   Sometimes you can see cells that mimic signet
  14   ring cells as an artifact in the tissue.              So
  15   it's most significant to the diagnosis in
  16   this particular case.
  17           Q.       Is it correct that if it was a
  18   signet ring cell, it would be a diffuse-type
  19   cancer?
  20           A.       Sometimes it could be a diffuse
  21   type.    Sometimes it could be a mixed type.
  22           Q.       In this case, though, you
  23   diagnosed this as intestinal type, which
  24   essentially rules out signet ring cell,
  25   correct?



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   1           A.       There's no signet ring cell
   2   carcinoma in this case.
   3           Q.       You also identify periphery
   4   formed glands with similar dysplastic
   5   changes.
   6                    Do you see that?
   7           A.       Yes.
   8                    You see -- sorry.
   9           Q.       No, go ahead.      You've
  10   anticipated my question.         I was going to ask
  11   you where that might be depicted.
  12           A.       Yeah.    Down in the middle where
  13   you see the glands kind of fusing together
  14   and where you have kind of holes in the
  15   middle, that could be kind of cribriform-like
  16   structures.
  17           Q.       And is that a pathological
  18   feature of intestinal-type gastric cancer?
  19           A.       Yes.
  20           Q.       You also identify glandular
  21   changes, including collections of neutrophils
  22   in necrotic cells --
  23           A.       Uh-huh.
  24           Q.       -- in the glands, yes?
  25           A.       Yes.    They're -- you see them



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   1   there in the middle of the glands.            You have
   2   some -- what I can say.         I can't show you
   3   with my arrow, unfortunately, but they're
   4   like in the hallow spaces in those glands
   5   fused together.       You see kind of a smaller --
   6   smaller things in the middle in the lumen.
   7                    You see what I mean?
   8           Q.       Uh-huh.
   9           A.       And so then neutrophilic cells
  10   and -- yeah.
  11           Q.       Of what significance was that
  12   finding to your diagnosis?
  13           A.       No, it's just something we see
  14   sometimes.
  15           Q.       And what --
  16           A.       In the diagnosis.
  17           Q.       You also identify an
  18   infiltration of neutrophils into the
  19   overlying epithelium.
  20           A.       Yes.
  21           Q.       Is that depicted in this
  22   photograph on page 34 as well?
  23           A.       No, I can't really say for
  24   sure.
  25           Q.       And of what significance was



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   1   that finding to your diagnosis?
   2           A.       It doesn't make any
   3   significance to the diagnosis, but it can be
   4   explained by something protruding into the
   5   lumen.    You get -- yeah, so -- but not any
   6   significance to the diagnosis.
   7           Q.       Which of these findings on
   8   microscopic examination, Dr. Mjønes, were
   9   significant to your diagnosis of an
  10   intramucosal adenocarcinoma?
  11           A.       The fact that you have
  12   dysplasia, you have a variation in -- you
  13   have nuclear abnormalities in the sense of
  14   variation in size and shape and -- {audio
  15   interruption} -- and the fact that you have
  16   glands, irregular glands, and cribriform
  17   structures lined by atypical cells.             They
  18   would be findings of relevance for the
  19   diagnosis.
  20           Q.       And was it significant that you
  21   did not see a significant protrusion into the
  22   lamina propria for purposes of your
  23   diagnosis?
  24           A.       Put it this way.       If we had
  25   seen small -- I'm not sure if I understand



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   1   your question correctly.
   2           Q.       Yeah, let me ask it
   3   differently.
   4                    One of the things we didn't
   5   specifically talk about was that you also
   6   mentioned that the basement membrane of the
   7   glands are intact.        And there are no such
   8   cells in the lamina propria, correct?
   9           A.       Yes.
  10           Q.       And how was that finding
  11   significant to your diagnosis?
  12           A.       Put it this way.       If you saw
  13   small singular cells of atypical cells in
  14   the -- or small groups of cells or even more
  15   jagged glands in the lamina propria
  16   supporting strong tissue, that could make it
  17   easier to classify it as an intramucosal
  18   adenocarcinoma, while now it's kind of more
  19   in the borderline.
  20           Q.       Is this why you, in conclusion,
  21   said this was a gastric or foveolar-type
  22   adenoma with high-grade dysplasia.
  23   Intramucosal adenocarcinoma cannot be
  24   excluded?
  25           A.       Yeah.    Yes.



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   1           Q.       What is the difference from a
   2   clinical significance of a gastric-type
   3   adenoma with high-grade dysplasia versus a
   4   foveolar type adenoma with high-grade
   5   dysplasia?
   6           A.       I don't think it's a
   7   foveolar -- foveolar type, so that -- that's
   8   basically -- it shouldn't be there.             So I
   9   don't think it's a foveolar type.
  10                    Foveolar-type adenomas tend not
  11   to be high grade and develop into carcinomas
  12   in the great extent.
  13           Q.       Did you see any characteristics
  14   or findings of linitis plastica?
  15           A.       No.
  16           Q.       Does that essentially rule out
  17   a diffuse type of gastric cancer?
  18           A.       Yes.   Well, in this case it
  19   does, because I haven't seen any signs of it
  20   in the wall.
  21                    MS. ALTHOFF:      All right.     Let's
  22           take a break before we change topics.
  23                    VIDEOGRAPHER:      Off record,
  24           1:42 p.m.
  25            (Off the record at 1:42 p.m.)



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   1                    VIDEOGRAPHER:      On record,
   2           1:57 p.m.
   3   QUESTIONS BY MS. ALTHOFF:
   4           Q.       Dr. Mjønes, we're back from a
   5   short break.      I wanted to turn your attention
   6   back to Exhibit 2, which is your report, and
   7   now turning to page 2, which contains sort of
   8   the diagnosis and conclusions of your
   9   observations of the biopsy taken during the
  10   EGD.
  11                    Is that correct?
  12           A.       Yes.
  13           Q.       All right.     So before we get to
  14   the bold-faced diagnosis --
  15           A.       Uh-huh.
  16           Q.       -- you state, "In conclusion,
  17   the changes are suggestive of gastric or
  18   foveolar-type adenoma with high-grade
  19   dysplasia."
  20                    And you've already told us that
  21   we should take out the foveolar type because
  22   you believe it's gastric adenoma, correct?
  23           A.       Yes.
  24           Q.       And then you state,
  25   "Intramucosal adenocarcinoma cannot be



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   1   excluded," and that's based on your
   2   examination with regard to the lamina
   3   propria, correct?
   4           A.       Yes.
   5           Q.       All right.     So then going on,
   6   it says, "The normal gastric mucosa is
   7   without signs of chronic atrophic gastritis."
   8           A.       Uh-huh.
   9           Q.       What, if any, significance was
  10   your observation that the normal gastric
  11   mucosa was without signs of chronic atrophic
  12   gastritis?
  13           A.       The chronic atrophic gastritis
  14   would be typical findings that you see in,
  15   for instance, for people who have undergone
  16   H. pylori infection are at ultimate --
  17   ultimate atrophic gastritis.           So basically I
  18   didn't see any other signs that could explain
  19   why he had the tumor in the background
  20   mucosa.
  21                    So it's basically looking for
  22   risk factors.
  23           Q.       Okay.    And then you identify --
  24   you said, "The normal gastric mucosa is
  25   without signs of intestinal metaplasia."



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   1                    And of what significance was
   2   that finding to you?
   3           A.       Well, intestinal metaplasia
   4   would -- well, in this case it would kind
   5   of -- you could see intestinal metaplasia if
   6   you have chronic inflammation over time of
   7   tissue, but that's basically -- so to --
   8   yeah, that's basically it.
   9           Q.       And, again, did you see signs
  10   of either chronic atrophic gastritis or
  11   intestinal metaplasia in the tumor specimen?
  12           A.       No.
  13           Q.       And then you also say, "The
  14   normal gastric mucosa is without signs of
  15   Helicobacter pylori-type structures."
  16                    Correct?
  17           A.       That's right.
  18           Q.       All right.     And then lastly you
  19   say, "A prominent lymphocytic infiltrate with
  20   intraepithelial lymphocytes is not seen."
  21                    Do you see that?
  22           A.       Uh-huh.
  23           Q.       And of what significance was
  24   that finding to your diagnosis?
  25           A.       Well, sometimes if you see



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   1   that, it can give an indication of Epstein
   2   Barr virus as a cause for cancer.
   3           Q.       Uh-huh.
   4                    All right.     And then -- sorry,
   5   go ahead.     Finish.
   6           A.       You can see it in Epstein Barr
   7   virus, associated gastric cancer.
   8           Q.       And then your diagnosis in bold
   9   was "fragments of polypoid tissue from the
  10   proximal stomach, with changes consistent
  11   with gastric-type adenoma with high-grade
  12   dysplasia"?
  13           A.       Yes.
  14           Q.       When you -- go ahead.
  15           A.       But it also should have said,
  16   slash, intramucosal adenocarcinoma.             Because
  17   I don't disagree with that.
  18           Q.       Okay.    When you did your
  19   re-review of the slides this Saturday, was
  20   there anything that you saw which would
  21   change your conclusions in the Conclusion
  22   paragraph or the Diagnosis paragraph?
  23           A.       Not in the Diagnosis paragraph,
  24   but as I've been reading up more -- like I
  25   don't think it's a foveolar-type adenoma.



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   1   That's basically what strikes that.
   2           Q.       Okay.    Anything else that
   3   struck you as -- after you re-reviewed on
   4   Saturday?
   5           A.       No.
   6           Q.       You know, you mentioned the
   7   Epstein Barr virus as being a potential cause
   8   of gastric cancer.
   9           A.       Uh-huh.
  10           Q.       Are you familiar with the
  11   classification of gastric cancers by their
  12   molecular makeup?
  13           A.       Yeah, I know it's a section
  14   about it in the WHO classification, but we
  15   don't use it in diagnosis of gastric cancer
  16   at presently.
  17           Q.       Are you familiar with The
  18   Cancer Genome Atlas?
  19           A.       Yes.
  20           Q.       Is that the same thing you're
  21   referring to with -- from the WHO or is it
  22   something different?
  23           A.       Yeah.    Yeah, it's like they're
  24   referring to the one in The Cancer Genome
  25   Atlas in the WHO.



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   1           Q.       And are you familiar with how
   2   cancers are divided under that classification
   3   system?
   4           A.       Yeah, they -- they divide them
   5   into microscopic-like and stable ones.             The
   6   stable ones, the Epstein Barr virus-related
   7   ones, and then the chromosome instability
   8   ones, I think it was.
   9           Q.       Okay.    Are the chromosomal
  10   instability type the most common?
  11           A.       I can't -- I can't recall just
  12   now, but I think it -- I can't remember.              I
  13   don't have the table present in my head, but
  14   the -- yeah.
  15           Q.       Does the classification by
  16   molecular makeup, does it have an additional
  17   classification for neuroendocrine features?
  18           A.       No, that's not in that
  19   classification.
  20           Q.       Okay.    All right.     Let's talk
  21   about your observations and findings related
  22   to the specimens obtained during the surgical
  23   resection.
  24           A.       Okay.
  25           Q.       And if we look at page 2, it's



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   1   divided up by location sites.           Is that sort
   2   of roughly correct?
   3                    So we've got A and then a lot
   4   of other location sites below that.
   5           A.       Yeah, so 1A is from the
   6   gastric -- gastric polyp from the body.              And
   7   2A is from gastric polyp from the body as
   8   well.    So they were the two frozen sections,
   9   as far as I recall.
  10           Q.       Was there anything from your
  11   microscopic examination of those two frozen
  12   samples that was significant for your
  13   diagnosis in this case?
  14           A.       No.    Neuro fundic gland polyps.
  15           Q.       And fundic gland polyps are
  16   generally benign; is that correct?
  17           A.       That's right.      Generally.
  18           Q.       So with regard to your
  19   evaluation of the cancer portion of the
  20   resection, that really falls under starting
  21   with 03-LO1?
  22           A.       Yes.
  23           Q.       So and then looking under that
  24   section under microscopic examination, you
  25   identify that the luminal mucosal surface is



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   1   mostly without dysplasia.
   2                    Of what significance was that
   3   to you?
   4           A.       I just have to see -- yeah,
   5   basically it says that you don't -- I don't
   6   see any signs of a premalignant tissue in the
   7   rest of the stomach apart from the polyp
   8   itself.
   9                    MR. GALLANT:      Can you tell me
  10           where you're reading that from?
  11                    MS. ALTHOFF:      Sure.    It's the
  12           bottom of page 2.
  13                    MR. GALLANT:      Okay.    Thanks.
  14   QUESTIONS BY MS. ALTHOFF:
  15           Q.       And then you also, right after
  16   that, identify that in the mucosa there are
  17   areas of changes consistent with fundic gland
  18   polyps.
  19                    Do you see that?
  20           A.       Yes.
  21           Q.       Well, let me ask you this.
  22                    In which, if any, of the
  23   lettered sections did you identify dysplastic
  24   or cancer tissue?
  25           A.       The cancer tissue was located



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   1   in section N, I think, the one we talked
   2   about previously, the posterior wall into the
   3   polyp.
   4           Q.       Did you see any dysplastic
   5   tissue or other signs of cancer in any of the
   6   other slides?
   7           A.       No.
   8           Q.       And it looks like from N, we
   9   only had one level; is that correct?
  10           A.       No, that's not right.        It's two
  11   levels from section N.
  12                    And that's the second level
  13   that I got -- saw yesterday for the first
  14   time.    Not today.
  15           Q.       Okay.    That's kind of what I
  16   was asking.
  17                    So when you reviewed these the
  18   first time and wrote the report, you only had
  19   one level for N?
  20           A.       That's right.
  21           Q.       When you re-reviewed on
  22   Saturday, now there were two levels of N?
  23           A.       Uh-huh.
  24           Q.       Did you see anything new or
  25   different in the second level of N?



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   1           A.       No.
   2           Q.       All right.     So then you state
   3   in some sections, and you identify from J, L,
   4   M and N, there are surface erosions and
   5   polyps with changes consistent with
   6   hyperplastic polyps.
   7                    Do you see that?
   8           A.       Are we on page 3 or are we --
   9           Q.       No, still on page 2.
  10           A.       All right.
  11           Q.       Same paragraph.
  12           A.       Yes.    I see the one in the
  13   mucosa.      There are areas with changes
  14   consistent between the gland polyps and
  15   then -- yeah, sorry, there are surface
  16   erosions and polyps with changes -- yes, I
  17   see that, the hyperplastic polyps.
  18           Q.       Okay.    So in sections J, L, M
  19   and N, did you see surface erosions in all of
  20   those?
  21           A.       I can't -- I don't think I saw
  22   it in all of them.        I think I saw it in some
  23   of them.
  24           Q.       And did you see changes
  25   consistent with hyperplastic polyps in all of



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   1   those sections J, L, M and N?
   2           A.       I think it was -- I can't say
   3   that for sure.       I just have to see where I
   4   have -- J and -- I just have to look up my
   5   comments that I specified.
   6                    In J I saw a hyperplastic polyp
   7   about 6 millimeters from the gastroesophageal
   8   junction.
   9                    And in K I saw similar type of
  10   changes as in section J, a hyperplastic polyp
  11   about 10 to 11 millimeters from the
  12   gastroesophageal junction.
  13                    And in L, in less a curvature
  14   to include polyps, I saw similar changes as
  15   mentioned above and changes consistent with
  16   development of a hyperplastic polyp.
  17           Q.       Did you see any hyperplastic
  18   polyps in M or N?
  19           A.       I just have to see now if I see
  20   M.   In the -- in M I see hyperplastic polyps.
  21   And that was also from interior wall to
  22   include polyps.
  23                    In N there was one section with
  24   a hyperplastic polyp and one section with a
  25   tumor.



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   1           Q.       And in any event, with regard
   2   to N, the tumor did not arise out of that
   3   hyperplastic polyp?
   4           A.       No.   Like I -- no, it doesn't
   5   look like it.
   6           Q.       Do you have any photographs of
   7   what you describe as the surface erosions
   8   from any of these sections?
   9           A.       No.
  10           Q.       And do you have any photographs
  11   of changes consistent with hyperplastic
  12   polyps in any of these sections?
  13           A.       We have gone through section J.
  14   There you have a picture of a hyperplastic
  15   polyp.
  16           Q.       Okay.
  17           A.       And also in pictures taken by
  18   Voltaggio, you see some hyperplastic polyps,
  19   as far as I remember, yes.
  20                    For instance, on page 46 in her
  21   report, you see the tumor in one section --
  22   in one piece and then a hyperplastic polyp in
  23   the other piece.
  24                    (Mjønes Exhibit 6 marked for
  25           identification.)



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   1   QUESTIONS BY MS. ALTHOFF:
   2           Q.       Let's turn to Exhibit 6 for
   3   Dr. Voltaggio's report, and this is just the
   4   slides, and in particular page 46 at the
   5   bottom.
   6           A.       Yes.
   7           Q.       Is this the slide you were
   8   identifying, Dr. Mjønes?
   9           A.       Yes.
  10           Q.       And where do you see the
  11   hyperplastic polyp versus the tumor?
  12           A.       The hyperplastic polyp is in
  13   the piece of tissue on the right side, and
  14   the tumor is on the -- in the tissue on the
  15   left side of the screen.
  16           Q.       And the tumor, where in that
  17   left-hand portion do you see that?
  18           A.       You see it as a part poking up.
  19   It's -- it's the part poking up touching the
  20   next tissue side -- tissue.
  21           Q.       Yes.
  22                    And so do you have an
  23   understanding of whether these are two
  24   separate pieces of tissue or whether they are
  25   in fact connected?



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   1           A.       They're two different pieces of
   2   tissue.
   3           Q.       Okay.    That's good for that
   4   one.
   5                    So of what significance was it
   6   to you, Dr. Mjønes, that you saw surface
   7   erosions in some of the sections that we've
   8   identified?
   9           A.       No -- no real significance.
  10           Q.       And of what significance was it
  11   to you, the changes consistent with
  12   hyperplastic polyps in some of the sections
  13   that we've identified?
  14           A.       Not -- not -- like the
  15   significance is that they were benign polyps
  16   and not malignant polyps.
  17           Q.       With regard to slide N, which
  18   here on page 2 you describe as changes
  19   consistent with an intramucosal
  20   adenocarcinoma intestinal type --
  21           A.       Yes.
  22           Q.       -- what, if anything, did you
  23   see on slide N which now made you comfortable
  24   with the intramucosal adenocarcinoma versus
  25   the gastric type adenoma?



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   1           A.       Well, it's a gastric -- well,
   2   it's a -- sorry, you have to repeat the
   3   question.
   4           Q.       Sure.
   5                    So we talked earlier in the
   6   biopsy specimens how you weren't a hundred
   7   percent clear about the intramucosal
   8   adenocarcinoma versus gastric adenoma.
   9           A.       Uh-huh.
  10           Q.       And then down here now, once
  11   you've seen the surgical resection, you now
  12   describe it as changes consistent with
  13   intramucosal adenocarcinoma.
  14                    And I'm just asking if you saw
  15   anything new or different in the surgical
  16   resection versus the biopsy specimen which
  17   caused you to put that in your report.
  18           A.       No.   No, it's basically the
  19   same.
  20           Q.       Okay.    Next you identify that
  21   some of the slides show normal gastric mucosa
  22   without signs of autoimmune chronic atrophic
  23   gastritis or H. pylori gastritis.
  24                    Do you see that?       Page 2 onto
  25   page 3 of your report?



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   1           A.       So there were no signs of
   2   Helicobacter pylori-like elements in the
   3   mucosa.
   4                    Is that the part --
   5           Q.       So at the very bottom of page 2
   6   going on to page 3, you describe that some of
   7   the slides show normal gastric mucosa without
   8   signs of autoimmune chronic atrophic
   9   gastritis or Helicobacter pylori gastritis.
  10                    Yes?
  11           A.       Yes.
  12           Q.       And do you identify that here
  13   for the same reason that you did in the
  14   biopsy specimen?
  15           A.       Yes.
  16           Q.       So it was for purposes of sort
  17   of alternative causation?
  18           A.       That's right.
  19           Q.       And then you also state
  20   intestinal metaplasia is not seen.            And from
  21   that perspective, are you saying you didn't
  22   see it any of the surgical resection slides?
  23           A.       No, I didn't see it in any of
  24   the surgical resection slides.           And in
  25   particular, I didn't see it in the -- in the



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   1   cardia area, or in the junction between the
   2   squamous tissue and the columnar tissue.
   3           Q.       And is that because you did not
   4   see what you identified as goblet cells?
   5           A.       Sorry?
   6           Q.       How is it that you were able to
   7   rule out intestinal metaplasia in all of the
   8   slides?      What were you looking for that you
   9   didn't see?
  10           A.       I was looking for goblet cells,
  11   and I didn't see any signs of goblet cells.
  12           Q.       And then lastly in this
  13   paragraph you state that the omentum and the
  14   lymph nodes were without signs of cancer,
  15   correct?
  16           A.       Yes.   Yes.
  17           Q.       All right.     And then the very
  18   last paragraph there relates to the tissue
  19   block that you stained that we've talked
  20   about earlier at some length which was taken
  21   from section J, correct?
  22           A.       That's right.
  23           Q.       And this is the place where you
  24   saw the neuroendocrine markers showing areas
  25   of possible simple or focal linear



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   1   hyperplasia of neuroendocrine cells?
   2           A.       Yes.
   3           Q.       Was there anything significant
   4   from your analysis of section 4A or 5A?
   5           A.       No.
   6           Q.       With regard to your Diagnosis
   7   section which is in bold -- and again, this
   8   relates to your diagnosis taken from the
   9   surgical resection specimens, correct?
  10           A.       Yes.
  11           Q.       How, if at all, does your
  12   diagnosis differ from that of Louisiana
  13   Pathology?
  14           A.       It doesn't really differ.         I
  15   would say it's quite similar.
  16           Q.       Does it differ at all?
  17           A.       No.    Not as I -- not as I can
  18   recall.      I can't remember it being any
  19   different.
  20           Q.       So with regard to the
  21   pathological staging summary, which is pTis
  22   pN0, is that a pathological staging summary
  23   that you came up with yourself?
  24           A.       No, I think that was in the
  25   original report as well.         I can't remember.



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   1   I just have to look.        But I would also -- I
   2   would also double-check it.
   3           Q.       Okay.    That's a bad question.
   4   Let me ask that again.
   5                    Dr. Mjønes, did you determine
   6   based upon your review, independent review,
   7   of Mr. Baudin's resection slides that it
   8   should be staged pathologically as pTis pN0?
   9           A.       Yes.
  10           Q.       So you didn't simply copy that
  11   over from the Louisiana Pathology report.
  12   You came up with it yourself?
  13           A.       Yes.
  14           Q.       Okay.    Turn to page 5 of your
  15   report, which is entitled, halfway down,
  16   "Overall Summary of Results."
  17           A.       Uh-huh.
  18           Q.       And essentially what's the
  19   purpose of this section?
  20           A.       No, it was just basically kind
  21   of summarizing it so it would be easier to
  22   find.    But apart from that, no particular
  23   other purpose.
  24           Q.       Okay.    So was this summary of
  25   results meant to be consistent with the



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   1   conclusions and diagnoses that you had made
   2   above on a variety of specimens?
   3           A.       Yes, it's basically collecting
   4   all the -- all the specimens together so it
   5   would be easier to see the summary of the
   6   different specimens.
   7           Q.       Okay.    So then looking at that
   8   last page 6 where you have a little summary
   9   paragraph there right above your signature.
  10           A.       Yes.
  11           Q.       And why did you include this
  12   paragraph?
  13           A.       I include this paragraph
  14   because I was asked to look for any other
  15   signs that could be an explanation for the
  16   patient's cancer.        So I just added it so that
  17   I could have it as a negative finding.
  18           Q.       Uh-huh.
  19                    Who asked you to look for
  20   alternative explanations for the patient's
  21   cancer?
  22                    MR. GALLANT:      I'm going to
  23           object.    It's calling for privileged
  24           communications.
  25                    MS. ALTHOFF:      Are you



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   1           instructing her not to answer?
   2                    MR. GALLANT:      Yes.
   3   QUESTIONS BY MS. ALTHOFF:
   4           Q.       Okay.    You state in that
   5   summary paragraph, you say, "I have not seen
   6   any signs of atrophic gastritis."
   7                    And is that essentially what
   8   we've talked about before?
   9           A.       Yes.
  10           Q.       And similarly you say, "I
  11   haven't seen any signs of Helio pylori-like
  12   structures."
  13                    And again, is that what we
  14   talked about before?
  15           A.       That's right.
  16           Q.       And when you say, "I have not
  17   seen any signs of intestinal metaplasia,"
  18   again, to be clear, you believe it's your
  19   opinion you didn't find any intestinal
  20   metaplasia in any of the samples, whether
  21   from normal mucosa or the tumor?
  22           A.       That's right.
  23           Q.       And then you state, "I have not
  24   seen any signs of a prominent lymphocytic
  25   infiltrate with intraepithelial lymphocytes."



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   1                    Correct?
   2           A.       That's right.
   3           Q.       And what is the significance of
   4   not seeing a prominent lymphocytic infiltrate
   5   with intraepithelial lymphocytes?
   6           A.       Well, if -- if you see it,
   7   you'd suspect Epstein Barr virus could be a
   8   cause.    If you don't see it, it doesn't add
   9   any information to that.
  10           Q.       Okay.    And then you say, "In
  11   tissue immunostained with neuroendocrine
  12   markers, synaptophysin and chromogranin A,
  13   from normal background mucosa, there are
  14   changes consistent with simple hyperplasia
  15   and possibly linear hyperplasia of
  16   neuroendocrine cells."
  17                    Do you see that?
  18           A.       Yes.
  19           Q.       And that's what we --
  20           A.       Yeah, sorry.
  21           Q.       And that's what we talked about
  22   previously with regard to section J, right?
  23           A.       That's right.
  24           Q.       And so it says there,
  25   PG-17-18840.



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   1                    Do you see that?
   2           A.       Yeah, that's a typo.        It should
   3   stand OL-17-09222.
   4           Q.       Section J specifically,
   5   correct?
   6           A.       Yeah, that's right.
   7           Q.       Going back to page -- the very
   8   bottom of page 1 of your report.
   9           A.       Okay.
  10           Q.       And that's where you talk about
  11   tissue block 01A and the additional staining
  12   that you did, correct?
  13           A.       Yes.
  14           Q.       Do you know whether the tissue
  15   block 01A from which you took a cut was from
  16   the tumor or from the general area of the
  17   tumor?
  18           A.       I think -- oh, yeah, sorry.
  19   It -- these are my markings.           I would have to
  20   just check to see.
  21                    I recognize the picture.         1A is
  22   what -- is from the section J, from
  23   OL-17-09222.
  24           Q.       Let's back up for a second.
  25   Let's go back to your report, which is on the



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   1   screen, and I'm asking you now about the very
   2   bottom.      It says, "A tissue block 01A was
   3   received 9 March 2021."
   4                    Do you see that?
   5           A.       Yes.
   6           Q.       And the tissue block 01A
   7   related to the biopsy specimen during the
   8   EGD, right?
   9           A.       Yes.
  10           Q.       Okay.    So tissue block 01A was
  11   from the EGD specimen?
  12           A.       I'm trying to think.        I
  13   received two tissue blocks.          I'm just trying
  14   to see why I've written 1A at the bottom.
  15                    Oh, yeah, now I see.        The
  16   tissue block 1 -- 01A is the one that in the
  17   Norwegian pathology report is marked --
  18   sorry, I'm going to try that again.              Sorry.
  19           Q.       It's okay.
  20           A.       Tissue block 1A, 1A is the name
  21   that we gave it, and that corresponds to --
  22   it corresponds to OL-17-09222/connector 03J.
  23   So it's from the surgery.
  24           Q.       Okay.    Yes.
  25           A.       And the tissue block marked 2A



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   1   are from the endoscopy.
   2                    No, sorry.     I have written
   3   it -- it's the other way around.            It should
   4   be 2A in that section.         Yeah, sorry.
   5           Q.       Let me ask you this.        So
   6   whatever that tissue block number is, whether
   7   it's 01A or 02A, that's a number that was
   8   given to that tissue block by your
   9   organization?
  10           A.       That's right.
  11           Q.       And the comments about your
  12   observations of the slides made from the
  13   tissue block that originated during the
  14   biopsy that was done during the EGD are
  15   included here on the bottom of page 1 and the
  16   top of page 2?
  17           A.       Yes.   It says here, "The
  18   neuroendocrine markers did not show
  19   convincing evidence of hyperplasia of
  20   neuroendocrine cells."
  21           Q.       And again, that finding was
  22   from the tissue that was taken during the
  23   biopsy during the EGD?
  24           A.       Yes.   In September.
  25           Q.       And going back to my original



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   1   question, it was, do you know whether the
   2   slide that you made from the tissue block
   3   that came from the biopsy during the EGD was
   4   from the tumor itself or from the surrounding
   5   area?
   6           A.       The tissue from that EGD was
   7   taken from the tumor, from one of the polyps.
   8   And then when they take that, you quite often
   9   get normal -- you know, surrounding mucosa in
  10   the same -- at the same time.
  11           Q.       Uh-huh.
  12           A.       At least that's what you see on
  13   the biopsies.
  14           Q.       And so my -- I just wanted to
  15   make sure I understood what you were telling
  16   us, which is then that you, when you did the
  17   staining, the neuroendocrine markers in the
  18   tumor itself did not show convincing evidence
  19   of hyperplasia of neuroendocrine cells.
  20           A.       No, you didn't see any -- like
  21   you didn't see any positive reaction in the
  22   tumor, and you didn't see any signs of
  23   hyperplasia in the background mucosa.
  24           Q.       Did you include -- well, do you
  25   have -- do you have any photographs of the



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   1   staining that you did from those slides?
   2           A.       I have the pictures scanned,
   3   but I don't think I took a photo of it.              But
   4   I have it scanned, so I'd be able to take
   5   photos of it if necessary.
   6           Q.       Okay.    In any event, we haven't
   7   looked at that today?
   8           A.       No, we haven't looked at that
   9   today.
  10                    But I know Voltaggio has a
  11   picture of it in -- a number of pictures, but
  12   the pictures are in a distance, so you can't
  13   see the details.
  14           Q.       So looking at Exhibit 6, which
  15   is Voltaggio's slides page 34 to the end.
  16           A.       Yes.
  17           Q.       Do you know which slides depict
  18   the biopsy specimen that was immunostained?
  19                    Can you tell if it's 50 to 51?
  20           A.       No, it's like Voltaggio's
  21   page 34.
  22           Q.       Yes.
  23           A.       That's from -- that's from the
  24   endoscopy.      That's from -- that's from the
  25   biopsy of the tumor.



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   1           Q.       Okay.    Hold on.
   2                    Jeff, can you go to page 50 of
   3   the exhibit you're looking at right now?              So
   4   we're on 34, but go to 50.
   5           A.       Yes.
   6           Q.       One more.     There we go.
   7           A.       That's the -- that's from the
   8   same tissue as -- that you just saw.             That's
   9   from the biopsy from the endoscopy.
  10           Q.       Okay.    So page 50 and 51, are
  11   those from the endoscopy?
  12           A.       Yes.
  13           Q.       And then if you look at 53 and
  14   54, are those from the specimen J, the
  15   background mucosa?
  16           A.       So that's from the background
  17   mucosa, J, and the page 52 is from the --
  18   from the biopsy at the endoscopy.            That's --
  19   page 53 and 54 are from section J from the
  20   surgery -- surgery.
  21           Q.       Uh-huh.
  22                    And so were you telling me that
  23   on section -- or excuse me, pages 50 and 51,
  24   they're not sufficiently magnified for you to
  25   identify for me why these do not show



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   1   neuroendocrine hyperplasia?
   2           A.       Yes, the distance is too far.
   3   You can't see any details.          Plus, on those
   4   sections it's not much tumor tissue left, so
   5   you wouldn't be able -- it wouldn't be good
   6   to evaluate that on those sections.
   7           Q.       Did you make a determination of
   8   the grade of hyperplasia that was seen in
   9   section J of the surgical resection that you
  10   stained with the immunostains?
  11           A.       You mean like it's a diffuse
  12   and linear hyperplasia?
  13           Q.       Well, I guess that's the
  14   description of the type, but did you make any
  15   assessment of the grade of hyperplasia?
  16           A.       The grade?     I'm not quite sure
  17   what you mean.
  18                    Like you can grade
  19   neuroendocrine tumors, but hyperplasia would
  20   be described as simple, diffuse, linear,
  21   micronodular and so on.         So I'm not quite
  22   sure what you mean.
  23           Q.       Okay.    I'll withdraw that.
  24                    Going back to page 3 of
  25   Exhibit 2, which is your report, and we were



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   1   talking about the pathological staging
   2   summary that you've identified as pTis pN0.
   3                    And does that translate as an
   4   early stage cancer?
   5           A.       That's right.
   6           Q.       Do you have an understanding of
   7   what the typical prognosis is for a cancer
   8   staged as pTis pN0?
   9           A.       It would generally be a good
  10   prognosis.
  11           Q.       And do you have an
  12   understanding of what the standard of care is
  13   for treatment of a pTis pN0 intramucosal
  14   adenocarcinoma?
  15                    MR. GALLANT:      Object to form.
  16                    THE WITNESS:      I don't treat
  17           them, but, you know, they -- they
  18           would remove the -- if you have a
  19           polyp that shows dis -- shows those
  20           types of changes, you would remove it.
  21   QUESTIONS BY MS. ALTHOFF:
  22           Q.       Are you familiar with
  23   endomucosal resection?
  24           A.       Yes.
  25           Q.       And when you say "remove the



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   1   polyp," are you referring to that treatment?
   2           A.       Well, sometimes they do
   3   endoscope.      It depends.     At least in
   4   Trondheim it depends on who performs the
   5   different procedures.         But -- and depending
   6   on what the findings are on biopsy.
   7                    So if they think they could
   8   remove it then -- by endo -- and it also is
   9   kind of depend on the age, as far as I know.
  10   So, yeah.
  11           Q.       And I'm sorry, when you say it
  12   depends on the age, the age of what?             The
  13   person?
  14           A.       Yes.   Like if you have an old
  15   patient that's frail, you'd -- if you can get
  16   to maybe doing an endoscopic mucosa
  17   resection, that would probably be safer for
  18   the patient than removing part of the
  19   esophagus and part of the stomach.            That's
  20   what I mean by age.
  21                    But I'm not a surgeon, so...
  22           Q.       When we talked earlier on about
  23   the subsequent biopsies that you reviewed
  24   from 2017, 2018 and 2019 -- and I think you
  25   told me there was nothing significant to your



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   1   diagnosis in any of those biopsies, correct?
   2           A.       That's right.
   3           Q.       Would you agree that there was
   4   no signs of recurrence of cancer in any of
   5   those biopsies?
   6           A.       I agree.
   7           Q.       With regard to adenocarcinomas
   8   in general or intramucosal adenocarcinomas,
   9   where in the stomach can those be found?
  10           A.       Sorry?
  11           Q.       Yeah.
  12                    So, you know, more generally
  13   with regard to an intramucosal adenocarcinoma
  14   as you've diagnosed with Mr. Baudin in this
  15   case, where in the stomach can those be
  16   located?     Where could you find them?
  17           A.       You can find them in --
  18   everywhere, in every compartment.
  19           Q.       Would you agree they could be
  20   found in the body and fundus?
  21           A.       Yes.
  22           Q.       They could also be found in the
  23   cardia?
  24           A.       Yes.
  25           Q.       With regard to gastric mucous



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   1   glands, where in the stomach can those be
   2   located?
   3           A.       So basically you can find
   4   mucous -- it depend -- it depends on how the
   5   section is cut, because you can find
   6   mucous-type mucosa or mucous-type cells in
   7   the foveolars in the surface of the stomach,
   8   and you find them in the cardia, and you find
   9   them in the antrum.        And so in some
  10   situations you could also find them as a part
  11   of regeneration.
  12           Q.       And I think, you know, you --
  13   when you looked at slide N --
  14           A.       Uh-huh.
  15           Q.       -- and you determined based on
  16   looking at slide N that you saw regenerative
  17   changes at the polypectomy site; is that
  18   right?
  19           A.       Yeah, that's how I interpret
  20   them, yes.
  21           Q.       And that's -- you determined
  22   that what you were seeing was regenerative
  23   changes, not cardiac mucosa?
  24           A.       And that's -- if you can pull
  25   up one of Voltaggio's pictures, then I can



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   1   tell you how I -- it's easier to explain with
   2   the picture.
   3           Q.       Sure.
   4                    So Exhibit 6 again, Jeff.
   5   Thank you.
   6                    And Exhibit 6 starts with the
   7   biopsy specimens.        Were you thinking of the
   8   biopsy specimens or the --
   9                    MR. RESTAINO:      Katherine, hold
  10           on a second.      They're off again.
  11                    MR. GALLANT:      We just lost
  12           sound for a minute, so -- or did we
  13           lose the whole thing?        Do you want
  14           to --
  15                    MS. ALTHOFF:      We have sound but
  16           not video now.
  17                    THE WITNESS:      I was thinking of
  18           the pictures on page 28, which is a
  19           close-up of page 46.        So if we look at
  20           the page -- the picture on page 28
  21           first.
  22   QUESTIONS BY MS. ALTHOFF:
  23           Q.       Hold on just a second, because
  24   that's not actually in Exhibit 6.            Let's look
  25   and see if it's in Exhibit 6, and then if



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   1   not, we can go to the forward part.
   2                    So page 34 through page 37 are
   3   from the biopsy specimen.
   4           A.       {Audio interruption}.
   5           Q.       Yeah.
   6                    And so which slide are you
   7   interested in looking at?
   8           A.       Figure 9.
   9           Q.       Figure 9.     Okay.
  10                    MR. GALLANT:      So are there
  11           two --
  12                    MS. ALTHOFF:      Okay.    Hold on.
  13           Gotcha.
  14                    MR. GALLANT:      Is there like a
  15           full report and an excerpted report?
  16   QUESTIONS BY MS. ALTHOFF:
  17           Q.       Okay.    So, Dr. Mjønes, let's go
  18   to page 41 of the current exhibit, which is
  19   Exhibit 6.
  20           A.       So this one, yeah?
  21                    So basically what you see on
  22   the picture here is a close -- not a complete
  23   close-up, but we see the polyp itself in the
  24   middle protruding into the lumen.
  25                    To the right of the polyp we



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   1   see oxyntic mucosa.
   2                    To the left of the polyp we see
   3   mucus glands and some inflammation in the
   4   bottom right, and this is the area where I --
   5   where I think is the polypectomy site.
   6                    If you just go to the right
   7   of -- right of that area, it doesn't really
   8   show because the section is kind of crumpled
   9   together.     You see it better in a different
  10   level.    You also have some dysplasia in the
  11   mucosa just very close there.
  12           Q.       Okay.
  13           A.       Then if you go --
  14           Q.       Go ahead.
  15           A.       And then if you go and look
  16   at -- where it's zoomed out, the same --
  17   basically she's showing the same lesion --
  18   one of the pictures where you see the lesion
  19   in picture M, but you see it under smaller
  20   magnification.       It's on page 46 on the
  21   Voltaggio report.
  22           Q.       Uh-huh.    Yes.    So I'm going to
  23   get to that.      Go to page 46, Jeff.
  24           A.       Yeah, yeah, that's right.
  25                    So now we see the polyp on the



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   1   side instead of up like we did a second ago.
   2                    So if you see on the picture to
   3   the left, we see the polyp touching base with
   4   the section -- the tissue on the right.              We
   5   see oxyntic mucosa to the left of that polyp.
   6   We see an area of mucous glands just to the
   7   right of that polyp, and then we see an area
   8   where the section is crumpled together.
   9                    Just where you see a split
  10   between the crumpled area of the section, you
  11   see kind of a space between, and that's an
  12   artifact.
  13                    If you look at different
  14   sections from the same slide, you would see
  15   that these -- this is actually -- they are
  16   stuck together, and we see oxyntic mucosa on
  17   that side.
  18                    So based on that, I interpret
  19   that as being an oxyntic mucosa and that the
  20   mucous glands you see just to the right of
  21   the polyp are -- are probably a regeneration
  22   or something like that.
  23           Q.       Okay.    When we looked at this
  24   slide earlier, Dr. Mjønes, I think you told
  25   me you do not believe that these two sections



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   1   are connected.
   2                    Am I right?
   3           A.       Yes.    No, not -- the section to
   4   the right is not connected to the section on
   5   the left.
   6           Q.       Okay.
   7           A.       But it would be good to have a
   8   pointer, but I can show you.           If you look at
   9   the tissue section to the left, you see a
  10   part that is quite purple to the right of the
  11   polyp.
  12           Q.       Uh-huh.
  13           A.       You see where I mean?
  14           Q.       Yes.
  15           A.       And just next to that crumpled
  16   piece you have a little space, and then you
  17   see more tissue.        That's an artifact.       Those
  18   two pieces are actually stuck together.
  19           Q.       Okay.
  20           A.       So basically you see oxyntic
  21   mucosa on both sides of those -- of that
  22   polyp, and the mucous glands that we see in
  23   this area I would interpret as regenerative
  24   changes.
  25           Q.       Okay.    Do you -- in your



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   1   clinical practice, Dr. Mjønes, do you ever
   2   see sections of the cardia that are
   3   contained -- contain exclusively oxyntic
   4   mucosa?
   5           A.       No, usually not.       You see
   6   usually a mixture or usually just mucous
   7   glands.      I know it's possible, but it's not
   8   common to see that.
   9           Q.       And with regard to what you're
  10   looking at on page 46, can -- what are you
  11   looking at that you tell me is the mucous
  12   glands?
  13           A.       Do you see where the polyp
  14   is --
  15           Q.       Yes.
  16           A.       -- or the tumor?
  17                    Yes.   Just on the base of that
  18   polyp, just to be right, you see some
  19   paler -- it's a paler area where you have
  20   mucous glands.       And just in the depth of that
  21   area you have like a -- like a dilated area.
  22   That's also some mucous glands in the base
  23   surrounded by inflammation.
  24                    And those would be changes that
  25   could be consistent with the previous



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   1   polypectomy -- biopsy from that polyp.
   2           Q.       Let's look at page 41 for a
   3   second.
   4           A.       Uh-huh.
   5           Q.       And if we look at this
   6   particular slide and the area that you were
   7   identifying as the mucous glands, they're
   8   being sort of just to the right of the blue
   9   arrow.
  10           A.       Yeah, just to the right of the
  11   blue arrow.      And also she has marked some --
  12   some on -- just -- she's pointing at some
  13   mucous glands as well.
  14           Q.       Uh-huh.
  15                    And so remind me, which finding
  16   on this particular slide do you identify as
  17   being regenerative tissue?
  18           A.       Just to the right of the polyp
  19   you see mucous glands, and you see dilated
  20   glands just in the depth, and you have
  21   inflammation in the same area.           Like all the
  22   blue dots that you can't really see properly
  23   because the distance to the slide is too --
  24   you know, that -- it's not tuned in enough.
  25           Q.       Uh-huh.



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   1                    Do you see any evidence of
   2   microphages -- macrophages, excuse me?
   3           A.       No, I can't see that on this
   4   level.
   5           Q.       Do you see any evidence of
   6   myofibroblasts?
   7           A.       Myofibroblasts I'm sure would
   8   be there, but I can't see from this distance.
   9           Q.       Did you document identification
  10   of any macrophages or myofibroblasts when you
  11   looked at slide N?
  12           A.       I didn't write about them, no.
  13           Q.       Do you recall whether you saw
  14   them or not?
  15           A.       Well, usually you see
  16   macrophages and the myo -- you can see things
  17   like that in areas looking like that, but I
  18   can't recall exactly if I saw them.             I didn't
  19   look specifically for them, but usually
  20   inflammation like that would be quite mixed.
  21           Q.       I was looking to see if -- so
  22   let's look at page 42.
  23           A.       Uh-huh.
  24           Q.       On the same exhibit.
  25                    And is this a further



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   1   magnification of, again, slide N?
   2           A.       Yes.
   3           Q.       And do you see anything that
   4   you would interpret as regenerative tissue in
   5   slide 42?
   6           A.       What I see here is basically
   7   just a localized area of inflammation,
   8   probably in the depth of -- you know, in
   9   close relation to where we looked at.
  10                    And so we see mucous glands and
  11   you see inflammation, dilated -- some dilated
  12   vessels, and you see like smooth muscle going
  13   up towards the surface between -- {audio
  14   interruption}.       And you also see some oxyntic
  15   glands.
  16                    But you can't say from this
  17   magnifi -- you can't say what type of cells
  18   you see in the background.          You see
  19   inflammation.      You can't specify it.
  20           Q.       And then looking at slide on
  21   page 43 --
  22           A.       Yes.
  23           Q.       -- again, a further
  24   magnification of slide N --
  25           A.       Uh-huh.



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   1           Q.       -- do you -- well, do you see
   2   anything that you would identify as signs of
   3   regenerative tissue in this slide?
   4           A.       Well, with regenerative -- with
   5   regeneration you can get loss of your
   6   normal -- the normal mucosa that you'd
   7   normally have there.        So what you'd expect to
   8   find there based on what you see on either
   9   side of the polyp is oxyntic glands.
  10                    If you take a biopsy there, it
  11   would take time for the tissue to recover,
  12   and then the normal oxyntic glands could be
  13   replaced by glands looking like this.
  14                    And now I can't remember
  15   exactly what you asked.         Sorry.
  16           Q.       No, that's fine.       I was asking
  17   you if you saw any signs of regeneration in
  18   the slide depicted on page 43.
  19           A.       You know, the fact that you
  20   have inflammation, you have -- you have
  21   the -- yeah, you have inflammation and -- and
  22   the smooth muscle tissue being pulled up
  23   towards the surface and things like that.
  24                    Yeah.    You don't see -- I mean,
  25   you don't see granulation tissue.



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   1           Q.       And again, you don't see any
   2   macrophages or myofibroblasts in this
   3   magnification either?
   4           A.       No.
   5           Q.       In order to be able to see
   6   either macrophages or myofibroblasts, would
   7   it have to be a further magnification?
   8           A.       Yes, but you usually see --
   9   you'd always find some -- find the
  10   macrophages in those areas.
  11           Q.       From your perspective,
  12   Dr. Mjønes, is the presence of goblet cells
  13   required for diagnosis of Barrett's?
  14           A.       For one thing, you can't have
  15   goblet cells in the stomach -- in the stomach
  16   and call it Barrett's.         The goblet cells
  17   would have to be in -- in the esophagus,
  18   right?
  19           Q.       Uh-huh.    Okay.
  20           A.       And according to the American
  21   Gastroenterological Society, you require
  22   Barrett's cells to call it Barrett's.             You
  23   require goblet cells to call it Barrett's.
  24           Q.       What about in Norway?        Are the
  25   presence of goblet cells required for a



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   1   diagnosis of Barrett's?
   2           A.       Most people would they say they
   3   are required.
   4           Q.       Have you experienced a
   5   situation clinically where the salmon-colored
   6   mucosa which appears to be Barrett's on
   7   endoscopy is biopsied and does not show
   8   goblet cells?
   9           A.       Yes.
  10           Q.       In that case, do you diagnose
  11   the patient as not having Barrett's?
  12           A.       No, we can't do that.        We
  13   say -- we would give a descriptive diagnosis
  14   where we would -- like for one thing, we have
  15   to know that the biopsy is from the
  16   esophagus, and then we are relying on the
  17   clinical information from the people sending
  18   the biopsy in, right?
  19                    So we'd say a biopsy from
  20   esophagus with gastric metaplasia and
  21   inflammation, for example.
  22           Q.       Uh-huh.
  23           A.       If we didn't see the goblet
  24   cells, that is.
  25           Q.       We talked earlier about the



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   1   molecular designations for gastric cancer
   2   that you refer to as -- well, I refer to as
   3   The Cancer Genome Atlas, and you said that
   4   was referred to by the WHO.
   5                    You remember that discussion?
   6           A.       Yes, I said that the -- the WHO
   7   write a section about it where they take
   8   information from The Cancer Genome Atlas.
   9           Q.       And with regard to the HER2
  10   testing that was done on Mr. Baudin's tumor
  11   during the biopsy for the -- taken during the
  12   EGD, what, if anything, did that show with
  13   regard to the molecular classification of
  14   Mr. Baudin's tumor?
  15           A.       I haven't thought that one
  16   through.     I have to -- like it showed -- it
  17   showed it wasn't amplified.
  18           Q.       Uh-huh.
  19           A.       So it's not a classification
  20   system we commonly use, so I won't -- so I
  21   don't really know.
  22           Q.       Have you reached any
  23   conclusions with regard to whether
  24   Mr. Baudin's tumor fell within the category
  25   of tumors with chromosomal instability based



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   1   on the HER2 testing?
   2           A.       They said that there were some
   3   aneuploidy, so in that sense it was
   4   probably -- could have been instable,
   5   chromosomal instable.
   6           Q.       With regard to the histological
   7   classification of Mr. Baudin's tumor, would
   8   you agree that it was well-differentiated?
   9           A.       Yes.
  10                    MS. ALTHOFF:      All right.     Let's
  11           take a few minutes.        I want to kind of
  12           go back through and see what I haven't
  13           covered yet.      And take a bathroom
  14           break, too.
  15                    MR. GALLANT:      Okay.
  16                    VIDEOGRAPHER:      Off record,
  17           2:59 p.m.
  18            (Off the record at 2:59 p.m.)
  19                    VIDEOGRAPHER:      On record,
  20           3:12 p.m.
  21   QUESTIONS BY MS. ALTHOFF:
  22           Q.       Dr. Mjønes, when we went off
  23   the last time and took another break, I think
  24   we were still talking about -- or had just
  25   finished up talking about the regeneration



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   1   evidence that you thought you saw on slide N.
   2           A.       Uh-huh.
   3           Q.       And we were looking at some
   4   pictures from Exhibit 6, so I want to go back
   5   to that for just a minute.
   6           A.       Yes.
   7           Q.       And, Jeff, if you could put up
   8   page 41 from slide -- showing slide N from
   9   Exhibit 6.
  10                    Yeah.
  11                    So with regard to this slide
  12   and then the next couple that are a little
  13   more magnified --
  14                    Dr. Mjønes, do we still have
  15   you?
  16           A.       Uh-huh.    Yeah.    I'm here.
  17   Sorry.
  18           Q.       -- do you agree that these
  19   slides depict inflammation?
  20           A.       Yes.
  21           Q.       And is that in or about the
  22   tumor site area?
  23           A.       It's in a localized area
  24   next -- just in the tumor area.
  25           Q.       And I think you had told us



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   1   earlier that the presence of this
   2   inflammation was a sign to you of -- a
   3   potential sign to you of regeneration?
   4           A.       Not only the inflammation, but
   5   seen together with loss of oxyntic glands in
   6   the area and elongated foveolars and things
   7   like that.
   8           Q.       Loss of what type of cells?
   9   I'm sorry.
  10           A.       You have loss of -- loss of
  11   oxyntic glands --
  12           Q.       Yeah.
  13           A.       -- in the area.
  14           Q.       Okay.    With regard to the
  15   inflammation that you see there, which you
  16   again associate with regeneration, what are
  17   some other explanations for why you might see
  18   inflammation in the slide that's depicted on
  19   slide 41 -- page 41?
  20           A.       Well, I mean, you don't see the
  21   inflammation in other -- in any other part of
  22   that section, so in -- in this -- in this
  23   section, my best explanation would be that
  24   it's from a previous biopsy site.            That's my
  25   best explanation for this one.



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   1           Q.       Could the inflammation have
   2   been caused by Mr. Baudin's gastric
   3   esophageal reflux disease?
   4           A.       In theory, but I would expect
   5   him to have more inflammation in the other
   6   parts of the stomach as well, not only
   7   localized there.
   8           Q.       And what about the presence of
   9   this particular polyp having originated from
  10   the hiatal hernia site, could that be an
  11   explanation for the inflammation?
  12           A.       Well, inflammation can -- can
  13   be caused by -- like if you have a polyp
  14   sticking out, anything that irritates the
  15   polyp -- you could have a lump of food going
  16   past it.     That could cause inflammation.
  17           Q.       What about if Mr. Baudin had
  18   Barrett's esophagus, could the Barrett's
  19   cause the inflammation that we see depicted
  20   on page 41?
  21                    MR. GALLANT:      Object to form.
  22                    You can answer.
  23                    THE WITNESS:      Yeah.    If
  24           Mr. Baudin had Barrett's, I would
  25           expect to see inflammation in the



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   1           gastroesophageal junction with
   2           inflammation in the epithelium, which
   3           I didn't see, and I'd also expect to
   4           see goblet cells in that junction,
   5           which I didn't see.
   6   QUESTIONS BY MS. ALTHOFF:
   7           Q.       Would Barrett's esophagus,
   8   however, ex -- could have explained
   9   inflammation?
  10           A.       I don't think it explained
  11   inflammation in that particular site, the
  12   left polyp.
  13           Q.       What about gastric metaplasia?
  14   Could that be an alternative explanation for
  15   the inflammation that's seen in the tumor
  16   polypectomy site as depicted on page 41?
  17           A.       Gastric metaplasia?        Like you'd
  18   have gastric -- you mean pseudopyloric
  19   metaplasia?      Is that what you mean?
  20           Q.       Yes, metaplasia.
  21           A.       Yeah, you could have
  22   metaplasia -- like when you have loss of
  23   oxyntic glands and you get glands covered by
  24   mucous cells, that's a type of metaplasia
  25   because you don't have the normal glands



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   1   there anymore.
   2           Q.       Are there any alternative
   3   explanations for the loss of oxyntic glands
   4   that you saw in page 41?
   5           A.       No, I don't really have any
   6   alternative suggestions at the moment.
   7           Q.       We've talked a lot today about
   8   where Mr. Baudin's tumor was located, and you
   9   have reached the conclusion you've discussed
  10   today that it was in a -- was not in the
  11   cardia.
  12                    Am I right about that?
  13           A.       Yes, I think it's more likely
  14   than not that it's in oxyntic mucosa that's
  15   not in the cardia.
  16           Q.       And we already discussed today
  17   that that particular opinion does not appear
  18   in the final report that we received on
  19   April 9th of 2021.        Instead it says -- just
  20   says proximal stomach?
  21           A.       That's right.
  22           Q.       When did you reach this
  23   conclusion that the tumor was located in the
  24   non-cardia oxyntic mucosa?
  25           A.       Well, when I was reviewing the



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   1   reports, well, my -- the Voltaggio report,
   2   and as the -- as the notes from -- and
   3   Voltaggio's report and the notes from the
   4   Louisiana pathology group, I noticed --
   5   because I had kind of -- I noticed the part
   6   where they said the polyp -- the tumor was
   7   located -- or the suspicious area was
   8   1.2 centimeters away from the junction.
   9                    And when I reviewed the slides
  10   and looked at what I had written, I didn't
  11   see anything -- I didn't see the tumor in
  12   that location that they had thought was
  13   tumor.
  14                    And then when I saw the
  15   information in Voltaggio's report about the
  16   biopsies from the tumor was 3 centimeters
  17   away from the gastric -- gastroesophageal
  18   junction, that's how I kind of made that
  19   conclusion, together with the findings seen
  20   on that tissue section.
  21           Q.       Okay.    So with regard to the
  22   1.2 centimeters distal to the esophageal
  23   junction information, that was contained in
  24   the Louisiana Pathology report which you had
  25   at the time you did the first review,



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   1   correct?
   2           A.       That's right.
   3           Q.       And did you attempt at the time
   4   of the first review to correlate that
   5   information to the slides that you were
   6   reviewing, or was that not until later?
   7           A.       I probably -- I probably didn't
   8   take -- I saw it wasn't any tumor tissue in
   9   the area that they said was suspicious, so
  10   then I -- you know, then I just assumed it
  11   was in the posterior back wall since the
  12   tissues were taken from there.           I didn't
  13   think there was an issue around it.
  14           Q.       Okay.    And then it -- but it
  15   was after you read Dr. Voltaggio's report,
  16   including, but not limited to, the
  17   correlation to the 3 centimeters distal to
  18   the esophageal junction that you determined
  19   that from your perspective this tumor did not
  20   arise in the cardia?
  21           A.       Yes, I never thought it was a
  22   cardiac cancer based on what I've seen.              I
  23   never had that in mind.         And I didn't think
  24   of it as a cardiac cancer.          I thought of it
  25   as a stomach cancer.



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   1           Q.       So to the extent Dr. Voltaggio
   2   opines that Mr. Baudin's cancer arose in the
   3   cardia region, at least from a pathological
   4   perspective you disagree with that?
   5           A.       Yes.
   6           Q.       Have you talked with any
   7   gastroenterologists about Mr. Baudin's
   8   clinical picture and what type or location --
   9   excuse me, what location of cancer they would
  10   determine based on his clinical picture?
  11           A.       No.
  12                    (Mjønes Exhibit 21 marked for
  13           identification.)
  14   QUESTIONS BY MS. ALTHOFF:
  15           Q.       Let's mark Exhibit 21.
  16                    Dr. Mjønes, handing you what's
  17   been marked as Exhibit 21 to your deposition,
  18   is this the CV you provided to counsel to be
  19   given to us at this deposition?
  20           A.       Yes.
  21           Q.       And looking at sort of your
  22   education and licensure, it identifies you as
  23   a licensed specialist in pathology in Norway
  24   as of 2011?
  25           A.       Yes.



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   1           Q.       Have you ever been licensed as
   2   a physician or pathologist in the United
   3   States?
   4           A.       No.
   5           Q.       Did you do all of your training
   6   in Norway?
   7           A.       Do you mean my pathologist
   8   training or in general?
   9           Q.       Did you do all of your
  10   pathology training in Norway?
  11           A.       Yes.
  12           Q.       It looks like you spent some
  13   time in Ireland and Poland as well.
  14                    What were you studying there?
  15           A.       I did my medical degree -- I
  16   did one year in Poland and then the remaining
  17   five years in Ireland.
  18           Q.       And then did you have to do
  19   additional training in pathology?
  20           A.       Well, I did my medical degree
  21   in Poland and Ireland, and then I did my
  22   pathology training in Norway.           All of it.
  23           Q.       And based -- you know, given
  24   that you have a general medical degree, at
  25   any time have you treated patients who have



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   1   been diagnosed with gastric cancer?
   2           A.       I can't remember.       Like I
   3   was -- just after my medical degree, you do
   4   an internship in Norway lasting for a year
   5   and a half.      And within that year, your half
   6   year -- no, your full year at the hospital --
   7   and in my case I did four months doing a
   8   surgical rotation, four months doing a
   9   medical rotation and four months doing a
  10   psychiatry rotation.        And then I had six
  11   months in a general practice.           And that's all
  12   part of your internship in Norway.
  13                    And during that time, I can't
  14   remember details from the type of patients I
  15   saw, but I would have seen a bit of
  16   everything.
  17           Q.       Okay.    In the case where you
  18   were doing the internship, would there have
  19   been, though, a supervising physician who
  20   would have had primary care for those
  21   patients that you might have seen in
  22   rotation?
  23           A.       Yes.
  24           Q.       You know, as compared to you,
  25   does Dr. Waldum -- well, prior to his



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   1   retirement, did he treat patients with
   2   gastric cancer?
   3           A.       Yes.
   4           Q.       And he's a gastroenterologist
   5   by training, correct?
   6           A.       Yes.
   7           Q.       And in this particular matter
   8   with Mr. Baudin, he came to you and asked you
   9   to do the pathology portion of the review,
  10   right?
  11           A.       That's right.
  12           Q.       To your knowledge, has he
  13   reviewed any of the slides that you reviewed?
  14           A.       If he's seen them, you mean?
  15           Q.       Yes.
  16           A.       No, he hasn't.
  17           Q.       I mean, obviously you put an
  18   image in your report, and he's seen that.
  19   But in terms of actually looking at the
  20   slides under a microscope or using a
  21   computer, he's not done that to your
  22   knowledge?
  23           A.       No.    Because I haven't taken
  24   any pictures of the -- I haven't taken
  25   pictures of the slides, so he wouldn't have



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   1   seen those either.
   2           Q.       Was it your understanding when
   3   Dr. Waldum asked you to review the pathology
   4   that he was doing that because of your
   5   particular pathology expertise as compared to
   6   his?
   7           A.       Yes.
   8           Q.       Was it your understanding that
   9   he was deferring to you with regard to your
  10   diagnosis and findings on the pathology?
  11                    MR. GALLANT:      Object to form.
  12                    THE WITNESS:      Can I answer?
  13                    MR. GALLANT:      If you know.
  14                    THE WITNESS:      Could you repeat
  15           the question?
  16   QUESTIONS BY MS. ALTHOFF:
  17           Q.       Sure.
  18                    Was it your understanding when
  19   Dr. Waldum asked you to review the pathology
  20   that he was -- sorry, wrong question.             Strike
  21   that.
  22                    Was it your understanding that
  23   Dr. Waldum was deferring to you with regard
  24   to your diagnosis and pathology -- and
  25   findings on Mr. Baudin's pathology?



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   1                    MR. GALLANT:      Same objection.
   2                    THE WITNESS:      I'm not a hundred
   3           percent sure if I'm understanding the
   4           question right.
   5                    So you're -- are you asking
   6           me -- could you rephrase it?          Sorry.
   7   QUESTIONS BY MS. ALTHOFF:
   8           Q.       Was it your understanding that
   9   Dr. Waldum deferred to you with regard to
  10   your diagnosis and findings on Mr. Baudin's
  11   pathology?
  12                    MR. GALLANT:      Object to form.
  13                    THE WITNESS:      He -- he -- I --
  14           I'm still actually not sure if I'm
  15           understanding the question right, but
  16           he -- he wanted me to give an opinion
  17           on the sections, and he got them
  18           afterwards.
  19                    And what he did with the report
  20           I gave him, I don't know.          Like I
  21           presume he's made some opinions
  22           related to that, but I don't know
  23           exactly what conclusions he's drawn
  24           from my report.
  25                    MS. ALTHOFF:      Okay.    Jeff, did



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   1           you get some new exhibits from us?
   2                    VIDEOGRAPHER:      Yes, ma'am.
   3                    MS. ALTHOFF:      Okay.    Let's show
   4           her what's been marked as Exhibit 22.
   5                    VIDEOGRAPHER:      22 is one that I
   6           already had.
   7                    MS. ALTHOFF:      You did.
   8                    VIDEOGRAPHER:      The ones that
   9           came in weren't numbered.
  10                    MS. ALTHOFF:      I'm sorry, take
  11           that back.
  12                    So the next one should be --
  13           that's my fault -- Exhibit 23, and
  14           then we'll have 24 and 24A.
  15                    VIDEOGRAPHER:      Which one do you
  16           want to have as 23?
  17                    MR. GALLANT:      23 is the one
  18           with the pink.
  19                    VIDEOGRAPHER:      With the pink
  20           highlighting?
  21                    MS. ALTHOFF:      Yes.
  22                    MS. EMLEY:     Yeah, Jeff, they'll
  23           still be in the same order that they
  24           are in the e-mail that I sent you.
  25                    MS. ALTHOFF:      Nope.    Not that



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   1           one.
   2                    MS. EMLEY:     It's the document
   3           titled "Waldum USA."
   4                    VIDEOGRAPHER:      This is -- this
   5           is Waldum USA.
   6                    MS. ALTHOFF:      Well, we can
   7           start with this one.        That's fine.
   8                    Well, Allyson, maybe you should
   9           send him separately the pink one.
  10                    MS. EMLEY:     Okay.
  11                    MS. ALTHOFF:      Okay.
  12                    (Mjønes Exhibit 24 marked for
  13           identification.)
  14   QUESTIONS BY MS. ALTHOFF:
  15           Q.       Okay?    So let's mark -- we'll
  16   mark this as Exhibit 24.
  17                    And, Dr. Mjønes, marking for
  18   your deposition what's Exhibit 24, and this
  19   is the document that was sent to us last
  20   night --
  21           A.       Uh-huh.
  22           Q.       -- which I believe contains
  23   your annotations, but we had to print them
  24   out on a separate page.
  25                    So, first of all, do you



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   1   recognize this document as being a copy of
   2   your report with the patient identifiers
   3   redacted and your sticky notes?
   4           A.       Yes.
   5           Q.       So let's look at page 2 of this
   6   document, Jeff.
   7                    Let's scroll down some more.          I
   8   mean, I'm sorry, yes.
   9                    All right.     So keep scrolling
  10   on this one, and let's just see if we can see
  11   the comments anywhere.
  12                    All right.     So this particular
  13   version of your report, we can see that it
  14   has your annotations on it with those yellow
  15   sticky notes --
  16           A.       Uh-huh.
  17           Q.       -- but we're not able to see
  18   what any of them say.
  19                    Would you agree with that?
  20           A.       I agree.     Yeah, I see the --
  21   when you click on the boxes, I see --
  22                    VIDEOGRAPHER:      Counsel, if I
  23           scroll over them, you can see what it
  24           says.
  25                    MS. ALTHOFF:      Yeah, but that



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   1           just makes this way too complicated.
   2           We have another version where you can
   3           actually see them all together.
   4                    Let's see if we can get that
   5           one and mark it as 24A.
   6                    MS. EMLEY:     I just sent it,
   7           Jeff, so you should be getting it any
   8           second.
   9                    (Mjønes Exhibit 23 marked for
  10           identification.)
  11   QUESTIONS BY MS. ALTHOFF:
  12           Q.       Okay.    We'll go with this one.
  13   Sure.
  14                    Let's mark this as 23.         And,
  15   Dr. Mjønes, does Exhibit 23 -- is that a copy
  16   of what you produced today that was scanned
  17   that includes both your handwritten notes,
  18   your highlighting and the comments to your
  19   original report in Norwegian?
  20           A.       That's right.
  21           Q.       Can we just sort of page
  22   through this and make sure that it's a
  23   complete copy?
  24                    Doctor, what I have is eight
  25   pages.



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   1           A.       Yes, that's right.
   2                    VIDEOGRAPHER:      Counsel, it says
   3           it's eight pages, but it's not letting
   4           me scroll through.
   5                    MS. ALTHOFF:      That's fine.      If
   6           she's confirming hers is eight pages
   7           and mine is eight, I think we're good.
   8                    So let's see if we can get 24A.
   9                    MR. GALLANT:      Can we put the
  10           ones you're displaying in the Dropbox
  11           also?    In the chat, I mean?
  12                    VIDEOGRAPHER:      Yeah, stand by.
  13                    MS. ALTHOFF:      Okay.    Let's not
  14           put this one up yet.
  15                    We still need 24A.
  16                    VIDEOGRAPHER:      So I'm confused
  17           as to what 24A is going to be.
  18                    MS. ALTHOFF:      24A is going to
  19           be the same as 24 except it shows the
  20           actual comments typed out in
  21           Norwegian.     Maybe.
  22                    Can we go to page 2 of this
  23           document that's on the screen?           Yes.
  24           Okay.
  25                    (Mjønes Exhibit 24A marked for



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   1           identification.)
   2   QUESTIONS BY MS. ALTHOFF:
   3           Q.       Doctor, I'm marking for you
   4   what's been -- I'm going to identify as 24A.
   5                    And, Jeff, if you could scroll
   6   through this.
   7                    And my question to you,
   8   Dr. Mjønes, is, is this a copy of the report
   9   with the patient identifiers redacted and
  10   your sticky note comments in Norwegian but
  11   visible and printed out?
  12                    MR. GALLANT:      Take your time
  13           and compare this because it's not in a
  14           format that -- that you've seen.
  15           Certainly you can't compare it while
  16           they're scrolling through it, so I
  17           don't know how we're supposed to --
  18                    MS. ALTHOFF:      Yeah, if you want
  19           to even go off and pull it up from the
  20           chat, I'm fine with that.
  21                    MR. GALLANT:      Let's see if we
  22           can -- do you want to check your --
  23                    MS. ALTHOFF:      Well, and here,
  24           let's do this.      Let me introduce the
  25           last exhibit.      Maybe she can look at



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   1           them at the same time.
   2                    THE WITNESS:      Okay.
   3                    MS. ALTHOFF:      So let's put up
   4           the one that you just had up a few
   5           minutes ago, Jeff, which we're going
   6           to mark as Exhibit 24B.         And it's the
   7           one that starts -- at the top it says,
   8           "Summary of Comments."
   9                    Yes.   All right.
  10                    (Mjønes Exhibit 24B marked for
  11           identification.)
  12   QUESTIONS BY MS. ALTHOFF:
  13           Q.       So handing you what's been
  14   marked as Exhibit 24B, Dr. Mjønes, and this
  15   is our attempt at a Google translate of the
  16   comments that you have electronically in
  17   Norwegian that are listed in 24A and 23.
  18                    But the reason we did it -- we
  19   put in 24A so that it's easier for you to
  20   compare back and forth between the Norwegian
  21   and the English translation.
  22                    And when we come back, my
  23   question to you is going to be, is 24B a fair
  24   translation of the comments that you included
  25   electronically in your report, which is



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   1   exhibit -- now Exhibit 23?
   2                    MR. GALLANT:      Well, which -- so
   3           how many exhibits have you uploaded
   4           that she needs -- I mean, we've -- I
   5           think this is the fourth version of
   6           her comments.
   7                    MS. ALTHOFF:      Third.
   8                    So we have the pink version,
   9           which is in Norwegian only and also
  10           has handwritten notes.
  11                    We have 23A {sic}, which is a
  12           clean copy, if you will, of her report
  13           with her notes printed out in
  14           Norwegian.
  15                    And 24B is the English
  16           translation of -- purported English
  17           translation of her comments,
  18           electronic comments.
  19                    MR. GALLANT:      And which
  20           document did you say has the
  21           side-by-side?
  22                    MS. ALTHOFF:      24A and 24B.
  23                    MR. GALLANT:      And it's 24A is
  24           on the screen now?
  25                    MS. ALTHOFF:      24B is on the



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   1           screen now.
   2                    THE WITNESS:      Yeah, the
   3           translation seems fine.
   4                    MR. GALLANT:      Okay.    Well,
   5           that's not -- let's go off the record
   6           a minute and we'll examine the
   7           documents.
   8                    VIDEOGRAPHER:      Off record,
   9           3:40 p.m.
  10            (Off the record at 3:40 p.m.)
  11                    VIDEOGRAPHER:      On record,
  12           4:34 p.m.
  13   QUESTIONS BY MS. ALTHOFF:
  14           Q.       Dr. Mjønes, after a break -- I
  15   understand during the break you had an
  16   opportunity to review Exhibit 23, 24A --
  17   excuse me, 24, 24A and 24B, in particular
  18   with regard to translation of the comments to
  19   your report, which you drafted, from
  20   Norwegian to English; is that right?
  21           A.       Yes.
  22           Q.       Okay.    And while we were off,
  23   your counsel suggested that perhaps you could
  24   assist us by going through the comments in
  25   English and letting us know where you think



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   1   the translations are not accurate.
   2           A.       Yeah.
   3                    If you go to number 1 --
   4           Q.       Uh-huh.
   5           A.       -- yeah, on page 2.        It says
   6   page 2, number 1, yeah.
   7                    Let's see now.      It says,
   8   "Gastric pyloric glandular adenoma is usually
   9   seen in connection with CAG, which is not the
  10   case."
  11                    So "assigned" is changed to
  12   "the case," which is not the case here.
  13           Q.       Okay.    I'm sorry, I did not
  14   track that.      You're going to have to say that
  15   again.
  16           A.       Yeah.    You see comment
  17   number 1.     If I read it from -- if you see
  18   the second line, after the comma it says,
  19   "which is not assigned here."
  20                    "Assigned" should be changed to
  21   "the case."
  22           Q.       Gotcha.
  23                    Okay.    Otherwise it's fine, the
  24   statement?
  25           A.       No, it's another comment.



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   1           Q.       Okay.
   2           A.       On the third line from the
   3   bottom of that same comment -- no, the
   4   fourth -- sorry.        Two lines below the
   5   previous comment, the sentence starts with
   6   "Intestinal-type of gastric adenoma."
   7                    And "comment" should be
   8   replaced by "the most common type."
   9           Q.       Okay.
  10           A.       Yeah.    So then the next change
  11   number is 6.
  12           Q.       Yes.
  13           A.       Okay.    So the first change is
  14   to -- it says on the second line -- the
  15   second line, the sentence starts with "About
  16   12 to 13 millimeters from the
  17   gastroesophageal junction."          It says -- it
  18   says "a polypous," but it should be changed
  19   to "a polypoid."
  20           Q.       Okay.
  21           A.       And then on the place where the
  22   letters are in capital --
  23           Q.       Uh-huh.
  24           A.       -- it should say "from the
  25   apparent polypectomy site, it does not show



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   1   dysplasia or remains of tumor," comma.
   2           Q.       Okay.
   3           A.       This can give an indication
   4   that it is not the real polypectomy site.
   5           Q.       Okay.
   6           A.       Number 7, page 2L.
   7                    MR. GALLANT:      You're okay.
   8                    THE WITNESS:      Okay.
   9   QUESTIONS BY MS. ALTHOFF:
  10           Q.       I'm sorry, number 7, what did
  11   you say?
  12           A.       On the underlined line it
  13   says -- it says -- what does it say?             Like
  14   this -- here.
  15                    MR. GALLANT:      Yeah, that --
  16                    THE WITNESS:      It should be H --
  17           H and then a line and then an I,
  18           colon.
  19   QUESTIONS BY MS. ALTHOFF:
  20           Q.       Okay.
  21           A.       And then the next change in the
  22   same thing, it says, "Slide" -- on the
  23   lower -- the last part of that number 7 it
  24   says, "Slide I gives no additional
  25   information."



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   1           Q.       Oh, I'm sorry, say that one
   2   more time?
   3           A.       "Slide I gives no additional
   4   information."
   5           Q.       Got it.
   6           A.       So number 8.      So "fundus gland"
   7   is changed to "fundic gland."           And that's all
   8   on that line.
   9           Q.       Got it.
  10           A.       So on number 9 --
  11           Q.       Yes.
  12           A.       Sorry, I just have to see that.
  13   Let me get the box up.
  14                    So it says, "the lesser
  15   curvature to include polyps," yeah?
  16           Q.       Uh-huh.
  17           A.       "Same type of changes as
  18   above."
  19                    And in the exclamation it
  20   says -- I can't remember what the original
  21   report says because it's blocked by the
  22   comment box, but it should say "developing."
  23   The first word after that...
  24           Q.       Should -- are you saying --
  25   after the parenthetical that follows the word



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   1   "above"?
   2           A.       Yeah, it should be
   3   "developing."
   4           Q.       So should read, "developing for
   5   hyperplastic polyp"?
   6           A.       Developing.     It should say same
   7   changes -- same type of changes as above,
   8   "developing hyperplastic polyp."
   9           Q.       Okay.
  10           A.       And then just behind -- behind
  11   that two question marks in the line below, it
  12   should say, instead of "seem," "otherwise
  13   seen an increase in the amount of."
  14           Q.       I'm not sure I understand where
  15   that goes.      I'm sorry.
  16           A.       Well, there's --
  17                    MR. GALLANT:      There's two
  18           question marks after stroma, and then
  19           C, I think that's where that gets
  20           inserted.
  21   QUESTIONS BY MS. ALTHOFF:
  22           Q.       Oh, okay, I'm sorry, I
  23   misunderstood you.        All right.     I understand
  24   where you're talking about now.
  25                    So right now it says "or seen



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   1   increased," and what should that be?
   2           A.       I'm just trying to see where I
   3   am now.      I'm trying to get the screen to be
   4   bigger.
   5                    Are we on number 8?
   6                    MR. GALLANT:      No, we're on
   7           number 9.
   8                    THE WITNESS:      Number 9.     Okay.
   9           Sorry.
  10                    So it's on the second line.
  11   QUESTIONS BY MS. ALTHOFF:
  12           Q.       Yes.
  13           A.       And I can't see what it says
  14   just behind the two question marks.
  15                    MR. GALLANT:      It should be
  16           or -- it says "or seen."
  17                    THE WITNESS:      Yeah.    Instead of
  18           "or seen," it should be -- say
  19           "otherwise seen and increase in the
  20           amount of."
  21                    And then the inflammatory cells
  22           should follow.
  23   QUESTIONS BY MS. ALTHOFF:
  24           Q.       Okay.
  25           A.       Okay.    And then the next point



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   1   of change is at number 11.          There you have
   2   towards the end, the third line from the end
   3   of that comment box it says, "Best compatible
   4   with fundus gland polyps."
   5                    It should say, "Development of
   6   a fundic gland polyp."
   7           Q.       Yes.
   8           A.       Uh-huh.
   9                    And then with the big
  10   letters --
  11           Q.       Uh-huh.
  12           A.       -- is this the real polyp site?
  13   So I can't see what -- what it says just
  14   behind polyp.      It says plot, maybe.         So plot
  15   should be site.
  16                    And the next comment would be,
  17   "delete gross" and replace with the phrase
  18   "with high grade."
  19           Q.       Uh-huh.
  20           A.       So the gross and slash high
  21   degree should be "high grade."
  22                    And the next comment then on
  23   the same -- what happened now?           I'm sorry.
  24   The "cardiac muscle" should be changed to
  25   "cardiac mucosa."



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   1           Q.       Uh-huh.
   2           A.       Okay.
   3           Q.       Dr. Mjønes, the -- right before
   4   the all caps, it says "NB."
   5                    What does NB stand for?
   6           A.       Oh, it's just -- it's kind of
   7   an ex -- note.       It stands for Norwegian.         You
   8   just write it just kind of to -- to kind
   9   of -- to remember it for later.
  10           Q.       Okay.
  11           A.       It's just -- basically it's
  12   kind of to remind myself.          Yeah.
  13                    So where are we now?        We are at
  14   11, right?
  15           Q.       Yes.
  16           A.       So the next page -- how do I
  17   get to the next page?
  18                    MR. GALLANT:      Just scroll on,
  19           no?
  20                    THE WITNESS:      Here.    No.   I
  21           can't go to page 2.        How do you go to
  22           the next one?      Sorry.
  23                    MR. GALLANT:      Did it freeze?
  24                    All right.     We've run into a
  25           technical difficulty here.



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   1   QUESTIONS BY MS. ALTHOFF:
   2           Q.       Would it help to look at
   3   Exhibit 24B on the screen?
   4                    MR. GALLANT:      Well, there's
   5           only -- I mean, from -- let's see.            I
   6           think -- there's only a few comments
   7           left on 3 and 4, so maybe we can just
   8           do it on the screen.
   9                    THE WITNESS:      Yeah.    So are we
  10           finished with page 2?        Like it says,
  11           page 2 continued?
  12                    MR. GALLANT:      Yeah, I think
  13           it's the next page on there, so I
  14           don't know how to do that.
  15                    THE WITNESS:      We did the
  16           posterior wall to include polyps.
  17                    MR. GALLANT:      So there's no --
  18                    THE WITNESS:      So to be -- okay.
  19                    MR. GALLANT:      Hopefully we can
  20           do it on page 3.
  21   QUESTIONS BY MS. ALTHOFF:
  22           Q.       Did you have changes to 12, 13
  23   or 14?
  24           A.       Did I?
  25                    MR. GALLANT:      No.



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   1                    THE WITNESS:      No.
   2   QUESTIONS BY MS. ALTHOFF:
   3           Q.       Okay.    So page 3.     There's two
   4   items on page 3.       Do you have changes to
   5   those?
   6           A.       Yeah, I have changes to those.
   7   It says, "The proximal esophagus doughnut,
   8   squamous cell dressed" -- no, how did you say
   9   it?    "A squamous-cell-covered tissue without
  10   significant changes."
  11                    So the squamous cell carcinoma
  12   should be deleted, and it should -- it should
  13   state "squamous-cell-covered tissue."
  14   Uh-huh.
  15                    So the number -- comment
  16   number 2 is "fundus gland" should be changed
  17   to "fundic gland."
  18           Q.       Okay.
  19           A.       And then the -- and it says,
  20   "focal area with possible development of
  21   hyperplastic polyp."        So the approach should
  22   be changed out to development of.            So
  23   "approach to" should be changed to
  24   "development of."
  25                    MR. GALLANT:      And then the



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   1           last.
   2                    THE WITNESS:      Oh, there are
   3           more.
   4                    MR. GALLANT:      Yeah.    Yeah.
   5                    THE WITNESS:      I don't --
   6                    MR. GALLANT:      Number 2.
   7                    THE WITNESS:      Number 2.     Okay.
   8                    So number 2, it says slight --
   9           it should say, "foveolar" -- not
  10           foveola, but foveolar -- "with thin
  11           strands of smooth muscle between them
  12           and slight inflammation."
  13   QUESTIONS BY MS. ALTHOFF:
  14           Q.       "Slight foveolar hyperplasia
  15   with thin strands of smooth muscle between
  16   them and slight inflammation"?
  17           A.       Yes.
  18           Q.       Is that it for the changes to
  19   Exhibit 24B?
  20           A.       Yes.
  21           Q.       Okay.    Let's take a look at
  22   Exhibit 23, Jeff.
  23                    And did you have an
  24   opportunity, Dr. Mjønes, to check and make
  25   sure that the comments that are in



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   1   Exhibit 23, the electronic comments, were
   2   also in Exhibit 24?
   3           A.       24, is that what we just looked
   4   at?
   5           Q.       Yes, ma'am.
   6           A.       Yes, so that -- we went through
   7   that just now.       So in this -- like the -- the
   8   handwritten comments aren't in that one.
   9                    And I think it's third comment
  10   on the exhibit, on the last page, that
  11   wasn't -- on page 4?        Was that it?      There was
  12   an extra comment on page 4 that they
  13   didn't --
  14                    MR. GALLANT:      Yeah, that's
  15           right.
  16   QUESTIONS BY MS. ALTHOFF:
  17           Q.       Okay.    So there was an extra
  18   comment, or an additional comment, that you
  19   saw on Exhibit 24B, which was the English,
  20   that you had not seen on Exhibit 23, which is
  21   the pink version?
  22           A.       Yeah, that's the last comment,
  23   the very last comment.
  24           Q.       All right.     But in any event,
  25   the electronically typed-in comments on



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   1   Exhibit 23, the pink copy, are all included
   2   in Exhibit 24?
   3           A.       Yes.
   4           Q.       Okay.    The last thing I want to
   5   go through then on Exhibit 23 is just your
   6   handwritten comments.
   7                    Okay.    So page 1 says, "HER2
   8   protein."
   9                    Yes?
  10           A.       Yes.
  11           Q.       And then what does it say
  12   underneath that?
  13           A.       "Described as 2-plus."
  14           Q.       Are all the comments in here
  15   essentially in Norwegian?          Your handwritten?
  16           A.       Yes.
  17           Q.       Okay.
  18           A.       I think so.     Yes, it is.
  19           Q.       All right.     Let's look at
  20   page 2, and there's a handwritten note on
  21   comment -- bottom of comment 3.           What does
  22   that say?
  23           A.       It says "this."       So basically
  24   directly translated, it says "this."
  25                    But what I'm referring to is



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   1   that the slide -- the SH10932/212A is the
   2   same slide as the one shown here.
   3           Q.       Okay.    It looks like your next
   4   handwritten comment is on comment 10; is that
   5   correct?     On the same page 2?
   6           A.       Yeah.
   7           Q.       And what does that say?
   8           A.       I'm not 100 percent sure if I
   9   can understand my own handwriting on this
  10   one, but it says H -- it says HB, which
  11   I'm -- that would be a hyperplastic polyp --
  12   at 6 millimeters from the EGD.           Look, see
  13   document.
  14           Q.       Okay.
  15           A.       I think the reason I wrote that
  16   is because I didn't see the full comment on
  17   that pink page, and then I realized the full
  18   comment was on the back of the page a little
  19   bit after it.
  20           Q.       I see.
  21                    Are there any other handwritten
  22   comments on page 2?
  23           A.       No, I don't see any.
  24           Q.       Okay.    And no handwritten
  25   comments on page 3, correct?



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   1           A.       That's correct.
   2           Q.       No handwritten on page 4 or 5?
   3           A.       No.    Yes.   That's correct.
   4           Q.       And then there is a handwritten
   5   comment on page 6.        It appears to relate to
   6   the highlighting on PG-17-18840, that
   7   identifier.
   8           A.       Yeah.    So basically it should
   9   have been OL-17-09222 instead of --
  10           Q.       Okay.    And then we go to
  11   page 7, which is the slide, and there's no
  12   handwritten comments, correct?
  13           A.       Yeah.    Nothing.
  14           Q.       All right.     So the next page is
  15   actually unnumbered, but it is a continuation
  16   of the comments from the previous pages,
  17   correct?
  18           A.       Yes.
  19           Q.       All right.     So side 2:1,
  20   comment MP9 at the top, has a handwritten
  21   comment.
  22                    What does that refer to?
  23           A.       No tumor.
  24           Q.       Did you say "no tumor"?
  25           A.       Yes, I say "no tumor."



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   1           Q.       No tumor.
   2           A.       Yeah.
   3           Q.       The other -- the next notation
   4   that's in handwriting is in the last comment
   5   box, which is -- says side 2:4, comment MP13,
   6   and it's in the left-hand margin.
   7                    Do you see that?
   8           A.       Yes.
   9           Q.       And what does that refer to?
  10           A.       N refers to the -- the name of
  11   the slide, which is N, and it equals tumor.
  12   So it's basically the slide showing the tumor
  13   tissue on the -- on the operation specimen.
  14           Q.       Okay.    And then at the bottom
  15   of that same comment box, there's some type
  16   that's in all caps and then some handwritten
  17   underneath that.
  18                    And what does the handwritten
  19   note underneath it refer to?
  20           A.       So basically saying picture
  21   page 38 and picture page 39 shows -- marked
  22   section L shows this.
  23           Q.       And were you referring to pages
  24   of Dr. Voltaggio's report?
  25           A.       Yes.    Yes, which she had taken



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   1   nice photos.
   2           Q.       Throughout Exhibit 23 that we
   3   just looked at, there's pink highlighting.
   4           A.       Yes.
   5           Q.       Is that -- did you do the pink
   6   highlighting yourself?
   7           A.       Yes.
   8           Q.       And these comments that are in
   9   bubbles that we've just gone through, were
  10   those comments that you made?
  11           A.       Yes.
  12           Q.       Okay.    We found one other
  13   document that is actually from you that we
  14   want to have you identify as well, so we'll
  15   do that now.
  16                    (Mjønes Exhibit 25 marked for
  17           identification.)
  18   QUESTIONS BY MS. ALTHOFF:
  19           Q.       I think you should have it now,
  20   Jeff, Exhibit 25.
  21                    Yeah, excellent.
  22                    Showing you what's been marked
  23   as Exhibit 25 to your deposition, Dr. Mjønes,
  24   can you identify what this document is?
  25           A.       So basically these are -- this



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   1   is what was sent to Albert Cora, and they
   2   are -- they came with the section -- the
   3   staining, the slides that were stained in the
   4   department of pathology in Trondheim.
   5           Q.       So --
   6           A.       So basically it says -- I was
   7   requested to send the slides to Albert Cora,
   8   and so this is a document sent with those
   9   slides.
  10           Q.       Particularly pertaining to the
  11   ones that your laboratory had cut from the
  12   tissue and stained?
  13           A.       Yes, that's right.
  14           Q.       Okay.    I asked you earlier
  15   today, Dr. Voltaggio {sic}, what you would
  16   consider to be the furthest distal from the
  17   GE junction that a human could have cardia,
  18   and you said 1 to 2 centimeters.
  19           A.       That would be --
  20                    MR. GALLANT:      Object to form.
  21   QUESTIONS BY MS. ALTHOFF:
  22           Q.       Go ahead, you can still answer.
  23           A.       Yeah, that would be the -- the
  24   common would be 2 -- 2 -- like the cardia is
  25   usually within 2 centimeters of the



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   1   gastroesophageal junction, but in most cases
   2   it's narrower.
   3           Q.       And my only question was, you
   4   know, if I were one of your students that
   5   you're teaching and you were to give that
   6   definition, what source or textbook would you
   7   refer me to to support that definition of the
   8   size of the cardia distal to the GE junction?
   9           A.       You could look at textbooks
  10   such as the one written by Goldblum and Odze.
  11   I'd have to look up the text, if you excuse
  12   me for a second.        I'll be -- there's a
  13   textbook written by Goldblum and Odze that's
  14   called -- I have the -- I can't remember the
  15   name by heart just now, but I'd be able to
  16   tell it to you if you let me just --
  17           Q.       Well, let me just ask you this.
  18                    First of all, how do you spell
  19   this -- it's Goldblum, right, is the first
  20   one?
  21           A.       Yes.
  22           Q.       And what's the second one?
  23           A.       Odze.
  24           Q.       How do you spell that?
  25           A.       O-d-z-e.



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   1           Q.       Did O-d-s-e?
   2           A.       O-d-z-e.
   3           Q.       What is zed?
   4           A.       Zed.
   5           Q.       Okay.    Z.   Okay.     Gotcha.
   6   Understood.
   7                    Okay.    And is this a pathology
   8   textbook?
   9           A.       Yes, it's a pathology textbook
  10   of the gastrointestinal tract.
  11           Q.       Okay.
  12           A.       And there are other textbooks
  13   as well that I can refer to, but I can't
  14   remember them -- the names of the authors by
  15   heart, but I could find them out for you.
  16                    MS. ALTHOFF:      All right.      I
  17           think that is most of what I have,
  18           Mike.    I just want to double-check and
  19           make sure my colleagues don't have
  20           any -- anything I just missed just
  21           now, but otherwise I think we're done.
  22                    And I understand it's 10
  23           o'clock your time, so -- 10?          Is it 10
  24           your time or 11?
  25                    THE WITNESS:      10.



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   1                    MR. GALLANT:      It's 10.
   2                    MS. ALTHOFF:      Okay.    Okay.
   3           Good.    All right.
   4                    Well, let's just take five
   5           minutes and then we'll wrap this up.
   6                    VIDEOGRAPHER:      Off record,
   7           5 p.m.
   8            (Off the record at 5:00 p.m.)
   9                    VIDEOGRAPHER:      On record,
  10           5:04 p.m.
  11                    MS. ALTHOFF:      Dr. Mjønes, I
  12           don't think we have anything further
  13           for you today.
  14                    Mike, we are going to reserve
  15           the option to potentially come back,
  16           given the attorney-client privilege
  17           assertions as well as the new
  18           report -- or annotations to the report
  19           which we have just received today and
  20           I needed to get translated, and then
  21           corrections to translations made
  22           today.    So that's where we are.
  23                    Otherwise, I don't have any
  24           further questions today.
  25                    MR. GALLANT:      Yeah.    And I



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   1           would just state for the record that
   2           we gave you the comments last night.
   3           I appreciate that you didn't realize
   4           that the bubbles were on there.           But,
   5           you know, these were comments that
   6           were, you know, created on Saturday.
   7           We turned them over on Sunday.           And so
   8           I understand your position.
   9                    We obviously would disagree
  10           with, you know, bringing Dr. Mjønes
  11           back.
  12                    CROSS-EXAMINATION
  13   QUESTIONS BY MR. GALLANT:
  14           Q.       I have some questions, and so
  15   we'll just kind of go through that, and then
  16   we'll hopefully be able to call it a night.
  17                    But let's -- yeah.       Let's just
  18   get situated here.        Let's see if I can get
  19   this to work.      Here we go.      Okay.
  20                    Okay.    Dr. Mjønes, I know -- my
  21   name is Mike Gallant, and I represent Stanley
  22   Baudin in this matter.         And I'm going to ask
  23   you some questions about a lot of areas that
  24   you've covered -- a lot of ground today with
  25   counsel for AstraZeneca.



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   1                    First, I wanted to just clarify
   2   for the record that you are a medical doctor,
   3   correct?
   4           A.       Yes.
   5           Q.       And your CV has been previously
   6   marked, but can you give us a brief
   7   description of your educational background?
   8           A.       Basically I studied in Poland
   9   like from the medical -- from when I started
  10   medical school, and then I did year 2 and 6
  11   in Ireland.
  12                    Then after that I worked as an
  13   intern in Namsos for a year where I did four
  14   months of rotation in medicine, four months
  15   in surgery and four months in psychiatry,
  16   followed by half-year of internship in a
  17   placed called Verran kommune, which is in the
  18   middle of Norway as well, where I did GP.
  19                    When I was -- finished my
  20   internship, I started at the pathology
  21   department in Trondheim, and I worked there
  22   ever since with the disruption -- the
  23   disruption of the period during my Ph.D.
  24   project.
  25           Q.       And are you familiar with the



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   1   concept of physicians in the United States
   2   being board certified?
   3           A.       I heard -- I seen in
   4   Voltaggio's report being board certified.
   5           Q.       Is there a similar process in
   6   Norway?
   7           A.       In Norway, you don't have an
   8   exam at the end when you're a pathologist,
   9   but you have to go through a certain number
  10   of examinations and document that you've seen
  11   certain number of conditions in order to be
  12   qualified.      And you have to have a number of
  13   courses within the relevant topic matter.
  14           Q.       And did you complete that
  15   period of coursework in pathology in Norway?
  16           A.       I did.
  17           Q.       Okay.    And can you describe for
  18   us how long that process took to become
  19   specialized in pathology?
  20           A.       I'd say you would at least have
  21   to spend five years and sometimes longer,
  22   depending on -- certain things may be more
  23   difficult to get enough of, like -- and
  24   things like that in Norway, but it took me
  25   five years.



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   1           Q.       And are you specialized further
   2   in the field of pathology to certain anatomy?
   3           A.       Well, I would be working most
   4   with gastrointestinal pathology and then also
   5   dermatopathology.        The gastrointestinal
   6   pathology would be my main focus.
   7           Q.       And how long have you
   8   specialized in the field of gastrointestinal
   9   pathology?
  10           A.       I've been working with that --
  11   well, since 2012 maybe.
  12           Q.       Okay.    And do you hold any
  13   academic appointments?
  14           A.       I'm not sure what you mean.
  15           Q.       Do you hold any faculty
  16   positions?
  17           A.       Yes.    I work as an associate
  18   professor at the NTNU, which is the
  19   university in Trondheim where I'm teaching
  20   medical students.
  21           Q.       And what courses do you teach?
  22           A.       I teach -- I have a course in
  23   liver pathology and have -- like basically on
  24   liver pathology, and then -- I have to think.
  25   I have a portion on skins, on kidneys, like



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   1   it would be histology -- histology.             And then
   2   I'd also -- what else do I have?
   3                    I would be taking over the
   4   gastrointestinal pathology teaching as well,
   5   but that's for next year.
   6           Q.       Okay.    And have you published
   7   in the field of pathology?
   8           A.       Yes.
   9           Q.       And I know there was some
  10   discussion earlier with counsel about
  11   publications, and have you listed
  12   publications in your CV that's been marked in
  13   this case?
  14           A.       Yes, I have the list of the --
  15   most of the publications in the CV.
  16           Q.       Okay.    And there is a lot of
  17   discussion today about the anatomy of the
  18   esophagus and the stomach.
  19           A.       Yes.
  20           Q.       And I thought it would be
  21   helpful since we've been doing a lot without
  22   any sort of demonstrative aids to give you a
  23   picture of the stomach anatomy and ask you to
  24   explain some of the features for us.             If you
  25   bear with me one second.         Figure out how



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   1   to -- so I'll just drop this into the chat.
   2   Just a second.       I apologize.
   3                    Okay.    So I dropped this
   4   document into chat.        And I'll represent that
   5   it's from page 5 of Dr. Voltaggio's report,
   6   which I think you had said you reviewed,
   7   correct?
   8           A.       Yes.
   9           Q.       Let me share this.
  10                    Okay.    So during the break
  11   we've put a pointer on here, or a mouse, that
  12   will allow you to use the pointer, and I
  13   would like to know if you could use this
  14   picture to explain the anatomy of the stomach
  15   that we've been discussing today.
  16           A.       Yeah.
  17                    So basically before we reach
  18   the stomach, you have the esophagus.             The
  19   esophagus -- and there's the stomach at the
  20   point here where you have the diaphragm,
  21   which is the muscle separating the thoracic
  22   content from the abdominal content.
  23                    Here you have -- where the
  24   pointer is now you have the gastroesophageal
  25   junction.     And in the normal state, the



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   1   gastroesophageal junction would correspond to
   2   the space where the esophagus goes through
   3   the diaphragm.       And normally that space would
   4   be at the same place as the squamocolumnar
   5   junction, which also is called the set line.
   6                    So this is where you have the
   7   cardia.      You have the fundus area here, and
   8   then have the corpus here, and the antrum
   9   here before it enters into the small
  10   intestine here.
  11                    So this would be the lesser
  12   curvature and this would be the larger
  13   curvature.      And some of the sections we've
  14   been looking at from the lesser curvature
  15   would have been from around this area.
  16           Q.       And when -- another term that
  17   you've used today has been the proximal
  18   stomach?
  19           A.       Uh-huh.
  20           Q.       Can you show us on this picture
  21   where that refers to?
  22           A.       Yeah.    The proximal stomach
  23   would be the area of the stomach closest to
  24   the esophagus.       So the cardia is part of the
  25   proximal stomach, but you also have this as a



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   1   part of the proximal stomach.
   2           Q.       And is there a difference
   3   histologically between the esophagus and the
   4   stomach?
   5           A.       Yes.   The esophagus is covered
   6   by squamous -- a squamous epithelium, which
   7   we can see a picture of later.           The cardia
   8   and the rest of the stomach is covered by
   9   glandular epithelium.
  10           Q.       And you mentioned that there's
  11   a -- these squamocolumnar junction which is
  12   also referred to as the gastroesophageal
  13   junction?
  14           A.       Yes.
  15           Q.       And is that an area of
  16   transition histologically between the
  17   esophagus and the stomach?
  18           A.       In the normal state where you
  19   don't -- like in normal conditions, the
  20   squamocolumnar junction usually would be
  21   actually be at the same place as the gastric
  22   esophageal junction.        Normally.     But in
  23   certain conditions like Barrett's, this
  24   squamocolumnar junction might be higher up.
  25           Q.       And does the -- can you point



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   1   out for us where the cardia is on this
   2   picture?
   3           A.       On this picture, the cardia is
   4   here just below the squamocolumnar junction.
   5           Q.       And are there histological
   6   differences between the cardia and the corpus
   7   of the stomach?
   8           A.       So basically the mucosa has
   9   differences, depending on the areas.             Like
  10   the antrum mucosa would be quite similar to
  11   look at the -- look at the -- the cardiac
  12   mucosa, you have more mucous glands in these
  13   areas.    Sometimes you may have a mixture of
  14   mucous glands and oxyntic glands here as
  15   well, while in the corpus and the fundus the
  16   mucosa is usually thicker, and you have a
  17   rich supply of parietal cells and chief cells
  18   that you wouldn't be able to see here.             So
  19   it's a difference in type of cells you would
  20   find in different locations.
  21           Q.       And that's another couple of
  22   items that you've talked about some today.
  23                    What is a parietal cell?
  24           A.       A parietal -- I can't say the
  25   word, sorry.      Parietal cell is a cell



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   1   producing acid, and you find it in the fundus
   2   and corpus of the stomach.
   3           Q.       Okay.    Do you find parietal
   4   cells in the esophagus?
   5           A.       Not normally.
   6           Q.       And what are chief cells?
   7           A.       Chief cells are cells producing
   8   substances like pepsin, a protigent
   9   {phonetic} that breaks down proteins.             It
  10   helps with digestion.
  11           Q.       Okay.    And we talked a lot
  12   about endocrine cells, in particular ECL
  13   cells.
  14                    Where would you find ECL cells?
  15           A.       Neuroendocrine cells, you have
  16   different -- many different types of
  17   neuroendocrine cells in the stomach, at least
  18   six types.      The ECL cell type is most
  19   commonly found in the corpus and the fundus.
  20           Q.       And can you see ECL cells using
  21   regular H&E staining?
  22           A.       In the normal mucosa when you
  23   don't have a tree, you can't see the ECLs --
  24   I mean, you can't normally see them without
  25   special stains.



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   1           Q.       And generally speaking, can you
   2   explain what hyperplasia is?           We've heard
   3   that a lot today.
   4           A.       Hyperplasia means that you have
   5   increased number of cells.          So in the -- in
   6   the sense of a neuroendocrine cell
   7   hyperplasia, it means that instead of having
   8   a few cells, you have an increased number of
   9   those cells.
  10           Q.       And can you explain what the
  11   term "intestinal metaplasia" means?
  12           A.       Intestinal metaplasia basically
  13   means that the normal mucosa of the stomach
  14   are at -- different organ changes are -- in
  15   the esophagus changes to more intestinal-type
  16   mucosa.      And you would probably recognize it
  17   by seeing goblet cells.
  18           Q.       And can you also explain
  19   briefly what a polyp is?
  20           A.       A polyp is basically a growth,
  21   like a -- a protrusion into the -- like it's
  22   a mass protruding out in the -- in the lumen
  23   of an organ.
  24           Q.       Okay.    And are there different
  25   kinds of polyps?



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   1           A.       Yes.
   2           Q.       And what are some other kinds
   3   of polyps that are common to the stomach?
   4           A.       The most common types would be
   5   fundic gland polyps and hyperplastic polyps.
   6           Q.       And in your role as a
   7   pathologist, have you had occasion to
   8   diagnose gastric cancer?
   9           A.       Yes.
  10           Q.       And are you able to estimate
  11   how many times in your career you've
  12   diagnosed gastric cancer?
  13           A.       I can't give a number, but I
  14   would see it on a regular basis.
  15           Q.       Okay.
  16           A.       I address more biopsies than
  17   resections.
  18           Q.       And with regard to esophageal
  19   cancers, as a pathologist, have you diagnosed
  20   esophageal cancers?
  21           A.       Yes.
  22           Q.       And are you able to estimate
  23   for us how often you've done that?
  24           A.       No, I don't know an exact
  25   number, but on a regular basis we see it.



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   1           Q.       Okay.    Okay.    And generally
   2   speaking, can you explain what a gastric
   3   cancer is?
   4           A.       A gastric cancer is related to
   5   a malignant growth of cells originating in
   6   the stomach, and most commonly they would
   7   produce gland-like structures.           And most of
   8   the gastric cancers are then identified as
   9   carcinomas.
  10                    Gastric cancers have the
  11   ability to spread and metastasize to other
  12   organs.
  13           Q.       Okay.    And can you generally
  14   explain what esophageal cancer is?
  15           A.       Well, esophageal cancer is a
  16   cancer originating in the esophagus.             It can
  17   originate from different parts of the
  18   esophagus.      The two main types of cancer you
  19   have there would be squamous cell carcinoma
  20   and adenocarcinoma.
  21           Q.       And are you familiar -- I know
  22   you talked a lot today about Barrett's
  23   esophagus.      Can you explain what Barrett's
  24   esophagus is?
  25           A.       In Barrett's esophagus, the



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   1   normal squamous epithelium covering
   2   esophagus -- esophagus is changed out.             Like
   3   after sequences of inflammation, you might
   4   have a change -- like the squamous epithelium
   5   is changed by glandular epithelium that looks
   6   like intestinal-type epithelium in the sense
   7   that you would find goblet cells present --
   8   {audio interruption}
   9                    MS. ALTHOFF:      Mike, we've lost
  10           you.
  11                    THE WITNESS:      -- in the areas
  12           where you have the salmon-colored
  13           mucosa.
  14   QUESTIONS BY MR. GALLANT:
  15           Q.       So closer to the GE junction;
  16   is that fair?      The gastroesophageal junction?
  17           A.       Yeah.
  18           Q.       Have you ever diagnosed
  19   Barrett's esophagus?
  20           A.       Yes.
  21           Q.       And are you able to estimate on
  22   how many occasions you've done that?
  23           A.       No, but on a regular basis,
  24   every week.
  25           Q.       Okay.    And I'm going to share



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   1   another document to the chat.
   2                    And I will share this --
   3                    MS. ALTHOFF:      We're going to
   4           challenge the fact that she is a
   5           non-disclosed expert now.         I mean,
   6           you've basically turned her into a
   7           testifying expert.
   8                    MR. GALLANT:      You spent all day
   9           exploring her opinions.         I think this
  10           is a perfectly appropriate
  11           examination.      We'll note your
  12           objection.
  13                    MS. ALTHOFF:      Well, you can
  14           take that for what it's worth, but
  15           she's now a testifying expert.           We're
  16           going to move to strike her.
  17   QUESTIONS BY MR. GALLANT:
  18           Q.       Okay.    So sharing -- okay.        So
  19   I'm sharing to you a diagram illustrating the
  20   features of Barrett's esophagus.            It's
  21   Figure 12, and it comes from Dr. Voltaggio's
  22   report.
  23                    Have you seen this diagram
  24   before?
  25           A.       Yes.



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   1           Q.       And using this demonstrative,
   2   are you able to explain for us what you're
   3   describing in terms of findings related to
   4   Barrett's esophagus?
   5           A.       Yeah.
   6                    Well, as we see on the picture
   7   to the right, we see the esophagus here.              We
   8   see the stomach here.         And here is where we'd
   9   find the gastroesophageal junction, at the
  10   proximal line of the rugal holes that we see
  11   here.
  12                    In this case, the
  13   squamocolumnar junction that we would
  14   normally find here is moved upwards
  15   towards -- towards the oral part of the
  16   esophagus, and here it's salmon-colored.
  17                    And when they took a biopsy
  18   from this area in the squamocolumnar
  19   junction, you see a picture looking like
  20   this.
  21                    So here you have the squamous
  22   epithelium that we see here, and you go over
  23   to a glandular-like epithelium with goblet
  24   cells here.      So this is -- these are findings
  25   consistent with Barrett's esophagus.



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   1                    In this section, you see
   2   squamous epithelium and -- over to a
   3   cardiac-type mucosa.        So here you don't see
   4   goblet cells, but you see some mucous cells
   5   that kind of have a slight look of the cells
   6   that could represent pseudogoblet cells.              But
   7   you don't see actual goblet cells in this
   8   slide.
   9           Q.       Okay.    And with regard to -- so
  10   can you -- I think you've described for us
  11   the materials you reviewed in Stanley
  12   Baudin's case.
  13                    Did you get his full medical
  14   record to review?
  15           A.       No.
  16           Q.       Okay.    But you reviewed the
  17   available pathology totaling 89 slides, I
  18   think?
  19           A.       I think it was 83.
  20           Q.       83 slides?
  21           A.       Yes.
  22           Q.       Okay.    Thank you.
  23                    And in your review of the
  24   slides that were given to you concerning
  25   Mr. Baudin, did you employ the same method of



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   1   analysis and review that you use in your
   2   everyday work as a pathologist?
   3           A.       Yes.
   4           Q.       Okay.    And we've also heard
   5   that you created six slides and used certain
   6   immunostains to examine them; is that right?
   7           A.       Yes.
   8           Q.       Okay.    And in creating those
   9   slides -- well, could you describe the
  10   process you used to create those slides?
  11           A.       So basically we got the tissue
  12   blocks, and they were cut 3 micrometer thick
  13   sections from those blocks of paraffin with
  14   the tissues.      And those -- those were -- the
  15   sections were then transferred onto
  16   super-crossed slides, and they were stained
  17   with markers, again, synaptophysin and
  18   chromogranin A.
  19                    And what you then get to see is
  20   a picture where the -- where the tissue
  21   itself is a kind of paley blue, and then you
  22   see where the -- where you have positivity
  23   for those markers, a stain is found on the
  24   section.
  25           Q.       Okay.    And in the creation of



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   1   those slides, did you follow normal practices
   2   and procedures --
   3           A.       Yes.
   4           Q.       -- as your role as a
   5   pathologist?
   6           A.       Yes.
   7           Q.       Okay.    So and in the way that
   8   you recorded the findings that you observed
   9   as you reviewed and analyzed the slides of
  10   Mr. Baudin, did you follow your normal
  11   practice as a pathologist?
  12           A.       Yes.
  13           Q.       And based on your education,
  14   training and experience and your review of
  15   the pathology materials available in the
  16   case, did you have an opinion to a reasonable
  17   degree of medical and scientific certainty
  18   that Mr. Baudin had cancer of the stomach?
  19           A.       Yes.
  20                    MS. ALTHOFF:      Objection.     Form.
  21           Outside the scope of her report.
  22   QUESTIONS BY MR. GALLANT:
  23           Q.       And what type of cancer did you
  24   observe in Mr. Baudin?
  25                    MS. ALTHOFF:      Same objection.



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   1   QUESTIONS BY MR. GALLANT:
   2           Q.       You can answer.
   3           A.       Okay.    So we had the
   4   gastric-type adenoma with high-grade
   5   dysplasia or intramucosal adenocarcinoma.
   6           Q.       And can you describe for us
   7   what the basis of that opinion is?
   8           A.       Well, basically you see
   9   atypical cells forming gland-like structures
  10   and fibriform glands that are fused together,
  11   and you also have dysplasia on top of the
  12   polyp, so that's basically what I'm basing it
  13   on.    You also have mycotic figures.
  14           Q.       And in your experience, was
  15   this an esophageal cancer?
  16           A.       No.
  17                    MS. ALTHOFF:      Objection.     Form.
  18   QUESTIONS BY MR. GALLANT:
  19           Q.       And based upon your review of
  20   the pathology materials you reviewed in this
  21   case, is there any evidence that Mr. Baudin
  22   had cancer of the esophagus?
  23           A.       No.
  24           Q.       And in your review of the
  25   pathology materials for Mr. Baudin, did you



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   1   determine whether or not the gastroesophageal
   2   junction was involved in his cancer?
   3           A.       Based on what I saw in the
   4   sections and based on the gross description
   5   where they describe the junction as
   6   well-defined, I have no reason to -- I didn't
   7   see any sign of involvement of the
   8   gastroesophageal junction.
   9           Q.       Okay.    And in prior testimony
  10   today, you've discussed your review of the
  11   pathology in determining the location of
  12   Mr. Baudin's cancer; is that right?
  13           A.       Could you repeat the question?
  14           Q.       Yeah.
  15                    In your testimony earlier today
  16   and discussions with counsel, you talked
  17   about where you believed, based upon
  18   pathology you reviewed, Mr. Baudin's cancer
  19   was in the stomach.
  20           A.       Yes.
  21           Q.       Okay.    And I want to mark --
  22   let's see.      I think -- let's see.        Okay.    I
  23   think it's been previously marked as
  24   Exhibit 5, was Dr. Voltaggio's report.
  25                    Do you recall discussing that



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   1   with counsel today?
   2                    I'm just going to share it so
   3   you can see.
   4                    Do you recall discussing this
   5   document with counsel today?
   6           A.       Yes.
   7           Q.       Okay.    And I'm going to direct
   8   you to page 46 of her report.
   9           A.       Uh-huh.
  10           Q.       And do you recall discussing
  11   this slide earlier today?
  12           A.       Yes.
  13           Q.       Okay.    And at the top of the
  14   page it states, "Baudin original pathology,
  15   OL-17-09222, 3N-L01, designated in gross
  16   description as posterior wall to include
  17   polyps."
  18                    Do you see that?
  19           A.       Yes.
  20           Q.       And in your review of the
  21   materials that you saw in this case, did you
  22   review this slide?
  23           A.       Yes.
  24           Q.       And can you tell us what this
  25   slide shows?



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   1           A.       Okay.    I can use the marker.
   2                    So basically what we see here,
   3   we see two tissue sections, one here to the
   4   right and one here to the left.
   5                    This one shows hyperplastic
   6   polyp here.      So this is basically the mucosa
   7   here.    You see the submucosa underneath.             And
   8   what we see here is a hyperplastic polyp.
   9                    In the tissue section here
  10   which is from the left side, we also see a
  11   polyploid lesion protruding out into the
  12   lumen, but this is the part of the cancer of
  13   Mr. Baudin.
  14                    In the mucosa to the left of
  15   the polyp, we see oxyntic mucosa.            It's not
  16   easy to see on this -- you can't really see
  17   it on this picture, but you can see it on the
  18   slides in the microscope.
  19                    And on this side you see some
  20   mucous glands and inflammation here, and you
  21   also have an area of dysplasia here.             And
  22   then if you go on here -- because you see it
  23   on the lower sections that these two -- this
  24   is actually attached to each other.             So here
  25   you also have fundic -- oxyntic type mucosa.



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   1                    I don't see any sign of a
   2   squamous epithelium on any of those slides.
   3           Q.       And why is that significant to
   4   you?
   5           A.       Well, it would tell me that
   6   when you see oxyntic mucosa on both sides,
   7   that would -- that would fit with being in
   8   the -- in the corpus or in the fundus, but
   9   not in the cardia.
  10           Q.       And do you observe on this
  11   slide any cardiac mucosa?
  12           A.       No.
  13           Q.       And on this slide, are you able
  14   to observe the gastroesophageal junction?
  15           A.       No.
  16           Q.       Does the fact that you can't
  17   see the gastroesophageal junction in this
  18   slide give you any indication as to where
  19   this adenocarcinoma was?
  20           A.       Well, just from looking at
  21   this, it doesn't give -- it doesn't fit in
  22   with the cardia cancer.         To me it would fit
  23   more in -- it would be more in line of
  24   originating in the corpus or fundus.
  25           Q.       Okay.    And there was some



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   1   discussion of this slide earlier where -- it
   2   was a discussion as to whether this is one
   3   piece of tissue or two pieces of tissue.
   4           A.       Yes.
   5           Q.       Can you describe for us the
   6   slide in that regard?
   7           A.       Okay.    So this is one piece of
   8   tissue.      This is a loose fragment from one
   9   piece of tissue, and this is another piece of
  10   tissue.
  11                    This area here is not attached
  12   to this area.      But this area should be
  13   attached to this area, and this is better
  14   shown on another level.
  15                    Here you see the section is
  16   slightly folded, and it gives the impression
  17   of this area not being attached to this area.
  18           Q.       Okay.    And earlier you also
  19   testified that you had observed in
  20   Dr. Voltaggio's report that the polyps that
  21   were removed were -- or were identified were
  22   3 centimeters to the gastroesophageal
  23   junction, correct?
  24           A.       Yes.
  25           Q.       And what does that mean to you,



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   1   3 centimeters distal to the gastroesophageal
   2   junction?
   3           A.       Well, it means the
   4   gastroesophageal junction -- like it is 3
   5   centimeters distal to that, it fit in with
   6   the finding I see here that it's probably in
   7   the corpus or fundus.
   8           Q.       And we'll stop sharing that,
   9   and I just want to show you -- drop it down
  10   there.
  11                    Okay.    And then -- so I'm
  12   directing your attention to page 28 of
  13   Dr. Voltaggio's report.
  14                    Do you recall seeing this
  15   figure before?
  16           A.       Yes.
  17           Q.       Okay.    And it's titled
  18   "Mr. Baudin's neoplasm."
  19                    Is that his cancer?
  20           A.       Yes.
  21           Q.       And can you describe for us
  22   what you see in this slide?
  23           A.       So what I see here is a
  24   close-up of the previous slide where we see a
  25   deletion here with high-grade dysplasia or



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   1   intramucosal adenocarcinoma.
   2                    To the side here we see oxyntic
   3   mucosa, and here you see mucous glands with
   4   kind of long foveolar-like structures and
   5   dilated mucous glands here and inflammation.
   6                    And what we don't see on the
   7   picture but what we saw in the overview, that
   8   is the area of oxyntic glands on the side of
   9   this area.
  10           Q.       And if we look at
  11   Dr. Voltaggio's note below this slide, she
  12   writes, "An adenocarcinoma, black arrows,
  13   hematoxylin and eosin stain" --
  14                    That's H&E staining, correct?
  15           A.       Yes.
  16           Q.       -- "in direct physical
  17   connection to cardio oxyntic mucosa with
  18   mucous glands, blue arrow, chronic
  19   inflammation, carditis."
  20                    Do you see that?
  21           A.       Yes.
  22           Q.       And do you agree with that
  23   description that Dr. Voltaggio has stated
  24   there?
  25           A.       I agree with the fact that it's



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   1   an adenocarcinoma.        I don't agree that it's
   2   cardiac oxyntic mucosa.
   3           Q.       Okay.    Do you see on the slide
   4   where she's referring to what she believes is
   5   cardio-oxyntic mucosa?
   6           A.       That she's pointing at nontumor
   7   glands here and that she's pointing at some
   8   gland in this area that are mucous glands.
   9   I'm assuming she means this area.
  10           Q.       Okay.    And in your experience
  11   as a pathologist, what -- how do you observe
  12   those areas of the slide?
  13           A.       Well, the fact that -- like I
  14   see the tumor here.        You also see an area of
  15   dysplasia here, and then you have this area
  16   of inflammation.       And in my experience, after
  17   ulcerations and other thing like previous
  18   biopsies, you could see changes similar to
  19   these.
  20                    So I would interpret this as it
  21   could be possible that it's -- it's a
  22   polypectomy site on the biopsy.
  23           Q.       And so based on your education,
  24   training and experience and your review of
  25   the pathology materials available to you in



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   1   this case, do you have an opinion to a
   2   reasonable degree of medical certainty where
   3   Mr. Baudin's cancer was in his stomach?
   4                    MS. ALTHOFF:      Same objection.
   5   QUESTIONS BY MR. GALLANT:
   6           Q.       You can answer.
   7           A.       Yeah.
   8                    So -- yeah, so I think it's --
   9   based on what I've seen and on the reports
  10   and everything, I would say it's in the
  11   corpus or fundus.        So it fits in with the
  12   section taken from the posterior back wall.
  13           Q.       Now, there was also a
  14   mention -- are you aware that in Mr. Baudin's
  15   pathology reports there was a mention of a
  16   polypectomy site 1.2 centimeters from the
  17   gastroesophageal junction?
  18           A.       Yes.
  19           Q.       Okay.    And I'm just going to
  20   refer you to that page.         One second.      I think
  21   this has been previously marked.            No, I don't
  22   see it.
  23                    So I apologize if this has been
  24   marked previously, but in the interest of
  25   moving things along, can we mark this next in



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   1   order?    And I'll show it now.
   2                    (Mjønes Exhibit 26 marked for
   3           identification.)
   4   QUESTIONS BY MR. GALLANT:
   5           Q.       Oh, I'm logged off.
   6                    Am I frozen or -- is that
   7   what's happening?        Hang on one second.
   8           A.       Okay.
   9           Q.       That's okay.      I got kicked off.
  10   Sorry, folks, I got kicked off of the
  11   Internet.
  12                    Okay.    Okay.    I'm back.     I
  13   apologize.
  14                    So I put into the Dropbox, and
  15   now I'm sharing my screen, it's Bates number
  16   Defendants000016, and it is a collection of
  17   pathology reports from the Louisiana
  18   Pathology Group.
  19                    And these are reports that you
  20   have reviewed in this case; is that correct?
  21           A.       Yes.    Uh-huh.
  22           Q.       Okay.    So directing your
  23   attention to page Bates number 00021, this is
  24   a pathology report dated October 5, 2017,
  25   entitled "Abnormal Surgical Pathology



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   1   Report."
   2                    Do you recall discussing this
   3   today?
   4           A.       Yes.
   5           Q.       Okay.    And if we go to the
   6   second page of this particular report and we
   7   look at bullet 3, I'm going to direct your
   8   attention to the sentence that starts, "The
   9   suspicious area previous polypectomy site is
  10   at the lesser curvature and is
  11   1.2 centimeters from the GE junction."
  12                    Do you see that?
  13           A.       Yes.
  14           Q.       And do you remember having some
  15   discussion about that today?
  16           A.       Yes.
  17           Q.       Okay.    And with regard to --
  18   have you observed slides in the course of
  19   this case that depict that area?
  20           A.       Yes.
  21           Q.       Okay.    And I'm going to pull
  22   up -- I think it's in, yeah, Dr. Voltaggio's
  23   report again.      So Exhibit 5.       It was
  24   previously marked.
  25                    And share my screen.



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   1                    I'm going to direct your
   2   attention to page 44 of Dr. Voltaggio's
   3   report, and it is a page that's titled
   4   "Baudin original pathology:          OL-17-09222;
   5   3G-L02 designated in gross description as
   6   apparent polypectomy site to GE junction."
   7                    Do you see that?
   8           A.       Yes.
   9           Q.       And I'm wondering if you can
  10   describe for us what you see in this slide.
  11           A.       So basically what we see here
  12   is the squamocolumnar junction where we see
  13   the squamous epithelium curve -- about here.
  14   And here is the squamocolumnar junction.
  15   Here you have a piece of cardia -- a cardiac
  16   mucosa, and here you go -- go over to
  17   oxyntic-type mucosa.        You don't see any sign
  18   of a tumor or dysplasia or any sign of
  19   polypectomy site.
  20                    And if we look at the distance
  21   here, that would equal 10 millimeters.             So if
  22   you -- approximately here would be
  23   10 millimeters, so 12 millimeters could be
  24   around here.      But there's no sign of any scar
  25   tissue or dysplasia or anything else



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   1   explaining why it would be suspicious.
   2           Q.       Okay.    And what conclusion did
   3   you draw from your observation of this slide?
   4           A.       That it -- that it probably
   5   isn't the polypectomy site.
   6           Q.       And are you able to identify
   7   the cardia on this slide?
   8           A.       Yes.    The cardia would be
   9   about -- well, it's not easy to see from this
  10   magnification, but it's about here.
  11           Q.       Okay.    And are you able to
  12   estimate the size of Mr. Baudin's cardia from
  13   this slide?
  14           A.       From this slide it could be
  15   1 millimeter.      If you think that -- if this
  16   is 10 millimeters, I'd say this would be
  17   maybe 1 or 2.      Between 1 and 2 maybe.
  18           Q.       Uh-huh.
  19                    And remind us how far the
  20   polyps were identified in Mr. Baudin.
  21           A.       At 3 centimeters distal to the
  22   squamocolumnar -- or to the gastroesophageal
  23   junction.
  24                    MS. ALTHOFF:      Objection.     Form.
  25




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   1   QUESTIONS BY MR. GALLANT:
   2           Q.       And -- thank you.
   3                    And, Doctor, based on your
   4   education, training and experience and your
   5   review of the pathology materials in
   6   Mr. Baudin's case, do you have an opinion to
   7   a reasonable degree of medical certainty
   8   whether Mr. Baudin had Barrett's esophagus?
   9                    MS. ALTHOFF:      Objection.     Form.
  10                    THE WITNESS:      I didn't see any
  11           signs of Barrett's esophagus in this
  12           material.
  13   QUESTIONS BY MR. GALLANT:
  14           Q.       And we -- and would you agree
  15   that a pathological diagnosis of Barrett's
  16   would be the gold standard for diagnosing
  17   Barrett's esophagus?
  18           A.       Yes.
  19                    MS. ALTHOFF:      Objection.     Form.
  20   QUESTIONS BY MR. GALLANT:
  21           Q.       And in the 83 slides of
  22   Mr. Baudin's pathology materials, did you see
  23   any evidence of Barrett's esophagus?
  24           A.       No.
  25           Q.       And did that review of



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   1   pathology in Mr. Baudin's case include tissue
   2   samples from the gastroesophageal junction?
   3           A.       Yes.
   4           Q.       And did you observe any
   5   indications pathologically of Barrett's
   6   esophagus in the gastroesophageal junction?
   7           A.       No.
   8           Q.       And in a patient with Barrett's
   9   esophagus, would you expect to have findings
  10   of -- consistent with Barrett's esophagus in
  11   the pathology?
  12           A.       Yes.
  13                    MS. ALTHOFF:      Objection.     Form.
  14                    THE WITNESS:      I would expect to
  15           see goblet cells if they have
  16           Barrett's.
  17                    MR. GALLANT:      And I think we
  18           could go off the record for two
  19           minutes.     I'll check my notes, and
  20           then we may be done unless counsel has
  21           some follow-up.
  22                    VIDEOGRAPHER:      Off record,
  23           5:47 p.m.
  24            (Off the record at 5:47 p.m.)
  25                    VIDEOGRAPHER:      On record,



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   1           5:49 p.m.
   2                    MR. GALLANT:      I do not have
   3           anything further at this time.
   4                    MS. ALTHOFF:      We don't have any
   5           follow-up on your direct exam.
   6                    MR. GALLANT:      Okay.    I think
   7           we're done.
   8                    VIDEOGRAPHER:      Off record,
   9           5:49 p.m.
  10        (Deposition concluded at 5:49 p.m.)
  11                      – – – – – – –
  12

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   1                    CERTIFICATE
   2              I, CARRIE A. CAMPBELL, Registered
       Diplomate Reporter, Certified Realtime
   3   Reporter and Certified Shorthand Reporter, do
       hereby certify that prior to the commencement
   4   of the examination, Patricia Mjønes, M.D.,
       Ph.D., was duly sworn by me to testify to the
   5   truth, the whole truth and nothing but the
       truth.
   6
                  I DO FURTHER CERTIFY that the
   7   foregoing is a verbatim transcript of the
       testimony as taken stenographically by and
   8   before me at the time, place and on the date
       hereinbefore set forth, to the best of my
   9   ability.
  10              I DO FURTHER CERTIFY that I am
       neither a relative nor employee nor attorney
  11   nor counsel of any of the parties to this
       action, and that I am neither a relative nor
  12   employee of such attorney or counsel, and
       that I am not financially interested in the
  13   action.
  14
  15
  16           ____________________________
               CARRIE A. CAMPBELL,
  17           NCRA Registered Diplomate Reporter
               Certified Realtime Reporter
  18           Notary Public
  19
  20
  21
  22
  23
  24           Dated:    March 28, 2022
  25



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   1                 INSTRUCTIONS TO WITNESS
   2

   3                 Please read your deposition over
   4   carefully and make any necessary corrections.
   5   You should state the reason in the
   6   appropriate space on the errata sheet for any
   7   corrections that are made.
   8                 After doing so, please sign the
   9   errata sheet and date it.          You are signing
  10   same subject to the changes you have noted on
  11   the errata sheet, which will be attached to
  12   your deposition.
  13                 It is imperative that you return
  14   the original errata sheet to the deposing
  15   attorney within thirty (30) days of receipt
  16   of the deposition transcript by you.             If you
  17   fail to do so, the deposition transcript may
  18   be deemed to be accurate and may be used in
  19   court.
  20

  21

  22

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  24

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   1               ACKNOWLEDGMENT OF DEPONENT
   2
   3
   4                    I,______________________, do
       hereby certify that I have read the foregoing
   5   pages and that the same is a correct
       transcription of the answers given by me to
   6   the questions therein propounded, except for
       the corrections or changes in form or
   7   substance, if any, noted in the attached
       Errata Sheet.
   8
   9
  10
  11
  12   _________________________________________
       Patricia Mjønes, M.D., Ph.D.                    Date
  13
  14
  15   Subscribed and sworn to before me this
  16   _______ day of _______________, 20 _____.
  17   My commission expires: _______________
  18
  19   Notary Public
  20
  21
  22
  23
  24
  25




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   1                        – – – – – – –
                                 ERRATA
   2                        – – – – – – –
   3    PAGE     LINE    CHANGE/REASON
   4    ____     ____    _____________________________
   5    ____     ____    _____________________________
   6    ____     ____    _____________________________
   7    ____     ____    _____________________________
   8    ____     ____    _____________________________
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  23    ____     ____    _____________________________
  24    ____     ____    _____________________________
  25




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   1                        – – – – – – –
                            LAWYER'S NOTES
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